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11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
14 HOWARD WINSTON,
15                           Plaintiff,          Case No. CV ________________
16
           vs.                                   COMPLAINT
17
18 WESTERN ASSET MANAGEMENT
   COMPANY, WESTERN ASSET
19 MANAGEMENT COMPANY LTD.,
20 WESTERN ASSET MANAGEMENT
   COMPANY LIMITED, WESTERN
21 ASSET MANAGEMENT
22 COMPANY PTE. LTD., and
   SECURITY INVESTORS, LLC,
23
24                           Defendants.
25
26
27
28
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 1          Plaintiff Howard Winston (“Plaintiff”), on behalf of the Western As-
 2 set/Claymore Inflation-Linked Securities & Income Fund (“WIA”) and the Western
 3 Asset/Claymore Inflation-Linked Opportunities & Income Fund (“WIW,” and togeth-
 4 er with WIA, the “Funds”), brings this action against Defendants Western Asset Man-
 5 agement Company (“WAMCO”), Western Asset Management Company Ltd. (“WA
 6 Japan”), Western Asset Management Company Limited (“WA London”), Western
 7 Asset Management Company Pte. Ltd. (“WA Singapore”), and Security Investors,
 8 LLC (“SI”). Plaintiff alleges the following upon information and belief except for al-
      legations as to himself, which are alleged upon personal knowledge. The allegations
 9
      are based in part upon an investigation conducted by and through Plaintiff’s counsel,
10
      which included a review of documents filed with the Securities and Exchange Com-
11
      mission (the “SEC”) and other public information. Plaintiff believes that substantial
12
      additional evidentiary support will exist for these allegations after a reasonable oppor-
13
      tunity for discovery.
14
                               I. SUMMARY OF THE ACTION
15
            1.     This action is about investment managers enriching themselves at the ex-
16
      pense of their captive investment funds’ shareholders by charging excessive fees to
17
      the funds, with the approval of the funds’ inattentive and conflicted trustees.
18
            2.     Plaintiff brings this action against Defendants on behalf of the Funds pur-
19
      suant to Section 36(b) of the Investment Company Act of 1940 (the “ICA”), codified
20 at 15 U.S.C. § 80a-35(b) (hereinafter, “Section 36(b)”).
21       3.     Defendants, as the Funds’ investment advisers, manage the Funds’ in-
22 vestment portfolios and charge fees to the Funds for providing investment advisory
23 services. Under Section 36(b), Defendants have fiduciary duties to the Funds with re-
24 spect to the fees they charge to the Funds.
25          4.     Through Section 36(b), Congress empowered courts to scrutinize the fee
26 agreements between registered investment companies and their investment advisers.
27
28
                                                  1
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 1 Historically, investment companies and their investment advisers have had cozy rela-
 2 tionships in which the adviser sets up the investment company and appoints the com-
 3 pany’s board members, and so controls the company. Because of this inherently con-
 4 flicted relationship, an investment company’s board often lacks incentives to scruti-
 5 nize the actions of the adviser or to aggressively bargain against the adviser. Congress
 6 enacted Section 36(b) to address these problems and to protect investment company
 7 shareholders from excessive fees.
 8       5.    Defendants breached their Section 36(b) fiduciary duties to the Funds by
      charging investment advisory fees that are so disproportionately large that they bear
 9
      no reasonable relationship to the value of the services provided by Defendants, and
10
      could not have been the product of arm’s-length bargaining.
11
            6.     In each of the last several years the Funds have paid the Defendants ap-
12
      proximately $8 million for investment advisory services. WIW has paid SI an annual
13
      fee of roughly $6 million, equal to 0.60% of WIW’s total assets. WIA has paid
14
      WAMCO an annual fee of roughly $2 million, equal to 0.40% of WIA’s total assets.
15
      Defendants SI and WAMCO pay other Defendants portions of these fees pursuant to
16
      sub-advisory agreements.
17
            7.     Prevailing rates charged for comparable services are less than half of the
18
      excessive rates charged by WAMCO and SI to the Funds. In fact, when forced to
19
      compete for business when rendering similar investment advisory services to other
20 funds or private clients in a somewhat competitive marketplace, Defendants and their
21 affiliates routinely charge substantially reduced rates, of approximately 0.20% of net
22 assets. As discussed infra, Defendants provide similar investment advisory services to
23 another Western Asset fund for annual fees of 0.20% of net assets, and to private cli-
24 ents for marginal fees as low as 0.15% of assets.
25
26
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 1          8.      The below table shows the investment advisory fees paid by the Funds in
 2 their most recently ended fiscal year, and as a comparison hypothetical fees calculated
 3 at the rate of 0.20% of year-end net assets:
 4     Table 1. Comparison of Fund Fees Paid to Fees for Comparable Services
                                                                         WIW            WIA
 5      Net assets at 11/30/17                                             $782,412,426 $381,611,978
 6      Investment advisory fees paid for year ended 11/30/17                $6,489,372   $2,115,515
        Hypothetical fee of 0.20% of net assets                              $1,564,825    $763,224
 7      Excessive advisory fees (actual fees minus 0.20% hypothetical)       $4,924,547   $1,352,291
 8      Percentage of overpayment                                                 415%         277%

 9          9.      The investment advisory fees are only a part of the Defendants’ generally
      excessive fees. The following table summarizes the annual fees charged by
10
      Defendants and their affiliates to the Funds (both for current fee arrangements and
11
      new fee arrangements proposed to take effect on or about April 27, 2018):
12
                    Table 2. Summary of Fees Charged by Defendants and Affiliates
13                  Service                                          Annual Fees
14                  WIW’s Current Fees
                    Investment advisory (and certain administrative) 0.60% of total assets
15                  Administrative                                   0.04% of total assets
16                  TOTAL                                            0.64% of total assets

17                  WIW’s Fees Effective April 27, 2018
                    Investment advisory                               0.35% of total assets
18
                    Administrative                                    0.05% of total assets
19                  TOTAL                                             0.40% of total assets

20
                    WIA’s Current Fees
21                  Investment advisory                               0.40% of total assets
                    Administrative                                    0.04% of total assets
22                  “Servicing” (administrative)                      0.15% of total assets
23                  TOTAL                                             0.59% of total assets

24                  WIA’s Fees Effective April 27, 2018
25                  Investment advisory                               0.35% of total assets
                    Administrative                                    0.05% of total assets
26                  TOTAL                                             0.40% of total assets
27
28
                                                          3
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 1          10.    All of the advisory fees paid by the Funds to their various investment ad-
 2 visers and sub-advisers are excessive. The advisory fees charged by WIW’s primary
 3 adviser, SI, are even more excessive because it appears to have delegated all advisory
 4 duties to sub-advisers, itself performing essentially no work and retaining millions of
 5 dollars in advisory fees each year.
 6        11. While the Funds’ trustees (the “Trustees”) are in theory supposed to pro-

 7 tect shareholders’ interests and negotiate investment advisory fees in good faith, the
 8 Trustees are conflicted and inattentive to the Funds’ business. Over the decade-plus
      lifespan of the Funds the Trustees failed to even attempt to obtain fee reductions until
 9
      Plaintiff recently threatened legal action against the Trustees.
10
            12.    In late November 2017 Plaintiff sent the Funds’ boards letters demanding
11
      that the Trustees remedy breaches of fiduciary duties including their approval of ex-
12
      cessive fee arrangements. In February 2018, following discussions with Plaintiff, the
13
      Funds announced that beginning on or about April 27, 2018, the Funds’ investment
14
      advisory fees will be somewhat reduced going forward. This announcement is effec-
15
      tively an admission that the previously existing fee arrangements are excessive. The
16
      fee arrangements proposed to take effect on or about April 27, 2018 will remain ex-
17
      cessive, though somewhat less so than before.
18
            13.    Plaintiff brings this action to recover for the Funds the excessive and un-
19
      lawful investment advisory fees charged in violation of Section 36(b), as well as lost
20 profits and other actual damages caused by the Funds’ payment of those fees.
21        14. Because the conduct complained of herein is continuing in nature, Plain-
22 tiff seeks recovery for a period from one year prior to the commencement of this ac-
23 tion through the date of final judgment after trial.
24                             II. JURISDICTION AND VENUE
25          15.    The claims asserted herein arise under Section 36(b) of the ICA, codified
26 at 15 U.S.C. § 80a-35(b).
27
28
                                                  4
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 1          16.    This Court has jurisdiction of the claims pursuant to Sections 36(b)(5)
 2 and 44 of the ICA, codified at 15 U.S.C. §§ 80a-35(b)(5) and 80a-43. This Court also
 3 has jurisdiction of the claims pursuant to 28 U.S.C. § 1331.
 4        17. Venue is proper in this judicial district pursuant to Section 44 of the ICA,
 5 codified at 15 U.S.C. § 80a-43. Venue is also proper in this judicial district pursuant to
 6 28 U.S.C. § 1391, because Defendants maintain offices in this district and/or transact
 7 business in this district.
 8       18. Defendant WAMCO acts as a “general manager” of Defendants WA Ja-
      pan, WA London, and WA Singapore, as that term is defined under California law,
 9
      and therefore service on those Defendants is properly achieved by service on
10
      WAMCO in California. See U.S. ex rel. Miller v. The Public Warehousing Company
11
      KSC, 636 Fed. Appx. 947 (9th Cir. 2016). Each of WAMCO, WA Japan, WA Lon-
12
      don, and WA Singapore is a wholly-owned subsidiary of Legg Mason, Inc. According
13
      to the Funds’ annual reports, “although Western Asset’s [WAMCO’s] business is op-
14
      erated through separate legal entities, such as the Non-U.S. Managers [WA Japan,
15
      WA London, and WA Singapore], its business is highly integrated and senior invest-
16
      ment personnel at Western Asset have supervisory oversight responsibility over the
17
      investment decisions made by the Non-U.S. Managers.” Defendants WAMCO, WA
18
      Japan, WA London, and WA Singapore file a single, combined Form ADV – Part 2
19
      brochure with the SEC, which discusses these four entities collectively, “references to
20 ‘Western Asset’ and ‘Firm’ represent [WAMCO, WA Japan, WA London, and WA
21 Singapore],” and states, “Western Asset Management is a global asset management
22 firm comprised of six legal entities that operate as part of Western Asset Manage-
23 ment’s overall business.” The Western Asset website repeatedly refers to Western As-
24 set as a “globally integrated” business. Furthermore, WAMCO, WA Japan, WA Lon-
25 don, and WA Singapore share overlapping directors and principal executive officers
26 including Charles A. Ruys de Perez, Thomas C. Merchant, and Laura A. Boydston.
27
28
                                                 5
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 1         19.    Although the Funds’ bylaws contain forum selection clauses designating
 2 certain Massachusetts courts as the venue for certain actions, those bylaws provisions
 3 do not apply here. The Funds’ both have amended bylaws dated September 23, 2015,
 4 which feature identical sections titled “Article 13 Exclusive Forum.” Those bylaws
 5 sections read in relevant part:
 6         13.1 Exclusive Forum. Unless the Trust consents in writing to the selec-
 7         tion of an alternative forum, the sole and exclusive forum for (a) any de-
           rivative action or proceeding brought on behalf of the Trust, (b) any ac-
 8         tion asserting a claim of breach of a fiduciary duty owed by any Trustee,
 9         officer, employee or agent of the Trust to the Trust or the Trust’s share-
           holders, (c) any action asserting a claim arising pursuant to the laws of
10         The Commonwealth of Massachusetts, or any provision of the Declara-
11         tion of Trust or these Bylaws (in each case, as the same may be amended
           or supplemented from time to time), or any other law applicable to the
12         Trust, or (d) any action asserting a claim governed by the internal affairs
13         doctrine, shall be the Business Litigation Session of the Massachusetts
           Superior Court in Suffolk County or a federal court sitting within the City
14         of Boston. Any person who, or entity that, holds, purchases or otherwise
15         acquires an interest in shares of the Trust (including any “beneficial own-
           er”, within the meaning of Section 13(d) of the Exchange Act) shall be
16         deemed (i) to have notice of, and to have consented to and agreed to
17         comply with, the provisions of this Section 13.1, and (ii) to have waived
           any argument relating to the inconvenience of the forums referenced
18
           above in connection with any action or proceeding described in this Sec-
19         tion 13.1.
20
           20.    These bylaws provisions do not apply here for multiple reasons. First, the
21
     Defendants do not have standing to enforce the bylaws provisions because they are
22
     not parties to the bylaws, are not related entities of parties to the bylaws, and are not
23
     intended third-party beneficiaries of the bylaws. See, e.g., Mitsui Sumitomo Ins. USA,
24
     Inc. v. Tokio Marine & Nichido Fire Ins. Co., Ltd., No. 12-cv-9953, 2013 WL
25
     12136602 at *4 (C.D. Cal. Aug. 8, 2013). None of the Funds, their Trustees, or offic-
26
     ers are parties to this case, nor would they even have standing to bring the claims al-
27
28
                                                  6
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 1 leged here against the Defendants. See Daily Income Fund, Inc. v. Fox, 464 U.S. 523,
 2 541 (1984). Second, it would be inequitable to enforce these bylaws provisions
 3 against Plaintiff in this action, because they were unilaterally adopted by the Funds
 4 without any notice to shareholders. See Galaviz v. Berg, 763 F. Supp. 2d 1170, 1175
 5 (N.D. Cal. 2011). After this unilateral amendment, the Funds then failed to disclose
 6 the amended bylaws to shareholders for over two years in violation of SEC rules, only
 7 disclosing the amendments after receipt of Plaintiff’s demand letters threatening vari-
 8 ous legal actions including this very lawsuit. Third, the ICA expressly provides that,
     “[a]ny suit or action to enforce any liability or duty created by, or to enjoin any viola-
 9
     tion of,” the Investment Company Act, “may be brought in any such district or in the
10
     district wherein the defendant is an inhabitant or transacts business.” ICA Section 44,
11
     codified at 15 U.S.C. §80a-43. Fourth, each of Plaintiff, WAMCO, and SI reside in
12
     this District, no party resides in Massachusetts, no relevant transaction occurred in
13
     Massachusetts, and Massachusetts law is not at issue.
14
                                            III. PARTIES
15
            21.    Plaintiff Howard Winston is a shareholder of both Funds and has contin-
16
     uously owned shares in both Funds for the 12-month period leading up to the filing of
17
     this action. Plaintiff resides in this District.
18
            22.    Defendant Western Asset Management Company (“WAMCO”) is a cor-
19
     poration organized under the law of California. WAMCO’s principal offices are locat-
20 ed at 385 East Colorado Boulevard, Pasadena, California 91101. WAMCO is the pri-
21 mary investment adviser to WIA and is an investment sub-adviser to WIW. On or
22 about April 27, 2018 WAMCO is expected to become the primary investment adviser
23 to WIW.
24          23.    Defendant Western Asset Management Company Ltd. (“WA Japan”) is a
25 company organized under the laws of Japan with an address of 36F Shin-Marunouchi
26
27
28
                                                    7
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 1 Building 5-1 Marunouchi 1-Chome Chiyoda-Ku, Tokyo 100-6536, Japan. WA Japan
 2 is an investment sub-adviser to both Funds.
 3        24.    Defendant Western Asset Management Company Limited (“WA Lon-
 4 don”) is a private limited company organized under the laws of England and Wales
 5 with a registered office address at 10 Exchange Square, Primrose Street, London,
 6 EC2A 2EN. WA London is an investment sub-adviser to both Funds.
 7     25. Defendant Western Asset Management Company Pte. Ltd. (“WA Singa-

 8 pore”) is a private limited company organized under the laws of Singapore with a reg-
   istered address of 1 George Street #23-01, Singapore 049145. WA Singapore is an in-
 9
   vestment sub-adviser to both Funds.
10
          26. WAMCO, WA Japan, WA London, and WA Singapore are collectively
11
   referred to herein as the “Western Asset Defendants.”
12
          27. Defendant Security Investors, LLC (“SI”) is a limited liability company
13
   organized under the law of Kansas. SI maintains an office at 100 Wilshire Boulevard,
14
   Suite 500, Santa Monica, California 90401. SI is the primary investment adviser to
15
   WIW, though it is expected that WAMCO will replace SI in this capacity on or about
16
   April 27, 2018.
17
            IV. INVESTMENT COMPANIES AND THEIR REGULATION
18
          28. Investment companies are collective investment vehicles that pool money
19
   from investors to purchase a portfolio of securities. Investors purchase shares in in-
20 vestment companies, and the shares generally represent a proportionate interest in the
21 company’s portfolio of securities.
22      29. Investment companies are widely owned by individual investors and are
23 popular retirement planning tools. U.S. registered investment companies have over
24 $19 trillion dollars in net assets, and over 44% of U.S. households own shares in such
25 investment companies.
26
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 1         A.      Types of Investment Companies
 2         30.     WIW and WIA are closed-end funds. The differences between the main
 3 types of investment companies are relevant to understand how the Defendants are able
 4 to continue charging the Funds excessive fees, as explained below.
 5         31.     The three most prevalent types of investment company are (i) open-end
 6 funds, (ii) closed-end funds, and (iii) exchange-traded funds. The terms “investment
 7 company” and “fund” will be used interchangeably in this Complaint.
 8         32.     Open-end funds, commonly referred to as mutual funds, are the most
     popular type of investment company, with history dating back to the 1920s. There are
 9
     currently about 9,511 U.S. registered open-end funds holding about $16.3 trillion of
10
     net assets.
11
           33.     Investors purchase shares in open-end funds directly from the funds
12
     themselves. The funds issue new fund shares to the purchasing investors, and the
13
     funds use investors’ money to purchase investment securities. Conversely, when in-
14
     vestors wish to sell their open-end fund shares, the funds must redeem the shares di-
15
     rectly from the investors at a price determined by the fund based on the current market
16
     value of the its assets and liabilities (called net asset value, or NAV). Determination of
17
     NAV and the issuance and redemption of open-end fund shares generally takes place
18
     each business day after the close of trading on the securities markets.
19
           34.     Closed-end funds are among the oldest types of investment companies
20 (dating to the 1890s), but are now less common than open-end funds. There are cur-
21 rently about 530 U.S. registered closed-end funds holding about $262 billion of net
22 assets.
23        35.      In contrast to open-end funds, closed-end funds more closely resemble
24 individual corporate stocks. Closed-end funds generally raise capital only once and
25 issue a fixed number of shares. Although this process may be repeated in a limited
26 number of follow-on share offerings, closed-end funds do not come close to the rou-
27
28
                                                 9
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 1 tine, daily creation and redemption of shares that characterizes open-end funds.
 2 Closed-end fund shares are listed for trading on a securities exchange. Investors buy
 3 and sell shares with each other and are not purchasing shares directly from the fund as
 4 it is with open-end funds. Prices are determined by supply and demand for a fund’s
 5 shares in the market, not by the net asset value of the fund’s investments. For this rea-
 6 son, the share price of a closed-end fund may vary significantly from the fund’s per
 7 share NAV, trading either at a premium or a discount.
 8       36. A primary disadvantage of closed-end funds as compared with open-end
     funds is that closed-end funds may trade at a substantial discount to NAV for a pro-
 9
     longed period of time. A primary advantage of closed-end funds is that they are not
10
     forced to regularly buy and sell securities to create and redeem fund shares. For this
11
     reason closed-end funds are easier and cheaper to administer than open-end funds. Al-
12
     so for this reason, closed-end funds are well suited to investing in assets that are illiq-
13
     uid or costly to trade.
14
           37.    The closed-end structure of WIW and WIA has enabled Defendants to
15
     extract excessive fees from the Funds over a number of years. Because investors can-
16
     not demand that the Funds redeem their shares, Defendants do not risk seeing the
17
     Funds’ assets (and corresponding fees) shrink as investors vote with their feet. The
18
     closed-end structure in essence guarantees the investment adviser a fixed pool of as-
19
     sets from which to take fees, regardless of problems with the fund’s management or
20 performance.
21       38. Exchange-traded funds, or ETFs, are a relatively recent invention dating
22 only to the early 1990s, though they are rapidly gaining in popularity in large part due
23 to their association with lower fees. There are currently about 1,716 U.S. registered
24 ETFs holding about $2.5 trillion in net assets.
25         39.    ETFs combine features of traditional open-end funds and features of
26 closed-end funds. ETF shares trade on securities exchanges among investors and can
27
28
                                                 10
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 1 be bought and sold throughout the day at market-based prices. However, ETFs do not
 2 have a fixed number of shares. Rather, ETF shares may be created or redeemed at any
 3 time between the ETF and a financial intermediary called an authorized participant (or
 4 “AP”), in response to market demand for the ETF’s shares. In this process the ETF
 5 and AP exchange fund shares for a basket of underlying investment securities that
 6 comprise the fund’s portfolio. The total value of the underlying securities that must be
 7 transferred in such an exchange is set based on the ETF’s net asset value. When an
 8 ETF’s shares trade at a large discount or premium, APs have a strong financial incen-
     tive to redeem or create ETF shares in order to profit from the difference between
 9
     market price and NAV. In this manner, while ETF share prices can also vary from the
10
     ETF’s per share NAV, such variation is generally much less than in the case of closed-
11
     end funds which have no such mechanism pulling the market price back toward the
12
     Funds’ per share NAV.
13
           B.     Investment Company Organization and Operations
14
           40.    The current regulatory regime for investment companies dates to the Se-
15
     curities Act of 1933 and the Securities Exchange Act of 1934. Its principal statutory
16
     framework is supplied by the Investment Company Act of 1940 and the Investment
17
     Advisers Act of 1940.
18
           41.    An investment company is overseen by a board of directors or trustees
19
     that manages the affairs of the company. Unlike other companies, an investment com-
20 pany generally has no employees or facilities of its own. Rather, the investment com-
21 pany’s board of trustees contracts with other parties for basic services required to op-
22 erate the fund.
23        42. Chief among these fund service providers is the investment adviser (or
24 manager), which manages the fund’s portfolio of securities, researches potential in-
25 vestments, and decides which securities to purchase for or sell from the portfolio.
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 1         43.    The investment adviser may delegate some or all of its responsibilities to
 2 one or more sub-advisers, hired to manage a portion of the fund’s investment portfo-
 3 lio.
 4         44.    Other fund operations are separately provided by custodians, auditors,
 5 accountants, counsel, transfer agents, and/or distributors.
 6      45. All of a fund’s external service providers receive compensation from the

 7 fund (or in the case of an investment sub-adviser, from the primary adviser) for their
 8 services. The total amount of a fund’s annual expenses is expressed as a percentage of
     the fund’s assets, and is called the fund’s expense ratio.
 9
           46.    Certain fund services, in particular investment advice, are traditionally
10
     compensated in amounts based on a percentage of the fund’s assets, rather than based
11
     on a flat rate for the services performed or based on the results delivered to the fund.
12
     Such compensation is typically expressed in basis points (one basis point is one hun-
13
     dredth of one percent, or one cent for every $100 invested). Such compensation is typ-
14
     ically calculated based on a fund’s net assets (total assets less liabilities). However, in
15
     the case of closed-end funds it is not uncommon for investment advisers to charge fees
16
     based on total assets (without reduction for a fund’s liabilities), although this practice
17
     is not justified and is harmful to shareholders (as discussed infra).
18
           C.     Investment Companies are Controlled by Their Investment Advisers
19         47.    As a practical matter, investment companies do not operate independent-
20 ly, but rather operate as parts of fund families or complexes (e.g., Fidelity, Vanguard,
21 Guggenheim, Western Asset). A typical fund family may consist of several dozen
22 funds, an investment adviser, and related service providers that are under common
23 control with the investment adviser.
24         48.    Investment advisers and their affiliates create investment companies in
25 order to obtain fees from the funds’ shareholders in exchange for providing services to
26 the funds. Frequently, individuals affiliated with such investment advisers are ap-
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                                                 12
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 1 pointed to serve on the funds’ boards of trustees, and are appointed as the funds’ of-
 2 ficers.
 3           49.   Consequently, conflicts of interest are rampant in the relationship be-
 4 tween investment advisers and the investment companies they control. Although in-
 5 vestment companies and their boards are supposed to serve the interests of their
 6 shareholders, the structure of fund families creates opportunities and incentives for in-
 7 vestment advisers and board members to profit by abusing the interests of fund share-
 8 holders.
          50. For example, prior to the enactment of laws (discussed below) requiring
 9
   funds to have independent board members review and approve investment advisory
10
   fees, individuals affiliated with investment advisers could both propose the investment
11
   adviser’s fees (wearing their “investment adviser” hats) and ratify such fees (wearing
12
   their “fund board member” hats).
13
          51. Investment companies generally do not shop around among different in-
14
   vestment advisers to obtain the best services at the lowest price. In the ordinary course
15
   of business funds rarely even contemplate changing investment advisers. As such,
16
   funds have little ability to negotiate the terms and conditions proposed by their in-
17
   vestment advisers. Historically, funds’ dependence on their investment advisers has
18
   allowed investment advisers to specify the terms of the contractual relationships be-
19
   tween them and their captive funds.
20        52. While it is in the interest of the fund and its shareholders to secure in-
21 vestment advisory fees that are as low as possible, the investment adviser’s interests
22 are the opposite: to secure investment advisory fees as high as possible. Historically,
23 such conflicts of interests have been resolved in investment advisers’ favor. As a re-
24 sult, funds often pay excessive investment advisory fees.
25           53.   Congress has repeatedly recognized that the structure of the investment
26 company industry creates inherent conflicts of interest between funds and their in-
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                                                13
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 1 vestment advisers. As the Senate stated in a 1969 report accompanying proposed
 2 amendments to the ICA (which amendments included Section 36(b)):
 3
           Because of the unique structure of this industry, the relationship between
 4         mutual funds and their investment adviser is not the same as that usually
           existing between buyers and sellers or in conventional corporate
 5
           relationships. Since a typical fund is organized by its investment adviser
 6         which provides it with almost all management services . . . a mutual fund
           cannot, as a practical matter sever its relationship with the adviser.
 7
           Therefore, the forces of arm’s-length bargaining do not work in the
 8         mutual fund industry in the same manner as they do in other sectors of
           the American economy.
 9
     S. Rep. No. 91–184 (1969), reprinted in 1970 U.S.C.C.A.N. 4897 (hereinafter, “Sen-
10
     ate Report”), at 4901.
11
           54.    The Supreme Court has also repeatedly discussed the systemic conflicts
12
     in the investment company industry:
13
14         As we have previously noted, Congress adopted the ICA because of its
           concern with the potential for abuse inherent in the structure of
15         investment companies. Unlike most corporations, an investment
16         company is typically created and managed by a preexisting external
           organization known as an investment adviser. Because the adviser
17         generally supervises the daily operation of the fund and often selects
18         affiliated persons to serve on the company’s board of directors, the
           relationship between investment advisers and mutual funds is fraught
19         with potential conflicts of interest.
20 Daily Income Fund, Inc. v. Fox, 464 U.S. 523, 536 (1984) (quotes and citations omit-
21 ted).
22         55.    Although Congress tried to address this conflicted structure by requiring
23 greater “independence” for fund boards, such requirements have failed to produce the
24 intended results. This was colorfully explained by Warren Buffet, legendary investor
25 and chairman of Berkshire Hathaway, Inc., as later quoted by a federal district court:
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 1         I think independent directors have been anything but independent. The
           Investment Company Act, in 1940, made these provisions for independ-
 2         ent directors on the theory that they would be the watchdogs for all these
 3         people pooling their money. The behavior of independent directors in ag-
           gregate since 1940 has been to rubber stamp every deal that’s come along
 4         from management—whether management was good, bad or indifferent.
 5         Not to negotiate for fee reductions and so on. A long time ago, an attor-
           ney said that in selecting directors the management companies were look-
 6         ing for Cocker Spaniels and not Dobermans. I’d say they found a lot of
 7         Cocker Spaniels out there.
     Strougo v. BEA Assoc., 188 F. Supp. 2d 373, 383 (S.D.N.Y. 2002) (citation omitted).
 8
           56.    These themes are likewise noted throughout the academic literature re-
 9
     garding investment companies:
10
11         Among observers of mutual funds, discussion of the separation of funds
           and managers has produced two related themes. The first is that despite
12
           the separation of mutual funds and their managers, mutual funds tend to
13         be dominated by their managers. . . A second theme is that this manageri-
           al dominance is deeply problematic.
14
     John Morley, The Separation of Funds and Managers: A Theory of Investment Fund
15
     Structure and Regulation, 123 YALE L. J. 1228, 1236-37 (2014).
16
           57.    In summary, it is a well-known fact that investment companies and their
17
     directors often serve the interests of the investment adviser over those of the fund and
18
     its shareholders.
19
           D.     Congress Protects Shareholders: The Investment Company Act of
20                1940
21         58.    In 1940, responding to numerous problems and abuses in the then-lightly
22 regulated fund industry, Congress enacted the ICA in order to protect fund sharehold-
23 ers. In its “Findings and Declaration of Policy” preamble in section one of the ICA,
24 Congress recognized that “the national public interest and the interest of investors are
25 adversely affected . . . when investment companies are organized, operated [and]
26 managed . . . in the interest of . . . investment advisers . . . rather than in the interests
27
28
                                                  15
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 1 of [fund shareholders].” Investment Company Act of 1940, Pub. L. No. 76-768, § 1
 2 (codified as amended as 15 U.S.C. § 80a-1(b)(2)).
 3         59.   In order “to mitigate and, so far as it is possible, to eliminate the condi-
 4 tions [] that adversely affect [] the interests of investors,” the ICA, as originally enact-
 5 ed in 1940, sought to enhance fund boards’ independence by: (1) requiring that at least
 6 40% of a fund’s board consist of persons neither employed by nor affiliated with the
 7 investment adviser; and (2) requiring that such boards review and approve written
 8 contracts between the mutual fund and the investment adviser (and other key service
   providers). Id. at §§ 1(b), 10, 15 (codified as amended at 15 U.S.C. §§ 80a-1(b), 80a-
 9
   10, 80a-15). As originally enacted, the ICA placed fund boards in the role of inde-
10
   pendent watchdog, and relied on fund boards to protect fund shareholders’ interests
11
   against the funds’ investment advisers.
12
          60. Notwithstanding these and other of the ICA’s initial provisions, in the
13
   decades following 1940 advisers continued to extract excessive fees from their captive
14
   funds. The ICA’s original provisions, which relied heavily on fund boards to police
15
   fund fees, proved insufficient.
16
          61. For example, an SEC-commissioned study found that investment advis-
17
   ers often charged higher fees to funds than they charged to the advisers’ other clients,
18
   and that even following enactment of the ICA the structure of the fund industry con-
19
   tinued to result in rich compensation for advisers. See A Study of Mutual Funds Pre-
20 pared for the SEC by the Wharton School of Finance and Commerce, reprinted in H.
21 R. Rep. No. 87-2274 (1962), at 28-30, 34, 66-67. The study explicitly concluded that
22 the unaffiliated directors mandated by the ICA were “of restricted value as an instru-
23 ment for providing effective representation of mutual fund shareholders in dealings
24 between the fund and its investment adviser.” Id. at 34.
25         62.   Likewise, a subsequent report authored by the SEC itself found that as
26 funds grew in size, the investment advisory fees they paid became increasingly dis-
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 1 proportionate to the advisory services they received in exchange. See Securities and
 2 Exchange Commission, Public Policy Implications of Investment Company Growth,
 3 H. R. Rep. No. 89-2337 (1966) (hereinafter “SEC Report”). Specifically, noting that
 4 investment advisers were generally compensated on the basis of a fixed percentage of
 5 a fund’s assets (rather than on services rendered or actual expenses), the SEC deter-
 6 mined that this form of payment could produce unreasonable fees in light of the econ-
 7 omies of scale realized in managing a larger portfolio. SEC Report at 94, 102.
 8       63. Furthermore, evidence indicated that where fund shareholders sought to
     challenge the propriety of director-approved fund advisory fees, such efforts failed be-
 9
     cause of the strict legal standards employed by courts to evaluate such fees. See SEC
10
     Report at 132-43 (noting use of corporate waste standard to review fees approved by
11
     fund directors, so that only “unconscionable” or “shocking” fees created liability).
12
     Such standards effectively allowed directors’ approval of excessive advisory fees to
13
     place those fees beyond legal challenge from fund shareholders. Id.
14
           E.     Congress Strengthens Shareholder Protections: Section 36(b)
15
           64.    The above-discussed evidence led directly to amendment of the ICA in
16
     1970, as the Senate explicitly acknowledged in its report accompanying such amend-
17
     ments:
18
         In total this bill represents a 3-year effort on the part of your committee
19       to deal with the problems described in the 1962 Wharton School of
         Finance and Commerce study of mutual funds, the 1963 special study of
20       the securities markets made by the Securities and Exchange Commission
         and the Commission's 1966 report on public policy implications of
21       investment company growth.
22 Senate Report, at 4897-98.
23       65. Three provisions of the 1970 amendments to the ICA are noteworthy

24 here. First, Congress strengthened board independence by rewriting ICA section 10
25 (15 U.S.C. §80a-10) to require at least 40% of board members to be “uninterested”
     persons, rather than merely persons unaffiliated with the investment adviser.
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 1        66.    Second, Congress required greater board diligence with respect to evalua-
 2 tion and approval of advisory fees, by adding to ICA section 15 (15 U.S.C. §80a-15)
 3 that “It shall be the duty of the directors of a registered investment company to request
 4 and evaluate, and the duty of an investment adviser to furnish, such information as
 5 may reasonably be necessary to evaluate the terms of any contract whereby a person
 6 undertakes regularly to serve as investment adviser of such company.”
 7        67.    Third, Congress eased the legal standards for fund shareholders seeking

 8 to challenge investment advisory fees, by enacting the new Section 36(b), which (1)
   created a fiduciary duty for investment advisers and their affiliates with respect to
 9
   payments they received from funds; and (2) provided fund shareholders (as well as the
10
   SEC) with a private right of action against the investment adviser for breach of such
11
   fiduciary duty.
12
          68. Section 36(b)’s enactment indicates Congressional recognition that the
13
   problem of excessive fees could not be solved solely requiring greater independence
14
   and diligence from fund boards. Rather, Congress recognized that due to the conflicts
15
   of interest inherent in the fund industry, curtailing excessive fees requires empowering
16
   fund shareholders to directly challenge those fees.
17
          69. Although the ICA as amended in 1970 still relied on fund boards to eval-
18
   uate and determine fund fees, the 1970 amendments demonstrated clear Congressional
19
   intent to lessen the judicial deference accorded to boards’ fee determinations.
20        70. With regard to excess fee lawsuits, Congress instructed courts to consider
21 the circumstances surrounding a board’s approval of allegedly excessive fees, and to
22 give the approval as much or as little weight as warranted:
23        The directors of a fund have the initial responsibility for approving
24        management contracts. Section 36(b)(2) therefore instructs the courts to
          consider the approval given by the directors of the fund to such
25        compensation and provides that their approval shall be given such
          consideration as the court deems appropriate under all the circumstances.
26        Among other things, the court might wish to evaluate whether the
          deliberations of the directors were a matter of substance or a mere
27        formality.

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 1 Senate Report, at 4910.
 2        71.    Congress also indicated that its intent in enacting Section 36(b) was to
 3 decrease the legal obstacles facing fund shareholders seeking to challenge excessive
 4 fees, and to relax the applicable legal standards used by courts to consider such chal-
 5 lenges:
 6        [The ICA’s original] provisions did not provide any mechanism by which
          the fairness of management contracts could be tested in court. Under
 7        general rules of law, advisory contracts which are ratified by the
          shareholders, or in some states approved by a vote of the disinterested
 8        directors, may not be upset in the courts except upon a showing of
          “corporate waste.” As one court put it, the fee must “shock the
 9        conscience of the court.” Such a rule may not be an improper one when
          the protections of arm’s-length bargaining are present. But in the mutual
10        fund industry where, these marketplace forces are not likely to operate as
          effectively, your committee has decided that the standard of “corporate
11        waste” is unduly restrictive and recommends that it be changed.
                                             ***
12        Thus, upon a challenge in court to compensation or payments, the
          ultimate test, even if the compensation or payments are approved by the
13        directors and stockholders, will not be whether it involves a “waste” of
          corporate assets but will be whether the investment adviser has fulfilled
14        his fiduciary duty to the mutual fund shareholders in determining the fee.
15 Senate Report, at 4901 and 4910.
16       F.   Shareholders Must Proactively Enforce Their Rights

17        72.    Although Congress also granted the SEC authority to address excessive

18 fund fees, in practice the SEC has rarely done so. This lack of enforcement by the
   SEC is understandable in light of the SEC’s resource constraints and competing pri-
19
   orities.
20
          73. In its fiscal year 2016 the SEC Division of Investment Management had
21
   only 204 employee positions and a budget of $61 million (of which less than one-third
22
   was dedicated to enforcement efforts), despite its responsibility to oversee the entire
23
   fund industry consisting of over 10,000 fund portfolios with over $19 trillion in assets.
24
   The SEC noted in its fiscal year 2017 budget request, “In particular, resources are
25
   needed to . . . lessen the impact of the disparity between the number of exam staff and
26
   the growing number, size, and complexity of registered firms, particularly in the in-
27
28
                                               19
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 1 vestment management industry.” SEC FY 2017 Congressional Budget Justification at
 2 63, available at https://www.sec.gov/about/reports/secfy17congbudgjust.pdf.
 3        74.    Thus, while the statutory scheme enacted by Congress relies on a combi-
 4 nation of fund trustees, the SEC, and shareholders to protect shareholders’ interests, in
 5 light of the inherently conflicted nature of the fund industry and the severe resource
 6 constraints facing the SEC, it is all the more important for investors to be empowered
 7 to protect their own rights against the excessive fees charged by investment advisers
 8 to their captive funds.
                   V. RECENT INVESTMENT COMPANY TRENDS
 9
          75. Two recent trends among investment companies are relevant here. First, a
10
   trend toward decreasing fees. Second, certain funds with investments similar to WIA
11
   and WIW have recently converted from closed-end to open-end structures.
12
          A.     Downward Pressure on Fund Expenses
13
          76. Over the last two decades, average investment company expenses have
14
   declined dramatically, putting competitive pressure on fund complexes to reduce
15
   overall fees including investment advisory fees. This reduction in expenses has in part
16
   resulted from a growing recognition among investors, regulators, and the financial
17
   press of the central importance of fees to the overall performance of investment funds.
18
   See, e.g., SEC Investor Bulletin, Mutual Fund Fees and Expenses, SEC Pub. No. 162
19
   (May 2014); Russel Kinnel, MORNINGSTAR, Fund Fees Predict Future Success or
20 Failure (May 5, 2016) available at http://www.morningstar.com/articles/752485/
21 fund-fees-predict-future-success-or-failure.html.
22       77. From 2003 (roughly the Funds’ inception) to 2016, the asset-weighted
23 average total expense ratio (including investment advisory and all other fees) for bond
24 mutual funds steadily decreased by nearly a third, from 0.75% to 0.51% of net assets.
25        78.    Certain sub-categories of bond funds, that employ investment strategies
26 similar to the Funds at issue in this action, obtained even lower expense ratios. By
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 1 2016 the asset-weighted average total expense ratio for mutual funds focusing on in-
 2 vestment grade bonds was 0.37% of net assets.
 3        79.    Based on information and belief funds investing primarily in U.S. gov-
 4 ernment bonds have an even lower asset-weighted average expense ratio, because
 5 such funds require less work from an adviser. Whereas the adviser of an investment
 6 grade fund must study the credit quality of numerous different bond issuers, compara-
 7 tively little or no credit quality analysis needs to be performed with respect to the U.S.
 8 federal government.
          80. One reason for the decrease in average fees is the increasing popularity of
 9
   low-cost “passive” investment funds. Passive funds merely seek to replicate the per-
10
   formance of an index rather than trying to select securities that will have above-
11
   average returns. Passive funds are generally offered at significantly lower costs than
12
   actively managed funds (in part because they do not pay for expensive investment ad-
13
   visers).
14
          81. A related reason for the decrease in average expense ratios is increased
15
   competition among fund sponsors to attract investment. As passive funds have attract-
16
   ed investment from their active counterparts, the active funds have been forced to lim-
17
   it expenses in order to remain competitive.
18
          82. However, such competition does not affect all types of funds. If an open-
19
   end fund charges high fees that cause shareholders to redeem shares then that fund’s
20 net assets will shrink causing a corresponding decrease in the investment adviser’s
21 fees. However, if a closed-end fund charges high fees, sales of fund shares by share-
22 holders will not decrease the fund’s assets, and will not cause the investment adviser’s
23 fees to decrease, but will only cause a decrease in the fund’s market trading price. As
24 such investment advisers to closed-end funds are effectively insulated from market
25 pressures that might otherwise cause them to lower their fees to remain competitive.
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 1         83.    Although the Funds were launched in or about 2003, their contracts with
 2 service providers, including with the Defendants for investment advisory services,
 3 have maintained the same high fee levels from inception through the present date (alt-
 4 hough, following Plaintiff’s threat of legal action against the Funds’ Trustees, fees are
 5 expected to be somewhat reduced beginning on or about April 27, 2018). In fact, there
 6 is no indication that the Funds’ trustees even once made any attempt to negotiate low-
 7 er investment advisory fees for the Funds in the 14 years from 2003 to 2017.
 8        B.   Conversion of Certain Closed-End Funds
           84.    For approximately the last 15 years there has been a growing trend of in-
 9
     creasing shareholder activism to address the problem of closed-end funds that trade at
10
     large, persistent discounts to NAV. Such discounts are problematic because they pre-
11
     vent fund shareholders from realizing the full value of the fund’s assets.
12
           85.    This trend has caused a number of closed-end funds that trade at wide
13
     discounts to reevaluate their fee arrangements, structures, and management policies,
14
     whether voluntarily or under pressure from activists.
15
           86.    Common steps demanded by activists and taken by closed-end funds to
16
     reduce discounts include (i) reductions in fees, (ii) having the fund repurchase sub-
17
     stantial amounts of its shares, (iii) converting the fund to an open-end or ETF struc-
18
     ture, or (iv) liquidating the fund and returning cash or investment securities to share-
19
     holders.
20         87.    When a closed-end fund converts to an open-end or ETF structure the
21 discount problem is eliminated, as the fund’s shareholders are then able to redeem
22 their shares at or close to NAV. However, such redemptions reduce a fund’s assets
23 and investment advisers’ fees. Efforts to “open-end” a closed-end fund are therefore
24 often resisted by investment advisers and their captive funds, even though open-
25 ending is in the shareholders’ best interests.
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 1         88.    Nonetheless, when faced with sufficiently compelling logic and/or suffi-
 2 ciently powerful shareholders, certain closed-end funds have taken the step to convert
 3 to an open-end structure for shareholders’ benefit.
 4        89. Two closed-end funds with strong similarities to the Funds have recently
 5 open-ended. The Federated Enhanced Treasury Income Fund (“FTT”) was reor-
 6 ganized into a newly created open-end fund in 2015. The AllianceBernstein Income
 7 Fund, Inc. (“ACG”) merged into a pre-existing open-end fund in 2016. Like the
 8 Funds, both FTT and ACG invested primarily in U.S. Treasury securities with limited
     flexibility to invest in other assets to produce additional income.
 9
           90.    Also like the Funds, both FTT and ACG attempted to avoid converting to
10
     open-end structures, by changing their investment policies to allow investment in risk-
11
     ier and higher yielding assets in an attempt to justify their then-existing structures and
12
     fees. For example, ACG’s board approved a proposal to eliminate ACG’s fundamental
13
     policy to invest at least 65% of its assets in U.S. government securities, though this
14
     proposal was rejected by ACG’s stockholders at a March 27, 2014 meeting.
15
           91.    Following the conversion of FTT and ACG, the Funds are the only re-
16
     maining closed-end funds that invest primarily in U.S. Treasury securities. This is be-
17
     cause the closed-end structure is poorly suited to an investment portfolio comprised
18
     primarily of U.S. Treasury securities. The closed-end structure, however, is well-
19
     suited to charging excessive fees over a prolonged timeframe.
20         92.    A main advantage of the closed-end structure is to enable a fund to invest
21 in illiquid securities without incurring high transaction costs as fund shares are created
22 and redeemed. However, U.S. Treasury securities are among the most liquid invest-
23 ments in existence. As such, when weighed against the disadvantages of the closed-
24 end structure (i.e. the potential for a large and persistent discount to NAV), such a
25 structure does not make sense for an investment portfolio consisting primarily of U.S.
26 Treasury securities.
27
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                                                 23
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 1         93.    A closed-end structure makes even less sense for an investment portfolio
 2 consisting primarily of U.S. Treasury securities when combined with high fees. U.S.
 3 Treasury securities are among the safest, and therefore lowest yielding, investments
 4 available. High fees will consume a substantial portion of the modest returns obtaina-
 5 ble from investing in U.S. Treasury securities.
 6        94. Where a portfolio of U.S. Treasury securities is effectively locked into a

 7 closed-end structure with high fees that the investment adviser and fund trustees re-
 8 fuse to decrease, the logical outcome is a large and persistent discount to NAV as in-
     vestors decide not to purchase the fund’s shares. In the case of FTT and ACG this
 9
     problem was fixed when the funds converted to an open-end format. In the case of the
10
     Funds, the problem has continued for years as the Funds’ Trustees and the Defendants
11
     have refused to decrease investment advisory fees to reasonable levels.
12
           95.    At least two of the Funds’ Trustees have substantial familiarity with
13
     closed-end fund shareholder activism to reduce discounts. In 2017 alone, three differ-
14
     ent closed-end funds in the Guggenheim complex, for each of which Ronald Nyberg is
15
     a Trustee, took steps to reduce their discounts after prodding by activist investors. See
16
     Press Release (July 11, 2017) Advent/Claymore Enhanced Growth & Income Fund
17
     Announces Expiration and Preliminary Results of Tender Offer;1 Press Release (Sept.
18
     7, 2017) Advent/Claymore Closed-End Funds Announce Expiration and Preliminary
19
     Results of Tender Offers;2 Press Release (May 1, 2017) The Board of Trustees of Ad-
20 vent/Claymore Closed-End Funds Announces Potential Tender Offers by AVK and
21 AGC and Declares Distributions, Including an Increased Distribution Rate for AVK.3
22
           1
23           Available at https://www.guggenheiminvestments.com/CMSPages/
     GetFile.aspx?guid=6027cc8a-b346-4f5b-b13f-82e0987591f3
24         2
           Available at https://www.guggenheiminvestments.com/CMSPages/
25 GetFile.aspx?guid=6027cc8a-b346-4f5b-b13f-82e0987591f3
26       3
           Available at https://www.guggenheiminvestments.com/CMSPages/
27 GetFile.aspx?guid=87872fc6-f087-43ad-9e2d-e2540c737e79
28
                                                24
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 1 In 2012 Ronald Toupin, Jr. served as a panelist at an Investment Company Institute
 2 closed-end fund conference where his panel specifically focused on shareholder activ-
 3 ism to reduce discounts. See 2012 Closed-End Fund Conference Program (Nov. 27,
         4
 4 2012).
 5         96.    Notwithstanding their knowledge of these issues, the Trustees have taken

 6 only insufficient and much delayed steps to narrow the Funds’ discounts, and only af-
 7 ter Plaintiff’s threat of litigation.
 8     VI. THE WESTERN ASSET AND GUGGENHEIM FUND COMPLEXES
           97.    The Funds operate as parts of the integrated Western Asset and Guggen-
 9
     heim fund complexes, rather than operating independently.
10
           98.    For example, in the course of describing the Trustees’ duties the Funds’
11
     annual reports refer to the “fund complex” of which WIW and WIA are parts, and list
12
     the numbers of other funds in the “complex” that each Trustee oversees. Similarly,
13
     WIW’s preliminary proxy statement filed March 23, 2018 describes Trustees Nyberg
14
     and Toupin as “serving on the boards of investment companies within the Guggen-
15
     heim Advisors fund complex.”
16
           99.    That the Funds operate as parts of the Guggenheim and Western Asset
17
     fund complexes, and that the Defendants view themselves as operating fund complex-
18
     es, is further illustrated by minutes from the meetings of the Funds’ Boards of Trus-
19
     tees. For example, in minutes of a joint May 5, 2015 meeting the Trustees of both
20 Funds approved the Funds’ participation in various insurance agreements covering
21 “certain investment companies in the . . . Legg Mason Funds complex, Western Asset
22 Funds complex and the Western Asset Claymore Funds complex,” as well as their
23 “investment advisers, administrators, affiliated principal underwriter, Board Members
24 and officers.” This level of coordination among numerous different funds and their af-
25
26         4
            Available at
27 https://www.ici.org/events/upcoming/forms/conf_12_cef_program
28
                                               25
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 1 filiated service providers is only possible because of the control exercised over the
 2 funds by the common service providers.
 3         100. Furthermore, nearly all in-person meetings of the Funds’ Boards of Trus-
 4 tees are conducted at the offices of Western Asset or Guggenheim, further demonstrat-
 5 ing the extent to which the Funds operate merely as parts of these unified complexes.
 6         101. Brief descriptions of the Western Asset and Guggenheim fund complexes

 7 follow.
 8       A.       Western Asset
           102. Defendants WAMCO, WA Japan, WA London, WA Singapore, together
 9
     with their affiliates (collectively, “Western Asset”) are an integrated investment man-
10
     agement company specializing in actively managed fixed-income investments.
11
           103. As of December 31, 2017 Western Asset had 862 employees located in 9
12
     offices throughout the world including Pasadena, California. Western Asset managed
13
     $442 billion as of December 31, 2017.
14
           104. Western Asset’s clients include, among others, high net worth individu-
15
     als, charitable organizations, and registered investment companies. Among the in-
16
     vestment companies are approximately 40 open-end funds and approximately 20
17
     closed-end funds (including the Funds). Many of the same individuals serve as trus-
18
     tees and officers of numerous Western Asset-advised funds.
19
           105. Western Asset is comprised of six legal entities including the four West-
20 ern Asset Defendants. Western Asset was founded in 1971 and was acquired by Legg
21 Mason, Inc. (“Legg Mason”) in 1986. Legg Mason is a global asset management
22 company.
23      106. Western Asset is a substantial part of Legg Mason’s overall business.
24 Legg Mason had a total of $767 billion in assets under management at December 31,
25 2017. Legg Mason recognized revenue of $2.9 billion in 2017.
26
27
28
                                               26
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 1         107. Legg Mason and Western Asset primarily generate revenue by charging
 2 fees for investment management services. Typically such fees are calculated as a per-
 3 centage of a client’s assets.
 4       108. Legg Mason and its affiliates and subsidiaries (including Western Asset)
 5 manage investments for approximately 130 open-end funds, 30 closed-end funds, and
 6 7 ETFs. Many of the same individuals serve as trustees and officers of numerous Legg
 7 Mason-advised funds.
 8      109. Western Asset has a history of securities law violations and breaches of
     fiduciary duties owed to its clients. In January 2014 the SEC issued an order, pursuant
 9
     to a settlement with WAMCO, in which the SEC found that WAMCO had willfully
10
     violated the Investment Company Act. See Investment Company Act of 1940 Release
11
     No. 30893 (Jan. 27, 2014).
12
           110. Specifically, the SEC found that WAMCO breached its fiduciary duties
13
     by causing various fund clients to enter into securities trades with each other in a
14
     manner that favored the interests of some clients over others. The SEC found that the
15
     legal violations were caused by WAMCO’s deficient policies, controls, and supervi-
16
     sion. The SEC ordered WAMCO to cease and desist from violating the securities
17
     laws, censured WAMCO, and ordered WAMCO to pay a $1 million civil fine. As part
18
     of the settlement WAMCO also made compensatory payments to impacted clients in
19
     the amount of $7,440,881 in the aggregate.
20         B.     Guggenheim
21         111. Defendant Security Investors, LLC is an indirect wholly-owned subsidi-
22 ary of Guggenheim Partners, LLC (Guggenheim Partners, LLC, SI, and their affiliates
23 are collectively referred to herein as “Guggenheim”).
24         112. Guggenheim is a global investment and advisory firm with $305 billion
25 in assets under management. Guggenheim has over 2,300 employees and is headquar-
26
27
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                                                27
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 1 tered in New York, New York and Chicago, Illinois. Guggenheim also maintains an
 2 office in Santa Monica, California.
 3         113. Guggenheim provides investment advice and related services to a range
 4 of clients including high net worth individuals, pension funds, and registered invest-
 5 ment companies. Among the investment companies are approximately 85 open-end
 6 funds, 10 closed-end funds (including the Funds), and 65 ETFs. Many of the same in-
 7 dividuals serve as trustees and officers of numerous Guggenheim-advised funds.
 8         114. Western Asset and Claymore Group together created the Funds in or
     about 2003. In 2009 Guggenheim acquired Claymore Group. When Guggenheim ac-
 9
     quired Claymore Group it took over Claymore Group’s role as a service provider to
10
     the Funds.
11
           115. On information and belief, Guggenheim primarily generates revenue by
12
     charging fees for investment management and related services. Typically such fees are
13
     calculated as a percentage of a client’s assets.
14
           116. Guggenheim has a history of securities law violations and breaches of fi-
15
     duciary duties owed to its clients. In August 2015 the SEC issued an order, pursuant to
16
     a settlement with a Guggenheim affiliate, Guggenheim Partners Investment Manage-
17
     ment LLC (“GPIM”), in which the SEC found that GPIM had willfully violated the
18
     Investment Advisers Act. See Investment Advisers Act of 1940 Release No. 4163
19
     (Aug. 10, 2015).
20         117. Specifically, the SEC found that GPIM breached its fiduciary duties by
21 failing to disclose potential conflicts of interest involving a GPIM executive and a cli-
22 ent, and by negligently charging a client for work never performed. The SEC found
23 that the legal violations were caused by GPIM’s deficient compliance policies and
24 procedures. The SEC ordered GPIM to cease and desist from violating the securities
25 laws, censured GPIM, and ordered GPIM to pay a $20 million civil fine.
26
27
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                                                 28
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 1         118. At the time of writing this Complaint, GPIM is once again under investi-
 2 gation by the SEC’s enforcement staff. See Justin Baer and Margot Patrick, Guggen-
 3 heim Partners’ Asset-Management Unit Is Under SEC Investigation, Sources Say,
 4 WALL STREET JOURNAL (Apr. 15, 2018).
 5      VII. PLAINTIFF’S PRIOR EFFORTS TO REDUCE THE FUNDS’ FEES

 6         119. Plaintiff has repeatedly and by various means, over the course of more

 7 than two years, attempted to convince the Funds’ Trustees to take actions to benefit
 8 the Funds’ shareholders, such as converting to an open-end structure and reducing ex-
     cessive fees. Only after seeing those efforts rebuffed has Plaintiff resorted to litigation.
 9
           120. In October 2015 Plaintiff raised his concerns about the Funds privately
10
     by writing the Chairman of the Funds’ Boards of Trustees, Michael Larson. Because
11
     Mr. Larson did not reply and the Trustees did not address Plaintiff’s concerns, Plain-
12
     tiff published an article in the hopes of convincing the Trustees to act in the interests
13
     of all shareholders. See Howard Winston, WIA and WIW Holders Deserve More From
14
     Chairperson Michael Larson and the Board of Directors (Nov. 2, 2015).5 Plaintiff al-
15
     so raised his concerns with the Funds’ Chief Compliance Officer, Todd F. Kuehl, and
16
     with William Korver, a director at Guggenheim Investments which is an affiliate of SI
17
     and Guggenheim.
18
           121. Then, in what appeared to be a first step to address some of Plaintiff’s
19
     concerns (regarding the Funds’ large discount to NAV), on March 2, 2016 the Funds
20 announced that:
21
        the Boards of Trustees have authorized management to repurchase in the
22      open market up to approximately 10 percent of the Funds’ outstanding
        common shares when the shares are trading at a discount to net asset
23      value and when such purchases could enhance shareholder value. The
        Funds are under no obligation to purchase shares at any specific discount
24      levels or in any specific amounts. Each Fund’s repurchase activity will be
        disclosed in the shareholder report for the relevant fiscal period.
25
26         5
          Available at https://seekingalpha.com/article/3631056-wia-wiw-holders-
27 deserve-chairperson-michael-larson-board-directors
28
                                                 29
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 1         122. However, in the more than two years since that announcement, the Funds
 2 have not repurchased any shares, despite the fact that their shares have traded at a
 3 large discount at all times. As such, this announcement appears to have been little
 4 more than window dressing in an attempt to appease Plaintiff, while at the same time
 5 avoiding any concrete steps that would have the effect of reducing Defendants’ fees
 6 derived from the Funds.
 7         123. Also on March 2, 2016, and apparently in a misdirected response to

 8 Plaintiff’s concerns about the Funds, both WIW and WIA announced changes to cer-
   tain of their investment policies to take effect immediately. According to a press re-
 9
   lease issued by WIW and WIA, “The changes broaden the range of securities in which
10
   the Funds can invest, while maintaining the overall strategies of investing at least 80
11
   percent of total managed assets in inflation-linked securities.”
12
          124. Under the new policies each Fund would be allowed to (i) engage in cur-
13
   rency strategies subject to a limit of 40 percent of total managed assets, (ii) utilize
14
   commodity-related strategies for up to 10 percent of its total managed assets, and (iii)
15
   invest in assets rated below investment grade with a limit of 10 percent of total man-
16
   aged assets for WIA and 40 percent for WIW.
17
          125. These revised investment policies, unilaterally changed without share-
18
   holder approval, appear to be an attempt to justify the Funds’ high fees by investing in
19
   riskier and more exotic assets than their core holdings of U.S. Treasury Inflation-
20 Protected Securities (“TIPs”).
21         126. Shortly following Plaintiff’s initial efforts to correct the Funds’ problems
22 and the announcement of the Funds’ policy changes on March 2, 2016, and also in re-
23 sponse to Plaintiff’s efforts, the Funds disclosed for the first time a potential conflict
24 of interest involving Western Asset and the Funds’ purportedly independent Chair-
25 man. Namely, that Western Asset has provided advice with respect to perhaps billions
26 of dollars of Bill Gates’s fortune for the last two decades. This fact is highly signifi-
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 1 cant because Mr. Larson is a long-time employee of Bill Gates and serves as Gates’s
 2 Chief Investment Officer, with responsibility for tens of billions of dollars of invest-
 3 ments, including the endowment of the Bill & Melinda Gates Foundation Trust. West-
 4 ern Asset’s substantial work for Bill Gates therefore represents a previously undis-
 5 closed source of potential conflicts for Mr. Larson, as he is in a position to potentially
 6 obtain preferred treatment for Gates from Western Asset by allowing Western Asset to
 7 profit at Fund shareholders’ expense. The new disclosure consists of only a vague
 8 footnote in the Funds’ proxy statements (beginning with those filed on April 5, 2016),
     and is nowhere near an adequate explanation of the relationships involved and the re-
 9
     sulting potential conflicts.
10
           127. Following these announcements and disclosures, by November 2017 it
11
     had become apparent to Plaintiff that the Funds’ mismanagement would continue, that
12
     no share repurchases would be made, and that the Funds’ excessive fees would not be
13
     reduced. On November 27, 2017 Plaintiff sent letters to the Funds’ Boards of Trustees
14
     to demand that they take action to remedy a number of breaches of fiduciary duties by
15
     the Trustees (the demand letters are reproduced as Exhibit 1 and Exhibit 2). Among
16
     these demands were that the Funds take action to reduce their excessive fees, and to
17
     obtain compensation for excessive fees in past periods. Other demands related to the
18
     large, persistent market discount to NAV, certain conflicts of interest involving the
19
     Funds’ Chairman Mr. Larson, and the Trustees’ general inattention to the Funds’ af-
20 fairs. Among the remedial actions requested, Plaintiff demanded that the Funds initi-
21 ate lawsuits against the Trustees for their breaches of fiduciary duties. The demand
22 letters also specifically advised that Plaintiff intended to commence legal actions
23 against Defendants under Section 36(b).
24         128. Upon receipt of Plaintiff’s demand letters the Funds formed Demand Re-
25 view Committees consisting of Trustees Ronald Nyberg and Ronald Toupin, Jr. The
26
27
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 1 Demand Review Committees engaged legal counsel and investigated the issues raised
 2 in the demand letters.
 3         129. In December of 2017 and January of 2018 Plaintiff and the Demand Re-
 4 view Committees exchanged additional correspondence relating to the issues raised in
 5 the demand letters. Plaintiff produced over 2,000 pages of documents to the Demand
 6 Review Committees in support of his demands. Plaintiff flew across the country, on
 7 short notice and at his own expense, to appear in person and meet the Demand Review
 8 Committees in Washington, DC on January 3, 2018. At that meeting Plaintiff an-
   swered numerous questions from the Committees’ counsel. Afterward, Plaintiff sent
 9
   the Demand Review Committees a letter to follow up on various issues raised in the
10
   January 3 meeting.
11
          130. Then, in a letter dated January 12, 2018, the Demand Review Commit-
12
   tees informed Plaintiff that:
13
          following an extensive investigation into the matters raised in the
14        Demand Letters . . . The Boards have . . . concluded that the Funds do not
          have meritorious claims regarding the allegations in the Demand Letters.
15        The Boards therefore have determined that it would not be in the best
          interests of the Funds or their shareholders to take the actions demanded
16        in the Demand Letters.
17        131. Notwithstanding the Trustees’ refusal to sue themselves for breaches of
18 fiduciary duties owed to the Funds’ shareholders, the Funds appear to have taken a
19 number of other remedial actions in response to Plaintiff’s demand letters of Novem-
20 ber 27, 2017.
21       132. In 8-K current report forms filed with the SEC on December 19, 2017,
22 both Funds announced that “On December 19, 2017, Jane Trust resigned from the
23 Board of Trustees of the Fund. She continues to serve as President of the Fund.” Jane
24 Trust is Senior Managing Director of Legg Mason & Co., LLC, an affiliate of Legg
25 Mason and Western Asset. Because of her positions with Legg Mason and Western
     Asset affiliates, Ms. Trust was considered an “interested trustee” of the Funds for se-
26
     curities law purposes.
27
28
                                                32
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 1         133. Those same 8-Ks attached as exhibits Amended and Restated Bylaws for
 2 the Funds, dated as of September 23, 2015. Form 8-K is generally required to be filed
 3 with the SEC four business days from the date of the event that triggers the duty to file
 4 the 8-K. However, the Amended and Restated Bylaws had not been filed in 2015, or
 5 any time thereafter. In fact, the Funds’ SEC filings gave no indication that their by-
 6 laws had ever been amended. The only versions of the Funds’ bylaws previously filed
 7 with the SEC were the original versions from 2003. Prior to December 19, 2017, nei-
 8 ther Fund had ever filed a Form 8-K.
           134. The only significant change in the Funds’ amended bylaws was the addi-
 9
     tion of Article 13, titled “Exclusive Forum,” which purports to limit certain litigation
10
     related to the Funds to certain state or federal courts in Massachusetts. This proactive
11
     attempt to make it more difficult for shareholders to enforce their rights (which was
12
     for a long time unknown to shareholders due to the Funds’ failure to disclose the
13
     amended bylaws) serves as an illustrative contrast to the Trustees’ failure over many
14
     years to even once try to reduce the Funds’ fees. The forum selection clauses in the
15
     Funds’ bylaws do not apply to the present action for multiple reasons as explained
16
     above at paragraph 20.
17
           135. In other 8-K forms filed with the SEC on December 29, 2017, the Funds
18
     indicated that their current custodian, State Street Bank and Trust, would soon be re-
19
     placed in that role by The Bank of New York Mellon.
20         136. In an annual report filed with the SEC on form N-CSR on February 2,
21 2018, WIA disclosed that:
22
         Management recently informed the Servicing Agent that the Servicing
23       Agent may have received payments in excess of a previously agreed
         upon cap on its compensation. The Servicing Agent informed the Fund
24       that the Servicing Agent believes that it has not received any payments in
         excess of a cap. To settle this matter, the Servicing Agent and the Fund
25       have agreed that the Servicing Agent will contribute to the Fund
         $350,000 of the potential overage and retain the remaining amount of
26       approximately $700,000 as consideration for services rendered which the
         Board of Trustees believes the Servicing Agent earned based on services
27       rendered to the Fund.

28
                                                33
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 1         137. In proxy statements filed with the SEC on Schedule 14A on February 16,
 2 2018, the Funds announced various changes including reductions in fees, the replace-
 3 ment of SI as a service provider to the Funds, and the renaming of the Funds:
 4         WIA and WIW announced changes in the funds’ management
           arrangements designed to reduce shareholder expenses and enhance
 5         management efficiencies for the funds. As a result of the changes
           approved by the Board of each fund, aggregate annual advisory,
 6         administration and servicing fee rates for WIA are expected to decrease
           by 16.5 basis points (“bps” 1 bp = 0.01%) while fee rates on WIW,
 7         subject to shareholder approval of new contracts, are expected to
           decrease by 24 bps.
 8
           Shareholder savings on WIA will result from Western Asset reducing its
 9         contractual investment advisory fee rate from 40 to 35 bps and Legg
           Mason Partners Fund Advisor, LLC (“LMPFA”) replacing Security
10         Investors, LLC (“Security Investors”), and assuming its servicing and
           administration responsibilities for the fund, for a total of 5 bps including
11         the services LMPFA already provides to the fund. These changes will be
           effective on or about April 27, 2018.
12
           Shareholder savings on WIW will result from Western Asset and
13         LMPFA replacing Security Investors and assuming its responsibilities for
           the fund. Similar to WIA, Western Asset will provide investment
14         advisory services directly to WIW for 35 bps, subject to shareholder
           approval, rather than as sub-adviser to Security Investors, and LMPFA
15         will assume Security Investors’ servicing responsibilities for a total of 5
           bps including the services LMPFA already provides to the fund. These
16         changes will be implemented beginning on or about April 27, 2018 on an
           interim basis and will be subject to WIW shareholder approval of new
17         investment advisory and sub-advisory agreements. The interim
           arrangements will provide WIW with 150 days in which to obtain
18         shareholder approval of new contracts with the new lower fee structure in
           place during the interim period. WIW currently expects to include a vote
19         on these new contracts at its annual meeting of shareholders scheduled
           for May 30, 2018.
20
           Western Asset’s portfolio management team for the funds, and the funds’
21         investment strategies, will not change as a result of restructuring the
           management arrangements for the funds.
22
           Effective on or about April 27, 2018, WIA will be renamed Western
23         Asset Inflation-Linked Income Fund and WIW will be renamed Western
           Asset Inflation-Linked Opportunities & Income Fund.
24
           138. According to WIW’s preliminary proxy statement filed March 23, 2018,
25
     the proposal to reduce WIW’s fees was developed by WAMCO and its affiliate in
26
     February 2018.
27
28
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 1           139. Although the February 16, 2018 announcement contemplates a future re-
 2 duction in investment advisory expenses for the Funds, it says nothing about any at-
 3 tempt to recover previously paid excessive investment advisory fees.
 4       140. Furthermore, although the announcement contemplates that the Funds
 5 will pay investment advisory fees of 35 basis points (still calculated based on total as-
 6 sets instead of net assets) from April 27, 2018 on, this level of fees is still far in excess
 7 of arm’s-length rates. An arm’s-length rate for the Funds’ investment advisory ser-
 8 vices would be at most 20 basis points calculated based on net assets.
             141. On March 1, 2018 Plaintiff sent the Funds requests for certain books and
 9
     records in order to investigate the Trustees’ actions taken in response to his demand
10
     letters. On or about March 15, 2018 the Funds sent Plaintiff certain financial records
11
     and heavily redacted board minutes in response to his books and records requests.
12
                        VIII. WIW AND ITS SERVICE PROVIDERS
13
             142. The Western Asset/Claymore Inflation-Linked Opportunities & Income
14
     Fund is a closed-end registered investment company. It is organized as a
15
     Massachusetts business trust and commenced operations on or about February 24,
16
     2004.
17
             143. WIW’s investment objectives are described as follows, “The Fund’s
18
     primary investment objective is to provide current income. Capital appreciation, when
19
     consistent with current income, is a secondary investment objective.”
20           144. WIW describes its non-fundamental investment policies as follows,
21 “Under normal market conditions and at the time of purchase, the Fund will,”:
22
        • Invest at least 80% of its total managed assets in inflation-linked
23      securities

24           • Invest no more than 40% of its total managed assets in below
             investment grade securities
25
             • Invest up to 100% of its total managed assets in non-U.S. dollar
26           investments, which gives the Fund the flexibility to invest up to 100% of
             its total assets in non-U.S. dollar inflation-linked securities (up to 100%
27           of its non-U.S. dollar exposure may be unhedged)

28
                                                 35
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 1         • Engage in currency strategies, using instruments such as currency
           forwards, futures and options, to take long and short foreign currency
 2         positions subject to a limit of exposure from such strategies to 40% of
           total managed assets. This capacity is in addition to the capacity to have
 3         100% unhedged exposure to non-U.S. dollar currencies through the
           purchase of fixed income securities
 4
           • Utilize commodity-related strategies for up to 10% of its total managed
 5         assets. Exposure to commodities is expected to be achieved through the
           use of a variety of instruments, such as futures contracts, options and
 6         other derivatives, or through investments in exchange-traded products
           that offer exposure to commodities. The Fund does not expect to hold
 7         physical commodities.
 8
           145. In summary, “The Fund seeks to offer an inflation hedge through
 9
     investments in global inflation-linked securities, and primarily in U.S. Treasury
10
     Inflation-Protected Securities (“TIPS”). The Fund also seeks to offer shareholders
11
     certain additional advantages through the ability to invest in other fixed income asset
12
     classes, which may result in higher total returns and higher distribution rates. These
13
     asset classes include select investments in high-yield and investment grade credit,
14 emerging markets and structured products.”
15      146. WIW’s self-selected benchmark indexes are (i) the Bloomberg Barclays
16 U.S. Government Inflation-Linked 1-10 Year Index, (ii) the Bloomberg Barclays U.S.
17 Government Inflation-Linked All Maturities Index, and (iii) a custom benchmark
18 index comprised of 90% Bloomberg Barclays U.S. Government Inflation-Linked All
19 Maturities Index, 5% Bloomberg Barclays U.S. Credit Index and 5% JPMorgan
20 Emerging Markets Bond Index Plus.
21         147. At January 31, 2018 WIW’s portfolio was composed of asset classes as
22 follows:
23
24
25
26
27
28
                                                36
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 1     Image 1. WIW Portfolio Concentration

 2
 3
 4
 5
 6
 7
 8
 9
10         148. At January 31, 2018 WIW’s portfolio consisted of securities of credit
11 quality reflected below:
12                   Image 2. WIW Credit Quality
13
14
15
16
17
18
19
20
           149. As of January 31, 2018 the effective duration of WIW’s portfolio was
21
     7.00 years.
22
           150. WIW’s portfolio turnover rate for the year ended November 30, 2017
23 was 57%, and has averaged 69% for the past five years.
24       151. As of January 31, 2018 the top ten holdings in WIW’s portfolio by value
25 were:
26
27
28
                                                   37
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 1                      Table 3. WIW Top 10 Holdings
                         Security                           Portfolio weight
 2
                         US TIPS, 2%, 01/15/2026                       14.36%
 3                       US TIPS, 0.125%, 04/15/2018                     6.92%
                         US TIPS, 1.125%, 01/15/2021                     6.66%
 4                       US TIPS, 0.125%, 01/15/2023                     6.37%
 5                       US TIPS, 0.125%, 07/15/2022                     5.71%
                         US TIPS, 0.625%, 01/15/2026                     4.94%
 6                       US TIPS, 0.125%, 04/15/2019                     4.87%
 7                       US TIPS, 0.125%, 04/15/2020                     3.78%
                         US TIPS, 1.375%, 02/15/2044                     3.24%
 8                       US TIPS, 0.625%, 01/15/2024                     2.88%
                         TOTAL                                         59.73%
 9
           152. As of November 30, 2017 WIW had $1.077 billion of total assets, $294
10
     million of total liabilities (including $292 million of leverage in the form of “open
11
     reverse repurchase agreements”), and $782 million of net assets.
12
           153. The following table shows the total investment return for WIW over the
13
     last five years, as reflected in WIW’s SEC filings:
14
         Table 4. WIW Total Return 2013-2017
15                                                 2017 2016 2015 2014 2013     Avg.
16       Total return, based on NAV (%)             6.99 4.69 -3.42 1.09  -8.74  0.12
         Total return, based on Market Price (%)    7.42 9.85 -5.83 4.03 -11.77  0.74
17
           154. The following table shows the average discount to NAV at which WIW’s
18
     shares have traded over the last five years:
19
          Table 5. WIW Discount to NAV 2013-2017
20                                   2017     2016     2015     2014     2013     Avg.
             Average Discount (%)      -11.42   -12.36   -14.39   -13.01   -12.97  -12.83
21
             High Discount (%)         -10.10    -9.87   -12.41   -11.44   -10.50  -10.86
22           Low Discount (%)          -12.01   -16.24   -16.60   -14.48   -14.97  -14.86

23         155. WIW’s Board of Trustees consists of Michael Larson (Chairman),
24 Ronald A. Nyberg, and Ronald E. Toupin, Jr. Jane Trust also served as a Trustee until
25 her resignation from the Board on or about December 19, 2017.
26
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                                                   38
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 1        156. WIW’s officers are Jane Trust (President), Richard F. Sennett (Principal
 2 Financial and Accounting Officer and Treasurer), Todd F. Kuehl (Chief Compliance
 3 Officer), and Robert I. Frenkel (Secretary).
 4       A.     Investment Advisory Services
 5        157. WIW’s primary investment adviser is SI. WIW’s investment sub-advisers

 6 are WAMCO, WA Japan, WA London, and WA Singapore.
 7      158. WIW’s portfolio managers are S. Kenneth Leech, Michael C. Buchanan,

 8 Frederick Marki, and Chia-Liang Lian. WIW’s SEC filings state that, “At Western
   Asset . . . we utilize a fixed-income team approach, with decisions derived from
 9
   interaction among various investment management sector specialists. The sector teams
10
   are comprised of Western Asset’s senior portfolio management personnel, research
11
   analysts and an in-house economist.” The analysts and economist are not identified in
12
   WIW’s public filings.
13
          159. For the year ended November 30, 2017 WIW accrued $6,489,372 in
14
   management fees payable to SI, of which $2,920,217 was payable to WAMCO for
15
   sub-advisory services.
16
          160. From WIW’s inception in or about 2003 through the present, the
17
   substantive terms of WIW’s investment advisory arrangements have remained largely
18
   unchanged. The only significant changes being (i) the addition of WA Japan, WA
19
   London, and WA Singapore as sub-advisers in 2008, and (ii) a Guggenheim affiliate
20 becoming WIW’s investment adviser instead of a Claymore Group affiliate when
21 Guggenheim acquired Claymore Group in 2009. The only other changes to WIW’s
22 investment advisory arrangements have been to entity names or other minor changes.
23 A more significant change is contemplated to occur on or about April 27, 2018, when
24 WAMCO is to replace SI as WIW’s investment adviser, and investment advisory fees
25 are to be somewhat reduced.
26
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                                             39
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 1         161. WIW’s original Investment Advisory Agreement was executed by WIW
 2 and Claymore Advisors LLC in or about 2003 (in the form attached as Exhibit 3, the
 3 “WIW Advisory Agreement”). Under this agreement, the adviser’s primary
 4 responsibility was to, “regularly provide [WIW] with investment research, advice,
 5 management and supervision and . . . furnish a continuous investment program for
 6 [WIW] consistent with [WIW]’s investment objectives, policies and restrictions.” See
 7 WIW Advisory Agreement, Ex. 3 at §3(a).
 8     162. The agreement also required the adviser to provide certain administrative
     services. See WIW Advisory Agreement, Ex. 3 at §3(b) and EXHIBIT A. However, as
 9
     will be discussed infra, many of those administrative services were duplicative of
10
     services provided by WIW’s administrator or other service providers. Other of the
11
     administrative services were routine, clerical, and of little value.
12
           163. The WIW Advisory Agreement also provides, “Other than as herein
13
     specifically indicated, the Advisor shall not be responsible for the expenses of the
14
     Trust,” and sets forth a long list of expenses that the adviser is not responsible for. See
15
     WIW Advisory Agreement, Ex. 3 at §5(b).
16
           164. The Investment Advisory Agreement provided that in exchange for its
17
     services, WIW “shall pay the Advisor an annual fee, payable on a monthly basis, at
18
     the annual rate of 0.60% of [WIW]’s average weekly assets. ‘Average Weekly Assets’
19
     means the average weekly value of the total assets of [WIW] (including any assets
20 attributable to leverage) minus accrued liabilities (other than liabilities representing
21 leverage).” See WIW Advisory Agreement, Ex. 3 at §7. The WIW Advisory
22 Agreement did not indicate what portion, if any, of the 0.60% fee was attributable to
23 services other than investment advisory services.
24         165. Also in or about 2003, a sub-advisory agreement, titled Investment
25 Management Agreement, was executed by WIW, Claymore Advisors LLC, and
26 WAMCO (in the form attached as Exhibit 4, the “WIW Sub-Advisory Agreement”).
27
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                                                 40
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 1 Under this agreement WAMCO’s primary responsibility was to, “regularly provide
 2 [WIW] with investment research, advice, management and supervision and . . . furnish
 3 a continuous investment program for [WIW] consistent with [WIW]’s investment
 4 objectives, policies, and restrictions as stated in [WIW]’s current Prospectus and
 5 Statement of Additional Information.” See WIW Sub-Advisory Agreement, Ex. 4 at
 6 §3(a).
 7         166. The WIW Sub-Advisory Agreement and the WIW Advisory Agreement

 8 use nearly identical language in their respective sections 3(a) to describe the
   investment advisory services to be performed, as shown in the redline comparison
 9
   attached as Exhibit 5.
10
          167. The WIW Sub-Advisory Agreement provided that in exchange for its
11
   services, the adviser “shall pay [WAMCO] an annual fee, payable on a monthly basis,
12
   at the annual rate of 0.27% of [WIW]’s average weekly assets. ‘Average Weekly
13
   Assets’ means the average weekly value of the total assets of [WIW] (including any
14
   assets attributable to leverage) minus accrued liabilities (other than liabilities
15
   representing leverage).” See WIW Sub-Advisory Agreement, Ex. 4 at §7.
16
          168. According to WIW’s annual report for its year ended December 31,
17
   2008, “At their September 8, 2008 meeting, the Trustees . . . approved the addition of
18
   the following three non-U.S. affiliates of Western Asset as additional investment sub-
19
   advisers of [WIW]: Western Asset Management Company Pte. Ltd. in Singapore . . . ,
20 Western Asset Management Company Limited in London . . . and Western Asset
21 Management Company Ltd in Japan.” The relevant sub-advisory agreements do not
22 appear to have been made public. However, WIW has disclosed that WAMCO pays
23 WA Singapore, WA London, and WA Japan annual fees of 0.27% of the amounts of
24 WIW’s total assets managed by them.
25         169. According to WIW’s annual report for its year ended November 30,
26 2017:
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                                             41
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           On May 3, 2016, the Fund entered into an Amended and Restated
 1         Investment Advisory Agreement with Security Investors, LLC . . . ,
           which provides for payment of a monthly fee computed at the annual rate
 2         of 0.60% of the Fund’s average weekly assets . . . [SI] has, in turn,
           entered into an Amended and Restated Investment Management
 3         Agreement with Western Asset Management Company and separate
           Amended and Restated Investment Management Agreements among [SI],
 4         Western Asset Management Company and each of Western Asset
           Management Company Ltd. . . . , Western Asset Management Company
 5         Limited . . . , and Western Asset Management Company Pte. Ltd. . . . In
           exchange for the services provided by [WAMCO], [SI] pays a portion of
 6         the fees it receives from the Fund to [WAMCO], at the annual rate of
           0.27% of the Fund’s average weekly assets.
 7
     This excerpt appears to describe the most recent revisions to WIW’s investment man-
 8
     agement agreements as of the date of this Complaint (apart from the anticipated
 9
     changes to take effect on or about April 27, 2018). Copies of the most recently revised
10
     documents do not appear to be publicly available, but are believed to be substantially
11
     similar to the agreements reproduced in Exhibit 3 and Exhibit 4.
12
           170. In a proxy statement filed with the SEC on April 6, 2018, WIW provided
13 shareholders with notice of a meeting to be held May 30, 2018, at which shareholders
14 will vote on new investment advisory agreements. The proxy statement states that the
15 new agreements have already been approved by the Board and “are scheduled to be
16 effective on or about April 27, 2018 on an interim basis pending shareholder
17 approval.”
18         171. The Form of Proposed Advisory Agreement included as Appendix A to
19 the proxy statement is reproduced in Exhibit 6 (the “WIW New Advisory
20 Agreement”). The WIW New Advisory Agreement is very similar to the WIW
21 Advisory Agreement with three main differences. First, WAMCO replaces SI as the
22 primary investment adviser. See WIW New Advisory Agreement, Ex. 6, at preamble.
23 Second, WAMCO is not required to perform certain administrative duties that SI was
24 previously supposed to perform. See WIW New Advisory Agreement, Ex. 6, at §3.
25 Third, fees payable to WAMCO will be 0.35% of total assets instead of the 0.60% of
26 total assets currently payable to SI. See WIW New Advisory Agreement, Ex. 6, at §7.
27
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                                               42
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 1        172. The WIW New Advisory Agreement and the WIW Advisory Agreement
 2 use nearly identical language in their respective sections 3(a) to describe the
 3 investment advisory services to be performed, as shown in the redline comparison
 4 attached as Exhibit 7.
 5        173. WIW’s proxy statement filed April 6, 2018 also includes a Form of

 6 Proposed Sub-Advisory Agreement as Appendix B to the proxy statement, for each of
 7 WA Singapore, WA Japan, and WA London. Each of these three Forms of Proposed
 8 Sub-Advisory Agreement is nearly identical. The Form of Proposed Sub-Advisory
   Agreement for WA London is reproduced in Exhibit 8 (the “WIW New Sub-
 9
   Advisory Agreement”).
10
          174. The WIW New Sub-Advisory Agreement is very similar to the WIW
11
   Sub-Advisory Agreement. The main difference is that the fees payable to WA
12
   London, WA Japan, and WA Singapore will increase to 0.35% of total assets managed
13
   by them from the 0.27% rate currently payable. See WIW New Sub-Advisory
14
   Agreement, Ex. 8, at §7.
15
          B.    Administrative and Other Services
16
          175. As of November 30, 2017 State Street Bank and Trust Company served
17
   as WIW’s custodian. WIW has announced that State Street Bank and Trust Company
18
   will soon be replaced in that role by The Bank of New York Mellon.
19
          176. WIW’s legal counsel is Ropes & Gray LLP.
20        177. WIW’s independent registered public accounting firm is
21 PricewaterhouseCoopers LLP.
22       178. WIW’s transfer agent is Computershare Inc.
23        179. Legg Mason Partners Fund Advisor, LLC (“LMPFA”) serves as WIW’s
24 administrator. In or about 2004 WIW entered into an Administrative Services
25 Agreement with a predecessor to LMPFA, named Legg Mason Fund Adviser, Inc.
26
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 1 (“LMFA”), as reproduced in Exhibit 9 (the “WIW Administrative Services
 2 Agreement”).
 3        180. The administrator’s main duty under the WIW Administrative Services
 4 Agreement is to provide various administrative services. See WIW Administrative
 5 Services Agreement, Ex. 9, at §3(a), SCHEDULE A. As shown in Exhibit 15, the
 6 enumerated administrative duties broadly overlap with those listed in the WIW
 7 Advisory Agreement. See generally Comparison of WIW Advisory Agreement
 8 Exhibit A to WIW Administrative Services Agreement Schedule A, Ex. 15.
         181. It is believed that the current version of WIW’s Administrative Services
 9
   Agreement is substantially identical to the WIW Administrative Services Agreement
10
   reproduced in Exhibit 9, with two significant changes. First, LMPFA became the
11
   administrator effective September 30, 2009. Second, the fees payable to the
12
   administrator increased effective January 1, 2012.
13
         182. Under the original WIW Administrative Services Agreement the
14
   administrator was to receive compensation equal to $125,000 per year. See WIW
15
   Administrative Services Agreement, Ex. 9, §6. From 2012 through the present,
16
   LMPFA’s fees have increased to 0.04% of WIW’s total assets per year, subject to an
17
   annual minimum of $225,000.
18
         183. Under WIW’s new services arrangements scheduled to take effect on or
19
   about April 27, 2018, LMPFA will continue to perform its current duties and will
20 assume all of SI’s administrative duties in exchange for an increase in LMPFA’s
21 annual fees of 0.01%, up to a total of 0.05% of total assets per year.
22       184. The following table summarizes WIW’s annual fees payable to
23 Defendants and their affiliates:
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25
26
27
28
                                            44
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 1      Table 6. Summary of WIW Fees Payable to Defendants and Affiliates
        Service                                               Provider      Annual Fees
 2      Current Arrangements
 3      Investment advisory (and certain administrative)      SI / WAMCO    0.60% of total assets
           • Investment advisory (and certain administrative) SI               • 0.33% of total assets
 4         • Investment sub-advisory                          WAMCO            • 0.27% of total assets
 5      Administrative                                        LMPFA         0.04% of total assets
        TOTAL                                                               0.64% of total assets
 6
 7      Effective April 27, 2018
        Investment advisory                                WAMCO            0.35% of total assets
 8      Administrative                                     LMPFA            0.05% of total assets
        TOTAL                                                               0.40% of total assets
 9
                           IX. WIA AND ITS SERVICE PROVIDERS
10
           185. The Western Asset/Claymore Inflation-Linked Securities & Income Fund
11
     is a closed-end registered investment company. It is organized as a Massachusetts
12
     business trust and commenced operations on or about September 25, 2003.
13
           186. WIA’s investment objectives are described as follows, “The Fund’s
14
     primary investment objective is to provide current income. Capital appreciation, when
15
     consistent with current income, is a secondary investment objective.”
16
           187. WIA describes its non-fundamental investment policies as follows,
17
     “Under normal market conditions and at the time of purchase, the Fund will,”:
18
           • Invest at least 80% of its total managed assets in inflation-linked
19         securities
20         • Invest no more than 10% of its total managed assets in assets rated
           below investment grade at the time of purchase (or, if unrated, assets of
21         comparable quality as determined by management)
22         • Invest at least 60% of its total managed assets in U.S. Treasury
           Inflation-Protected Securities (“TIPS”)
23
           • Invest no more than 40% of its total managed assets in non-U.S. dollar
24         investments, which gives the Fund the flexibility to invest up to 40% of
           its total managed assets in non-U.S. dollar inflation-linked securities (no
25         more than 20% of its non-U.S. dollar exposure may be unhedged)
26         • Engage in currency strategies, using instruments such as currency
           forwards, futures and options, to take long and short foreign currency
27         positions subject to a limit of exposure from such strategies to 40% of
28
                                                   45
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           total managed assets. This capacity is in addition to the capacity to have
 1         20% unhedged exposure to non-U.S. dollar currencies through the
           purchase of fixed income securities
 2
           • Utilize commodity-related strategies for up to 10% of its total managed
 3         assets. Exposure to commodities is expected to be achieved through the
           use of a variety of instruments, such as futures contracts, options and
 4         other derivatives, or through investments in exchange-traded products
           that offer exposure to commodities. The Fund does not expect to hold
 5         physical commodities.
 6         188. These policies are summarized as follows, “The Fund seeks to offer an
 7 inflation hedge through investments in global inflation-linked securities, and primarily
 8 in TIPS. The Fund also seeks to offer shareholders certain additional advantages
 9 through the ability to invest in other fixed-income asset classes, which may result in
10 higher total returns and higher distribution rates. These asset classes include select
11 investments in high-yield and investment-grade credit, emerging markets and
12 structured products.”
13        189. WIA’s self-selected benchmark indexes are (i) the Bloomberg Barclays
     U.S. Government Inflation-Linked 1-10 Year Index, (ii) the Bloomberg Barclays U.S.
14
     Government Inflation-Linked All Maturities Index, and (iii) a custom benchmark
15
     index comprised of 90% Bloomberg Barclays U.S. Government Inflation-Linked All
16
     Maturities Index and 10% Bloomberg Barclays U.S. Credit Index.
17
           190. At January 31, 2018 WIA’s portfolio was composed of asset classes as
18
     follows:
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20
21
22
23
24
25
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                                               46
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 1     Image 3. WIA Portfolio Concentration

 2
 3
 4
 5
 6
 7
 8
 9
10         191. As of January 31, 2018 WIA’s portfolio consisted of securities of credit
11 quality reflected below:
12                Image 4. WIA Credit Quality
13
14
15
16
17
18
19
20
21         192. As of January 31, 2018 the effective duration of WIA’s portfolio was
22 6.76 years.
23         193. WIA’s portfolio turnover rate for the year ended November 30, 2017 was
24 59%, and has averaged 60% for the past five years.
25
26
27
28
                                                47
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 1         194. As of January 31, 2018 the top ten holdings in WIA’s portfolio by value
 2 were:
 3                      Table 7. WIA Top 10 Holdings
                         Security                          Portfolio weight
 4                       US TIPS, 2%, 01/15/2026                      11.10%
 5                       US TIPS, 0.125%, 04/15/2018                    8.66%
                         US TIPS, 0.125%, 04/15/2020                    7.15%
 6                       US TIPS, 1.125%, 01/15/2021                    6.83%
 7                       US TIPS, 1.75%, 01/15/2028                     6.61%
                         US TIPS, 0.125%, 04/15/2019                    5.75%
 8                       US TIPS, 0.125%, 01/15/2023                    4.79%
                         US TIPS, 0.125%, 07/15/2022                    4.58%
 9
                         US TIPS, 0.625%, 01/15/2026                    4.06%
10                       US TIPS, 1.375%, 02/15/2044                    3.31%
                         TOTAL                                        62.84%
11
           195. As of November 30, 2017 WIA had $529 million of total assets, $147
12
     million of total liabilities (including $146 million of leverage in the form of “open
13
     reverse repurchase agreements”), and $382 million of net assets.
14
           196. The following table shows the total investment return for WIA over the
15
     last five years, as reflected in WIA’s SEC filings:
16
         Table 8. WIA Total Return 2013-2017
17                                                 2017 2016 2015 2014 2013     Avg.
         Total return, based on NAV (%)             6.77 4.28 -3.00 3.68  -8.29  0.69
18
         Total return, based on Market Price (%)    7.15 9.61 -5.95 5.20 -10.15  1.17
19
           197. The following table shows the average discount to NAV at which WIA’s
20
     shares have traded over the last five years:
21
            Table 9. WIA Discount to NAV 2013-2017
22                                   2017     2016     2015     2014     2013     Avg.
            Average Discount (%)       -10.92    -11.9   -14.22   -12.68   -11.13  -12.17
23          High Discount (%)           -9.36    -9.18   -12.40   -11.18    -7.57   -9.94
24          Low Discount (%)           -11.66   -15.51   -16.67   -14.23   -13.78  -14.37

25         198. WIA’s Board of Trustees consists of Michael Larson (Chairman), Ronald
26 A. Nyberg, and Ronald E. Toupin, Jr. Jane Trust also served as a Trustee until her
27 resignation from the Board on or about December 19, 2017.
28
                                                   48
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 1        199. WIA’s officers are Jane Trust (President), Richard F. Sennett (Principal
 2 Financial and Accounting Officer and Treasurer), Todd F. Kuehl (Chief Compliance
 3 Officer), and Robert I. Frenkel (Secretary).
 4       A.     Investment Advisory Services
 5        200. WIA’s primary investment adviser is WAMCO. WIA’s investment sub-

 6 advisers are WA Japan, WA London, and WA Singapore.
 7       201. WIA’s portfolio managers are S. Kenneth Leech, Michael C. Buchanan,

 8 Frederick Marki, and Chia-Liang Lian. WIA’s SEC filings state that, “At Western
   Asset . . . we utilize a fixed-income team approach, with decisions derived from
 9
   interaction among various investment management sector specialists. The sector teams
10
   are comprised of Western Asset’s senior portfolio management personnel, research
11
   analysts and an in-house economist.” The analysts and economist are not identified in
12
   WIA’s public filings.
13
          202. For the year ended November 30, 2017 WIA accrued $2,115,515 in
14
   management fees payable to WAMCO.
15
          203. From WIA’s inception in or about 2003 through the present, the
16
   substantive terms of WIA’s investment advisory arrangements have remained largely
17
   unchanged. The only significant changes being the addition of WA Japan, WA
18
   London, and WA Singapore as sub-advisers in 2008. The only other changes to
19
   WIA’s investment advisory arrangements have been to entity names or other minor
20 changes. A more significant change is contemplated to occur on or about April 27,
21 2018, when investment advisory fees are to be somewhat decreased.
22       204. WIA’s original Investment Management Agreement was executed by
23 WIA and WAMCO in or about 2003 (in the form attached as Exhibit 10, the “WIA
24 Advisory Agreement”). Under this agreement, WAMCO’s primary responsibility was
25 to, “regularly provide [WIA] with investment research, advice, management and
26 supervision and . . . furnish a continuous investment program for [WIA] consistent
27
28
                                             49
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 1 with [WIA]’s investment objectives, policies and restrictions.” See WIA Advisory
 2 Agreement, Ex. 10, at §3(a).
 3         205. The WIA Advisory Agreement and the WIW Advisory Agreement use
 4 nearly identical language in their respective sections 3(a) to describe the investment
 5 advisory services to be performed, as shown in the redline comparison attached as
 6 Exhibit 11.
 7      206. The WIA Advisory Agreement also provides, “Other than as herein

 8 specifically indicated, the Advisor shall not be responsible for the expenses of the
   Trust,” and sets forth a long list of expenses that the adviser is not responsible for. See
 9
   WIA Advisory Agreement, Ex. 10 at §5(b).
10
          207. The WIA Advisory Agreement provided that in exchange for its services,
11
   WIA “shall pay [WAMCO] an annual fee, payable on a monthly basis, at the annual
12
   rate of 0.40% of [WIA]’s average weekly assets. ‘Average Weekly Assets’ means the
13
   average weekly value of the total assets of [WIA] (including any assets attributable to
14
   leverage) minus accrued liabilities (other than liabilities representing leverage).” See
15
   WIA Advisory Agreement, Ex. 10 at §7. The WIA Advisory Agreement did not
16
   indicate what portion, if any, of the 0.40% fee was attributable to services other than
17
   investment advisory services.
18
          208. According to WIA’s annual report for its year ended December 31, 2008,
19
   “At their September 8, 2008 meeting, the Trustees . . . approved the addition of the
20 following three non-U.S. affiliates of Western Asset as additional investment sub-
21 advisers of [WIA]: Western Asset Management Company Pte. Ltd. in Singapore . . . ,
22 Western Asset Management Company Limited in London . . . and Western Asset
23 Management Company Ltd in Japan.” The relevant sub-advisory agreements do not
24 appear to have been made public.
25         209. It is unclear from WIA’s public SEC filings whether there are any
26 amended versions of the 2003 WIA Advisory Agreement with WAMCO. If any such
27
28
                                                50
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 1 amended versions do exist, they are believed to be substantially similar to the
 2 agreement reproduced in Exhibit 10. No substantive revisions to the WIA Advisory
 3 Agreement appear to have been made as of the date of this Complaint (apart from the
 4 anticipated changes to take effect on or about April 27, 2018).
 5        210. The sub-advisory agreements among WIA, WAMCO, WA London, WA

 6 Japan, and WA Singapore do not appear to have been made public.
 7       211. In a preliminary proxy statement filed with the SEC on February 22,

 8 2018, WIA announced new fee arrangements. The preliminary proxy statement states
   that the new arrangements have already been approved by the Board and “will be
 9
   effective on or about April 27, 2018.” Under WIA’s new arrangements, the annual
10
   advisory fee payable to WAMCO will decrease from 0.40% of total assets to 0.35% of
11
   total assets.
12
          B.     Administrative and Other Services
13
          212. As of November 30, 2017 State Street Bank and Trust Company served
14
   as WIA’s custodian. WIA has announced that State Street Bank and Trust Company
15
   will soon be replaced in that role by The Bank of New York Mellon.
16
          213. WIA’s legal counsel is Ropes & Gray LLP.
17
          214. WIA’s independent registered public accounting firm is
18
   PricewaterhouseCoopers LLP.
19
          215. WIA’s transfer agent is Computershare Inc.
20        216. LMPFA serves as WIA’s administrator. On or about September 25, 2003
21 WIA entered into an Administrative Services Agreement with a predecessor to
22 LMPFA, namely LMFA (the “WIA Administrative Services Agreement”).6 The
23 administrator’s main duty under the WIA Administrative Services Agreement is to
24 provide various administrative services.
25
26        6
         Available at https://www.sec.gov/Archives/edgar/data/1254370/
27 000104746903031627/a2118987zex-99_k3.txt
28
                                              51
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 1         217. It is believed that the current version of WIA’s Administrative Services
 2 Agreement is substantially identical to the WIA Administrative Services Agreement
 3 executed on or about September 25, 2003, with two significant changes. First,
 4 LMPFA became the administrator effective September 30, 2009. Second, the fees
 5 payable to the administrator increased effective January 1, 2012.
 6       218. Under the original WIA Administrative Services Agreement the

 7 administrator was to receive compensation equal to $100,000 per year. From 2012
 8 through the present, LMPFA’s fees have increased to 0.04% of WIA’s total assets per
     year, subject to an annual minimum of $225,000.
 9
           219. SI is WIA’s servicing agent. Until very recently (February 1, 2018),
10
     Guggenheim Funds Distributors, LLC (“GFDI”), an affiliate of SI and Guggenheim,
11
     was WIA’s servicing agent.
12
           220. Under a Servicing Agreement (the “WIA Servicing Agreement”)
13
     between WIA and Claymore Securities, Inc. executed in or about 2003, the servicing
14
     agent’s main duty is to provide various administrative services.7 The enumerated
15
     administrative duties broadly overlap with those listed in the WIA Administrative
16
     Services Agreement. Compare WIA Servicing Agreement at §2 with WIA
17
     Administrative Services Agreement at §3(b) and SCHEDULE A.
18
           221. It is believed that the current version of the WIA Servicing Agreement is
19
     substantially identical to the version executed in or about 2003, with the servicing
20 agent changing to GFDI in or about 2009, and SI replacing GFDI on or about
21 February 1, 2018.
22         222. At all times the WIA Servicing Agreement has provided for
23 compensation to the servicing agent equal to 0.15% of WIA’s total assets each year.
24
25
26         7
         Available at https://www.sec.gov/Archives/edgar/data/1254370/
27 000104746903031627/a2118987zex-99_k2.txt
28
                                                52
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 1         223. Under WIA’s new fee arrangements scheduled to take effect on or about
 2 April 27, 2018, LMPFA will perform all administrative duties (including those
 3 previously performed by LMPFA, GFDI or SI) in exchange for an increase in
 4 LMPFA’s annual fees of 0.01%, up to a total of 0.05% of total assets per year.
 5         224. The following table summarizes WIA’s annual fees payable to

 6 Defendants and their affiliates:
        Table 10. Summary of WIA Fees Payable to Defendants and Affiliates
 7
        Service                                       Provider          Annual Fees
 8      Current Arrangements
        Investment advisory                           WAMCO             0.40% of total assets
 9
        Administrative                                LMPFA             0.04% of total assets
10      “Servicing” (administrative)                  SI / GFDI         0.15% of total assets
        TOTAL                                                           0.59% of total assets
11
12      Effective April 27, 2018
        Investment advisory                               WAMCO           0.35% of total assets
13      Administrative                                    LMPFA           0.05% of total assets
14      TOTAL                                                             0.40% of total assets

15         C.      Investment Advisory Services for WIA and WIW are Similar
16         225. WIW and WIA are extremely similar funds, although they are organized

17 as separate legal entities and have slightly different investment policies.
18       226. Both WIW and WIA are closed end funds. Both were created in or about
     2003 jointly by the Western Asset and Claymore fund complexes, with Guggenheim
19
     later replacing Claymore in the Funds’ management. WIW and WIA are for all
20
     practical purposes managed together as one by Guggenheim and Western Asset.
21
           227. WIW and WIA share the same Board members, officers, and portfolio
22
     managers.
23
           228. WIW and WIA share the same investment adviser or sub-advisers in
24
     WAMCO, WA London, WA Singapore, and WA Japan. Although SI is the primary
25
     investment adviser to WIW and not WIA, as discussed infra it appears that SI has in
26
     fact delegated all investment advisory duties to WAMCO. As such, WIW and WIA
27
28
                                                     53
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 1 for all practical purposes have identical investment advisers. WIW and WIA also
 2 share several other service providers in addition to having investment advice provided
 3 by the Western Asset Defendants.
 4       229. WIW and WIA have the same investment objective. Both have
 5 investment policies requiring at least 80% of total assets to be invested in inflation-
 6 linked securities. Both measure their results against two of the same benchmark
 7 indexes.
 8       230. In practice, both invest roughly 80% of their assets in U.S. TIPs, with the
     remainder of their portfolios consisting of emerging markets debt, high yield corporate
 9
     debt, mortgage backed securities, non-U.S. TIPs, investment grade corporate debt, and
10
     asset backed securities. Both portfolios have similar effective duration. Both are
11
     invested roughly 80% in debt of AAA quality, with the next largest classification
12
     consisting of roughly 6% of each portfolio invested in BBB quality debt. Both have
13
     similar levels of turnover.
14
           231. WIW’s top two securities owned by portfolio weight are the same as
15
     WIA’s top two securities owned by portfolio weight. Nine of WIW’s top ten securities
16
     owned by portfolio weight are also among WIA’s top ten securities owned by
17
     portfolio weight.
18
           232. The following chart displays the total return for $10,000 invested in each
19
     of WIW and WIA from January 1, 2005 to December 31, 2017.
20
21
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 1     Image 5. Comparison of WIW and WIA Total Return 2005-2017

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           233. The high degree of correlation visible in the above chart is confirmed by
13
     a numerical correlation analysis. Over the period January 1, 2005 to December 31,
14 2017 the annual returns of WIW and WIA have a correlation coefficient of 0.98.8
15       234. Furthermore, as shown in Exhibit 11, the contractual language in the
16 WIA Advisory Agreement that sets forth the investment advisory services to be
17 performed is nearly identical to the language in the WIW Advisory Agreement that
18 sets forth the investment advisory services to be performed.
19         235. Because of the extremely high degree of similarity among the investment
20 agreements, policies, and portfolios of WIW and WIA, it follows that their investment
21 advisers provide comparable services. This conclusion is reinforced by the fact that
22 they share the same investment advisers in the Western Asset Defendants, and even
23 share the same individual portfolio managers.
24
           8
25         Correlation coefficients range from -1.00 to +1.00. A coefficient near +1.00
26 means the two data series have a strong positive correlation, a coefficient of 0.00
   means there is no correlation, and a coefficient near -1.00 means two data series
27 have a strong negative correlation.
28
                                                55
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 1                           X. COMPARABLE FUND: WAFSX
 2         236. The Western Asset Inflation Indexed Plus Bond Fund (“WAFSX”)9 is an
 3 open-end registered investment company. It is organized as a series of Western Asset
 4 Funds, Inc., a Maryland corporation. WAFSX commenced operations on or about
 5 March 1, 2001.
 6      237. WAFSX’s investment objectives are described as follows, “The Fund’s

 7 investment objective is to maximize total return, consistent with preservation of
 8 capital.”
           238. WAFSX describes its non-fundamental investment policies as follows,
 9
     “Under normal market conditions, the Fund invests at least 80% of its net assets in
10
     inflation-indexed fixed-income securities and at least 70% of its net assets in U.S.
11
     Treasury Inflation Protected Securities.”
12
           239. WAFSX’s self-selected benchmark index is the Bloomberg Barclays U.S.
13
     TIPS Index.
14
           240. At February 28, 2018 WAFSX’s portfolio was composed as follows:
15
      Image 6. WAFSX Portfolio Concentration
16
17
18
19
20
21
22
23
           9
            The Western Asset Inflation Indexed Plus Bond Fund has seven different
24
   share classes, each class having its own ticker symbol. WAFSX is the ticker symbol
25 for that fund’s “Class IS” shares. The share classes feature different sales charges,
26 annual distribution or service fees, and exchange privileges, but otherwise are iden-
   tical. All classes share in the same underlying portfolio of assets overseen by the
27 same portfolio managers. All share classes pay the same investment advisory fees.
28
                                                 56
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 1         241. As of February 28, 2018 WAFSX’s portfolio consisted of securities of
 2 credit quality reflected below:
 3         Image 7. WAFSX Credit Quality

 4
 5
 6
 7
 8
 9
10
           242. As of February 28, 2018 the effective duration of WAFSX’s portfolio
11
     was 7.68 years.
12
           243. WAFSX’s portfolio turnover rate for the year ended December 31, 2017
13
     was 43%, and has averaged 52% for the past five years.
14
           244. As of December 31, 2017 the top ten holdings in WAFSX’s portfolio by
15
     value were:
16
                       Table 11. WAFSX Top 10 Holdings
17                      Security                          Portfolio weight
                        US TIPS, 0.125%, 04/15/2020                  11.08%
18                      US TIPS, 0.125%, 04/15/2019                    9.55%
19                      US TIPS, 1.375%, 02/15/2044                    9.20%
                        US TIPS, 1.75%, 01/15/2028                     8.18%
20                      US TIPS, 0.125%, 07/15/2022                    7.96%
21                      US TIPS, 0.125%, 01/15/2023                    7.76%
                        US TIPS, 3.875%, 04/15/2029                    6.64%
22                      US TIPS, 0.625%, 01/15/2026                    5.98%
23                      US TIPS, 2.5%, 01/15/2029                      5.20%
                        US TIPS, 0.125%, 04/15/2022                    4.49%
24                      TOTAL                                        76.04%
25         245. As of December 31, 2017 WAFSX had $443.3 million of total assets,
26 $0.6 million of total liabilities, and $442.7 million of net assets.
27
28
                                                 57
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 1        246. The following table shows the total investment return for WAFSX over
 2 the last five years, as reflected in WAFSX’s SEC filings:
 3     Table 12. WAFSX Total Return 2013-2017
                                                2017 2016 2015 2014 2013    Avg.
 4      Total return (%)                         3.44 2.13 -2.72 2.53 -8.52 -0.63
 5        247. WAFSX’s officers include Jane Trust (President and CEO), Richard F.
 6 Sennett (Principal Financial Officer and Treasurer), and Todd F. Kuehl (Chief
 7 Compliance Officer).
 8        A.     Investment Advisory Services
 9        248. WAFSX’s primary investment adviser is LMPFA. WAFSX’s investment
10 sub-advisers are WAMCO, WA Japan, WA London, and WA Singapore.
11        249. WAFSX’s portfolio managers are S. Kenneth Leech and Frederick
12 Marki. WAFSX’s SEC filings state that, “At Western Asset . . . we utilize a fixed-
13 income team approach, with decisions derived from interaction among various
14 investment management sector specialists. The sector teams are comprised of Western
15 Asset’s senior portfolio management personnel, research analysts and an in-house
16 economist.” The analysts and economist are not identified in WAFSX’s public filings.
17        250. For the year ended December 31, 2017 WAFSX accrued $853,754 in

18 investment management fees payable to LMPFA.
          251. From WAFSX’s inception in or about 2001 through the present, the
19
   substantive terms of WAFSX’s investment advisory arrangements have remained
20
   largely unchanged. The only significant changes being the addition of WA Japan, WA
21
   London, and WA Singapore as sub-advisers, and the replacement of LMFA by
22
   LMPFA as primary adviser in 2009.
23
          252. WAFSX’s original Investment Management Agreement was executed by
24
   Western Asset Funds, Inc. and LMFA on or about December 31, 2001 (in the form
25
   attached as Exhibit 12, the “WAFSX Advisory Agreement”). Under this agreement,
26
   LMFA’s primary responsibility was to, “regularly provide [WAFSX] with investment
27
28
                                                58
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 1 research, advice, management and supervision and . . . furnish a continuous
 2 investment program for [WAFSX] consistent with [WAFSX]’s investment objectives,
 3 policies and restrictions.” See WAFSX Advisory Agreement, Ex. 12 at §3(a).
 4        253. The WAFSX Advisory Agreement and the WIA Advisory Agreement
 5 use nearly identical language in their respective sections 3(a) to describe the
 6 investment advisory services to be performed, as shown in the redline comparison
 7 attached as Exhibit 13.
 8       254. The WAFSX Advisory Agreement also provides, “Other than as herein
     specifically indicated, the Manager shall not be responsible for the expenses of the
 9
     Corporation or any series of the Corporation, including the Fund,” and sets forth a
10
     long list of expenses that the adviser is not responsible for. See WAFSX Advisory
11
     Agreement, Ex. 12 at §5(b).
12
           255. The WAFSX Advisory Agreement provided that in exchange for its
13
     services, WAFSX “shall pay the Manager, as promptly as possible after the last day of
14
     each month, a fee, computed daily at an annual rate of 0.20% of the average daily net
15
     assets of the Fund.” See WAFSX Advisory Agreement, Ex. 12 at §7. The WAFSX
16
     Advisory Agreement did not indicate what portion, if any, of the 0.20% fee was
17
     attributable to services other than investment advisory services.
18
           256. Also on or about December 31, 2001, a sub-advisory agreement, titled
19
     Advisory Agreement, was executed by LMFA and WAMCO (in the form attached as
20 Exhibit 14, the “WAFSX Sub-Advisory Agreement”). Under this agreement
21 WAMCO’s primary responsibility was to, “regularly provide the Fund with
22 investment research, advice, management and supervision and . . . furnish a
23 continuous investment program for the Fund consistent with the Fund's investment
24 objectives, policies, and restrictions as stated in the Fund’s current Prospectus and
25 Statement of Additional Information” See WAFSX Sub-Advisory Agreement, Ex. 14
26 at §3(a).
27
28
                                                59
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 1         257. The WAFSX Sub-Advisory Agreement and the WAFSX Advisory
 2 Agreement use nearly identical language in their respective sections 3(a) to describe
 3 the investment advisory services to be performed.
 4        258. No substantive revisions to the 2001 versions of the WAFSX Advisory
 5 Agreement or the WAFSX Sub-Advisory Agreement appear to have been made as of
 6 the date of this Complaint.
 7         B.     Administrative and Other Services

 8         259. LMPFA serves as WAFSX’s administrator in addition to providing
     investment advisory services.
 9
           260. Legg Mason Investor Services, LLC serves as WAFSX’s distributor.
10
           261. BNY Mellon Investment Servicing (US) Inc. serves as WAFSX’s
11
     transfer agent.
12
           262. State Street Bank and Trust Company serves as WAFSX’s custodian.
13
           263. WAFSX’s independent registered public accounting firm is
14
     PricewaterhouseCoopers LLP.
15
           264. The total expense ratio, including investment advisory, administrative,
16
     and all other services, for WAFSX’s Class IS shares is 0.26% of net assets. Class IS is
17
     the “institutional” share class of WAFSX, and is available for purchase by certain
18
     retirement plans, institutional investors, and other investors authorized by Legg
19
     Mason. Class IS accounts for a substantial majority of WAFSX’s total assets, with the
20 other six share classes accounting for lesser amounts.
21        C.    Investment Advisory Services for WAFSX and the Funds are Similar
22         265. The investment advisory services provided by Western Asset to WAFSX
23 are very similar to the investment advisory services provided by Defendants to WIW
24 and WIA. In fact, WIW’s proxy statement filed April 6, 2018, under the heading
25 “Information Regarding Similar Funds,” admits that WAFSX “may have a similar
26 investment objective and principal investment strategy” as WIW.
27
28
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 1        266. Both WAFSX and the Funds are part of the Western Asset fund complex.
 2 WAFSX and the Funds share certain senior officers including Jane Trust, Richard F.
 3 Sennett, and Todd F. Kuehl.
 4      267. Both WAFSX and the Funds share the same investment adviser or sub-
 5 advisers in WAMCO, WA London, WA Singapore, and WA Japan. S. Kenneth Leech
 6 and Frederick Marki serve as portfolio managers for both WAFSX and the Funds.
 7        268. WAFSX and the Funds also share several other service providers in

 8 addition to having investment advice provided by the Western Asset Defendants,
   including LMPFA serving as administrator.
 9
          269. WAFSX and the Funds have similar investment objectives. WAFSX and
10
   the Funds have investment policies requiring 70-80% of total assets to be invested in
11
   inflation-linked securities. WAFSX and the Funds measure their results against
12
   similar benchmark indexes.
13
          270. In practice, WAFSX and the Funds invest roughly 75-95% of their assets
14
   in U.S. TIPs, with most of the remainder of their portfolios consisting of emerging
15
   markets debt, high yield corporate debt, mortgage backed securities, and investment
16
   grade corporate debt.
17
          271. The portfolios of WAFSX and the Funds have similar effective duration
18
   of roughly 7 years. WAFSX and the Funds are invested roughly 80-90% in debt of
19
   AAA quality, with the next largest classification consisting of BBB quality debt.
20 WAFSX and the Funds have similar levels of turnover.
21        272. Six of WAFSX’s top ten securities owned by portfolio weight are also
22 among WIW’s top ten securities owned by portfolio weight. Seven of WAFSX’s top
23 ten securities owned by portfolio weight are also among WIA’s top ten securities
24 owned by portfolio weight.
25        273. The following chart displays the total return for $10,000 invested in each
26 of WAFSX, WIW and WIA from January 1, 2005 to December 31, 2017.
27
28
                                             61
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 1   Image 8. Comparison of the Funds and WAFSX Total Return 2005-2017

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12         274. The high degree of correlation visible in the above chart is confirmed by
13 a numerical correlation analysis. Over the period January 1, 2005 to December 31,
14 2017 the annual returns of WAFSX and WIA have a correlation coefficient of 0.76,
15 and the annual returns of WAFSX and WIW have a correlation coefficient of 0.82.
16         275. Furthermore, as shown in Exhibit 13, the contractual language in the
17 WAFSX Advisory Agreement that sets forth the investment advisory services to be
18 performed is nearly identical to the language in the WIA Advisory Agreement that
19 sets forth the investment advisory services to be performed.
20         276. Because of the extremely high degree of similarity between the
21 investment agreements, policies and portfolios of WAFSX and the Funds, it follows
22 that their investment advisers provide comparable services. This conclusion is
23 reinforced by the fact that they share the same investment advisers in the Western
24 Asset Defendants, and even share individual portfolio managers. This conclusion is
25 further reinforced by WIW’s admission that WAFSX “may have a similar investment
26 objective and principal investment strategy” as WIW.
27
28
                                                 62
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 1     XI. COMPARABLE SERVICE: WESTERN ASSET PRIVATE CLIENTS
 2         A.     US TIPS Full Discretion Service
 3         277. Western Asset offers private clients investment advisory services that it
 4 calls “US TIPS Full Discretion.” Western Asset began offering this service on or
 5 about August 1, 2003.
 6         278. The stated investment objective of this service is, “Exceed the benchmark

 7 return by an average of 100 basis points annually over the course of a market cycle
   while approximating benchmark risk.” The benchmark is the Bloomberg Barclays
 8
   U.S. TIPS Index (Series-L). The index consists of inflation-protection securities
 9
   issued by the U.S. Treasury. To be included in the index, securities must have at least
10
   one year to final maturity.
11
          279. Western Asset describes the investment style of this service as follows:
12
          Construct a well-diversified, higher-yielding inflation-protected portfolio
13        with a bias towards Treasury Inflation-Protected Securities (TIPS).
14        Exposure to the diversifying sectors (which include credit, global
          inflation-linked securities and mortgage-backed securities) may be
15        derived through derivative and forward transactions. This strategy allows
16        for opportunistic investments in high-yield, emerging markets, non-dollar
          securities, commodities and bank loans.
17
          280. As of December 31, 2017 the US TIPS Full Discretion portfolio was
18
   comprised of the following asset classes:
19
     Image 9. Western Asset US TIPS Full Discretion Portfolio Concentration
20
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 1        281. As of December 31, 2017 the US TIPS Full Discretion portfolio had an
 2 average credit quality of AAA, and an effective duration of 7.70 years.
 3        282. According to Western Asset’s website, Western Asset provides its US
 4 TIPS Full Discretion services for $2.6 billion worth of invested assets as of December
            10
 5 31, 2017. According to a “Performance Disclosure” dated December 31, 2017 also
 6 available on Western Asset’s website, in 2017 Western Asset’s “US TIPS Full
 7 Discretion Composite” included 6 accounts and a total market value of $1.0 billion in
 8 managed assets. As such, it appears that the $2.6 billion figure listed on the website
   may be the sum of the assets in the separate accounts and the $1.6 billion of assets
 9
   managed by WIW and WIA.
10
         283. The following table shows the total investment return for the US TIPS
11
   Full Discretion service, as reflected in the above described Performance Disclosure.
12
       Table 13. Western Asset US TIPS Full Discretion Total Return 2013-2017
13                                                2017    2016     2015     2014   2013 Avg.
14     US TIPS Full Discretion total return (%)      3.83    2.54    -2.46    3.03 -8.39 -0.29

15        284. According to the performance disclosure, the above data relates to

16 WAMCO, WA London, WA Singapore, WA Tokyo, and certain other affiliates.
17    285. Because US TIPS Full Discretion is a service offered to private clients,

18 only limited information about it is publicly available. For example, it is not publicly
   disclosed what particular securities make up its holdings, what its portfolio turnover
19
   rate is, or who its portfolio managers are.
20
           286. Western Asset offers the US TIPS Full Discretion Service for annual fees
21
   equal to 0.30% of the first $100 million invested by a client, and 0.15% of all amounts
22
   over $100 million.
23
24
25
26
          10
27             Available at http://www.westernasset.com/us/en/products/999abf.cfm
28
                                                 64
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 1          B.    Investment Advisory Services for Western Asset Private Clients and
                  the Funds are Similar
 2
            287. The services provided by Western Asset to its private clients in the US
 3 TIPS Full Discretion service are very similar to the investment advisory services
 4 provided by Defendants to WIW and WIA. In fact, the annual reports for both WIW
 5 and WIA admit that for both Funds, “the management fee paid . . . was higher than the
 6 average of the fees paid by clients of Western Asset for accounts with similar
 7 investment strategies” in an apparent reference to the US TIPS Full Discretion service.
 8       288. Investment advisory services for the Funds and for the US TIPS Full
 9 Discretion service are provided by WAMCO, WA London, WA Singapore, and WA
10 Japan.
11          289. The US TIPS Full Discretion service and the Funds have similar
12 investment styles and policies. The US TIPS Full Discretion service and the Funds
13 measure their results against similar benchmark indexes.
14          290. In practice, the US TIPS Full Discretion service and the Funds invest
15 roughly 75-95% of their assets in U.S. TIPs, with most of the remainder of their
16 portfolios consisting of emerging markets debt, high yield corporate debt, and
17 investment grade corporate debt.
18       291. The portfolios of the US TIPS Full Discretion service and the Funds have

19 similar effective duration of roughly 7 years. The US TIPS Full Discretion service and
   the Funds are invested primarily in debt of AAA quality.
20
         292. The following table displays the total return for each of the US TIPS Full
21
   Discretion Portfolio, WIW and WIA for the last five years.
22
      Table 14. Comparison of Total Returns 2013-2017
23                                              2017    2016   2015    2014   2013     Avg.
24    WIW total return, based on NAV (%)           6.99   4.69   -3.42   1.09    -8.74  0.12
      WIA total return, based on NAV (%)           6.77   4.28   -3.00   3.68    -8.29  0.69
25    US TIPS Full Discretion total return (%)     3.83   2.54   -2.46   3.03    -8.39 -0.29
26
27
28
                                               65
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 1        293. These total returns are highly correlated. For the 2013-2017 period, the
 2 annual returns for the US TIPS Full Discretion service and WIA have a correlation
 3 coefficient of 0.99, and the annual returns of the US TIPS Full Discretion service and
 4 WIW have a correlation coefficient of 0.95.
 5        294. Because of the extremely high degree of similarity between the

 6 investment policies and portfolios of the US TIPS Full Discretion service and the
 7 Funds, it follows that their investment advisers provide comparable services. This
 8 conclusion is reinforced by the fact that they share the same investment advisers in the
   Western Asset Defendants. This conclusion is further reinforced by the Funds’
 9
   admissions that “the management fee paid . . . was higher than the average of the fees
10
   paid by clients of Western Asset for accounts with similar investment strategies” in an
11
   apparent reference to the US TIPS Full Discretion service.
12
                    XII. WIW’S EXCESS FEE CLAIM AGAINST SI
13
         A.      Nature and Quality of Services Performed by SI
14
         295. SI is the primary investment adviser for WIW, and SI obtains related sub-
15
   advisory services from the Western Asset Defendants. However, it appears likely that
16
   SI has in fact delegated all responsibility for investment advice to Western Asset,
17
   despite SI retaining a substantial portion of investment advisory fees, equal to more
18
   than $3 million per year.
19
         296. Each of WIW’s four individual portfolio managers are employees of
20 Western Asset, and have no affiliation with SI apart from their work with the Funds.
21 Apart from WIW’s payment of advisory fees to SI, there is no indication in any of
22 WIW’s public disclosures that SI or Guggenheim play any role whatsoever in the
23 provision of investment advisory services to WIW.
24       297. Furthermore, the WIW Advisory Agreement with SI as primary adviser
25 (at least in the agreement’s 2003 iteration reproduced in Exhibit 3, which is believed
26 to be substantially similar to the current version) and the WIW Sub-Advisory
27
28
                                              66
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 1 Agreement with WAMCO as sub-adviser (at least in the agreement’s 2003 iteration
 2 reproduced in Exhibit 4, which is believed to be substantially similar to the current
 3 version), use nearly identical language to describe the investment advisory services to
 4 be performed, as shown in the redline comparison attached as Exhibit 5.
 5         298. The almost identical language contained in these two agreements

 6 regarding the advisory services to be performed, combined with the fact that WIW’s
 7 portfolio managers are Western Asset personnel and do not work for SI, creates a
 8 strong inference that SI in fact performs no or very minimal investment advisory
   services for WIW despite retaining a substantial portion of investment advisory fees.
 9
          299. Although the WIW Advisory Agreement calls for SI to perform certain
10
   routine administrative services in addition to providing investment advice, such
11
   additional services are hardly sufficient to justify SI’s retention of annual fees equal to
12
   0.33% of WIW’s total assets, or over $3 million per year.
13
          300. As shown in Exhibit 15, a comparison of the WIW Advisory
14
   Agreement’s list of administrative services to be performed by SI (See WIW Advisory
15
   Agreement, Ex. 3 at §3(b) and EXHIBIT A) to the list of administrative services to be
16
   performed by LMPFA under the WIW Administrative Services Agreement (see WIW
17
   Administrative Services Agreement, Ex. 9, at §3(a), SCHEDULE A), reveals that
18
   most of the services purportedly to be performed by SI are duplicative of those already
19
   performed by LMPFA.
20        301. Those few administrative services to be performed by SI that are not
21 already performed by LMPFA are either performed by other service providers (e.g.,
22 “Oversee the maintenance by the Trust’s custodian and transfer agent and dividend
23 disbursing agent of certain books and records”), or are purely ministerial in nature and
24 of little value (e.g., “Establish and maintain a toll-free number for sales support and
25 marketing requests on an ongoing basis”).
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 1         302. Therefore, it appears that most or all of SI’s duties under the WIW
 2 Advisory Agreement are in fact performed by WAMCO as sub-adviser to WIW, by
 3 LMPFA as administrator to WIW, or by other service providers.
 4     303. Furthermore, that SI performs effectively no services for WIW while
 5 retaining hefty fees is practically admitted in WIW’s proxy statement filed April 6,
 6 2018.
 7         304. According to that preliminary proxy statement, LMPFA, which already

 8 provides administrative services to WIW for annual fees of 0.04% of total assets, will
   continue to perform such services and from on or about April 27, 2018 will assume
 9
   SI’s administrative duties in exchange for an increase in its annual fees of only 0.01%,
10
   up to a total of 0.05% of total assets. If SI in fact performed substantial administrative
11
   services these would not be assumed by LMPFA for such a negligible increase in fees.
12
           305. The proxy statement also indicates that when WIW’s new advisory
13
   agreements take effect, SI and the Guggenheim complex will no longer play any role
14
   in WIW’s operations, but will be replaced by WAMCO and its Western Asset
15
   affiliates. WAMCO will assume all advisory duties for annual fees of 0.35% of total
16
   assets, down from WIW’s current advisory expense of 0.60% of total assets.
17
           306. Although SI will be entirely removed from WIW’s management,
18
   according to the proxy statement, “the manner in which the Fund’s assets are
19
   managed, Western Asset’s portfolio management team for the Fund, and the Fund’s
20 investment strategies will not change as a result of restructuring the management
21 arrangements for the Fund,” and “there will not be any diminution in the nature,
22 quality and extent of services provided to the Fund.” Similarly, “[t]he Proposed
23 Advisory Agreement is substantially similar to the Current Advisory Agreement,
24 except that the Fund will pay a lower investment advisory fee rate.” In other words,
25 “portfolio management services to the Fund would remain unchanged.”
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 1        307. Also in the proxy statement is what seems to be a direct admission that SI
 2 delegated all responsibility for providing investment advice, “With respect to the
 3 performance of the Fund, the Board considered that, where Security Investors has
 4 delegated responsibility for the management of the Fund’s portfolio to Western Asset
 5 and the Western Asset Affiliates, Western Asset and the Western Asset Affiliates
 6 would continue to manage the portfolios.”
 7        308. Because the investment advisory services provided to WIW will not

 8 change with the elimination of SI, it follows that SI did not provide any advisory
   services.
 9
         309. Although SI was also supposed to perform certain administrative services
10
   for WIW, it appears that other service providers were already performing those
11
   services. In any event all of SI’s administrative services are being assumed by
12
   LMPFA for an increase in its fees of only 0.01% of total assets per year, showing that
13
   any administrative services performed by SI are of little value.
14
         310. Therefore, it strongly appears that SI obtained millions of dollars in
15
   payments from WIW each year for performing little or no work.
16
         B.      Comparative Fee Structures
17
         311. WIW pays SI annual fees equal to 0.60% of WIW’s total assets. SI pays
18
   WAMCO annual fees of 0.27% of WIW’s total assets, while retaining fees equal to
19
   0.33% of WIW’s total assets.
20       312. For the year ended November 30, 2017 WIW accrued $6,489,372 in
21 management fees payable to SI. Of this amount, $2,920,217 was payable to WAMCO
22 as sub-adviser, leaving $3,569,155 for SI to retain.
23        313. In comparison, when a service provider performs little to no work, it
24 should receive little to no compensation. The amount of $3,569,155 for providing a
25 handful of minor administrative services is unreasonable, and could not be the product
26 of arm’s-length bargaining.
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 1         C.     WIW’s Profitability to SI
 2         314. Because SI performs little or no work for WIW, SI likely incurs little or
 3 no related expense. Therefore, the more than $3 million SI receives in payment each
 4 year is likely to be almost all profit to SI.
 5         315. Upon information and belief, discovery will show that SI’s profit levels
 6 from its relationship with WIW are so excessive as to be incompatible with SI’s
 7 fiduciary duties to WIW.
 8         D.     Economies of Scale Realized by SI
           316. Due to the large scale of the Guggenheim fund complex, which includes
 9
     dozens of funds and hundreds of billions of dollars under management, SI’s already
10
     low costs from providing little or no work to WIW are further decreased.
11
           317. For example, one of the few non-duplicative tasks assigned to SI under
12
     the WIW Advisory Agreement is to maintain a public website with information about
13
     WIW. Because the Guggenheim complex already maintains a website with
14
     information about all its other funds, it requires little additional effort or expense for
15
     SI to provide a page on this website for WIW.
16
           318. The benefits of such economies of scale are entirely captured by SI. The
17
     high fees SI charges to WIW appear completely untethered to SI’s costs of providing
18
     minimal services.
19
           E.     Fall-Out Financial Benefits to Guggenheim
20         319. SI and its affiliates in the Guggenheim complex derive substantial
21 benefits from their relationship with WIW, in addition to SI’s excessive investment
22 advisory fees (such additional benefits are often referred to as “fall-out” benefits in
23 excessive fee cases and literature). Because the Funds are jointly managed by the
24 Defendants as a single enterprise, fall-out benefits received from either Fund should
25 be considered in connection with WIW’s excess fee analysis.
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 1        320. First among the fall-out benefits obtained by SI and Guggenheim are fees
 2 for providing additional services to the Funds. To the extent that any portion of the
 3 advisory fees paid by WIW to SI is determined to be attributable to services other than
 4 investment advice (e.g., certain administrative services purportedly performed by SI
 5 under the terms of the WIW Advisory Agreement), then all such fees represent fall-
 6 out benefits.
 7        321. In addition, SI and GFDI have received substantial fees equal to 0.15% of

 8 WIA’s total assets per year for supposedly performing administrative work for WIA
   as its “servicing agent.” GFDI served as servicing agent through February 1, 2018,
 9
   when it was replaced in this role by SI.
10
           322. In its year ended November 30, 2017 WIA paid GFDI a servicing agent
11
   fee of $793,318. This fee is excessive for the routine administrative services
12
   performed by GFDI. Furthermore, many of the services purportedly performed by
13
   GFDI and/or SI under the WIA Servicing Agreement are needlessly duplicative of
14
   services already performed by LMPFA under the WIA Administrative Services
15
   Agreement. Compare WIA Servicing Agreement at §2 with WIA Administrative
16
   Services Agreement at §3(b) and SCHEDULE A.
17
           323. WIA’s servicing fee of 0.15% of total assets (equivalent to 0.21% of net
18
   assets) substantially exceeds the cost of similar services for other funds. For example,
19
   GFDI also acts as distributor for the Guggenheim Ultra Short Duration ETF (“GSY”),
20 which pays only a total of 0.06% of net assets for all “other” expenses apart from
21 investment advice.
22       324. Even worse, GFDI appears to have retained fees from WIA in excess of
23 those to which it was entitled, and refused to fully refund these fees when confronted
24 by WIA (after Plaintiff’s threat of legal action finally spurred WIA’s Trustees to
25 review WIA’s fee arrangements). As stated in WIA’s most recent annual report:
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 1         Management recently informed the Servicing Agent that the Servicing
           Agent may have received payments in excess of a previously agreed up-
 2         on cap on its compensation. The Servicing Agent informed the Fund that
 3         the Servicing Agent believes that it has not received any payments in ex-
           cess of a cap. To settle this matter, the Servicing Agent and the Fund
 4         have agreed that the Servicing Agent will contribute to the Fund
 5         $350,000 of the potential overage and retain the remaining amount of ap-
           proximately $700,000 as consideration for services rendered which the
 6         Board of Trustees believes the Servicing Agent earned based on services
 7         rendered to the Fund.
           325. Second, SI and its Guggenheim affiliates gain advertising and cross-
 8
     promotional benefits from their association with WIW. For the Guggenheim fund
 9
     complex, the breadth of its fund offerings is a main point emphasized in its
10
     advertising. By offering a wide variety of funds promoted as part of a unified, branded
11
     fund complex, Guggenheim hopes to encourage investor loyalty and to sell additional
12
     products to investors. For example, if a WIW shareholder visits Guggenheim’s
13
     website to obtain information about WIW, she will be presented with information
14
     about other Guggenheim investment products.
15
           F.     Independence and Care of WIW’s Board of Trustees
16
           326. WIW’s Board of Trustees until recently consisted of Michael Larson,
17
     Ronald A. Nyberg, Ronald E. Toupin, Jr., and Jane Trust. Following WIW’s receipt of
18 Plaintiff’s demand letter, Ms. Trust resigned from the Board on December 19, 2017.
19 None of the Trustees has acted with sufficient independence or care to protect WIW’s
20 shareholders’ interests.
21             1.      The Trustees’ Inattention to WIW’s Affairs
22         327. The Trustees of WIW have demonstrated a high degree of inattention to
23 WIW’s affairs at all times until Plaintiff’s recent threat of legal action spurred them to
24 take some (albeit insufficient) steps to correct longstanding problems with WIW.
25         328. First, such inattention is evidenced by the Trustees’ failure over many
26 years from 2003 to 2017 to even attempt to reduce WIW’s excessive fee payments to
27 Defendants.
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 1         329. Board minutes reveal that in 2016 WIW’s Trustees approved the hiring
 2 of independent consultant Barrington Partners to review the fees charged by WIW’s
 3 custodian bank, however it appears that no such consultant was ever hired to
 4 scrutinize the advisory fees charged by Defendants.
 5         330. Although WIW’s annual reports dutifully describe the process by which

 6 the Trustees approve WIW’s advisory agreements each year, this process appears to
 7 be a mere formality leading to the annual rubber-stamping of Defendants’ excessive
 8 fees.
           331. In fact, WIW even delegated to SI and LMPFA the responsibility to
 9
     calculate and oversee the fees charged to WIW by SI, LMPFA and their affiliates. See
10
     WIW Advisory Agreement, Ex. 3 at §3(b) and EXHIBIT A (Listing SI’s duties as
11
     including “Review the appropriateness of and arrange for payment of the Trust’s
12
     expenses,” and “Oversee and review calculations of fees paid to the Trust’s service
13
     providers”); WIW Administrative Services Agreement, Ex. 9 at §3(b) and
14
     SCHEDULE A §§(c)-(e) (listing similar duties, such as “Oversee and review
15
     calculations of fees paid to the administrator, the investment adviser, the custodian,
16
     the shareholder servicing agent, the transfer agent and any other entity providing
17
     authorized services to the Fund”).
18
           332. These practices represent negligent oversight of WIW’s investment
19
     advisers and their fees by WIW’s Trustees.
20         333. Second, each of the Trustees is likely incapable of devoting sufficient
21 time to WIW’s business in order to adequately protect WIW’s interests, in light of the
22 substantial competing demands on the Trustees’ time.
23         334. As discussed below, Mr. Larson is the Business Manager of Cascade
24 Investments, L.L.C. (“Cascade”). Cascade is a vehicle for the investment of Bill
25 Gates’s fortune and is by far WIW’s largest shareholder. Mr. Larson is also the Chief
26 Investment Officer for Bill Gates, with ultimate responsibility for tens of billions of
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 1 dollars of investments, including the endowment of the Bill & Melinda Gates
 2 Foundation Trust. Mr. Larson also serves as a board member for at least four other
 3 publicly traded companies (Republic Services, Inc., Autonation, Inc.,
 4 Fomento Economico Mexicano, SAB, and Grupo Televisa, S.A.B.).
 5         335. Ronald A. Nyberg is a partner in the law firm of Momkus McCluskey

 6 Roberts, and oversees 97 Western Asset or Guggenheim affiliated investment funds.
 7 He also serves as a director for PPM Funds and for the Edward-Elmhurst Healthcare
 8 System.
           336. Ronald E. Toupin Jr. works as a portfolio consultant and oversees 94
 9
   Western Asset or Guggenheim affiliated investment funds. He also serves as a director
10
   for the Bennett Group of Funds.
11
           337. Jane Trust is Senior Managing Director of Legg Mason & Co., LLC, an
12
   affiliate of Western Management, and the President and CEO of Legg Mason Partners
13
   Fund Advisor LLC, in addition to overseeing 150 Legg Mason or Western Asset
14
   affiliated investment funds.
15
           338. Third, the Trustees’ inattention to WIW’s affairs is also demonstrated by
16
   the overdue remedial actions only taken after Plaintiff sent his demand letter of
17
   November 27, 2017.
18
           339. As discussed above, the Trustees took no actions to correct various
19
   lingering problems with WIW over the course of many years, until forced to do so by
20 Plaintiff’s threat of legal action. In contrast, the Trustees did not hesitate to take other
21 actions to protect themselves (e.g., secretly and unilaterally amending WIW’s bylaws
22 to add a forum selection provision in 2015) or to enrich the Defendants and their
23 affiliates (e.g., nearly doubling administrative fees in 2012).
24         340. The Trustees’ overdue corrective actions included, inter alia: (i) the
25 resignation of conflicted Trustee Jane Trust, (ii) WIW’s public SEC filing of amended
26 bylaws more than two years after they should have been disclosed to shareholders, and
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 1 (iii) WIW’s renegotiation of fees to somewhat less excessive levels to take effect on or
 2 about April 27, 2018.
 3         341. Fourth, the Trustees’ inattention to WIW is further demonstrated by their
 4 allowing its shares to trade at a large, persistent discount to NAV over many years, to
 5 the detriment of WIW’s shareholders, while taking no corrective action.
 6         342. Over the last several years WIW’s shares have generally traded at a

 7 discount to NAV of over 10%, among the largest discounts of all closed-end bond
 8 funds. Under WIW’s Agreement and Declaration of Trust, WIW’s assets are to be
     held in trust by the Trustees for the benefit of WIW’s shareholders. However, the
 9
     Trustees continue to allow a large discount that harms shareholders by preventing
10
     them from realizing the full value of WIW’s assets.
11
           343. Notably, WIW’s investment advisory and other fees are calculated based
12
     on total assets, not based on the market value of its shares. As such the interests of
13
     WIW’s investment advisers, and the Trustees who appear to operate in the interests of
14
     the advisers, are not aligned with those of shareholders. A WIW shareholder selling
15
     shares must do so at an approximately 10% discount to NAV, however this large,
16
     persistent discount causes no commensurate reduction in WIW’s fees. If fees paid by
17
     WIW, as reflected throughout this Complaint, were to be expressed as a percentage of
18
     WIW’s market value instead of WIW’s total assets, those fees would appear even
19
     greater in percentage terms.
20         344. As discussed above, there are clear solutions to the discount problem, and
21 other closed-end funds with comparable discounts and investment strategies have
22 recently adopted such solutions by converting to open-end structures (e.g., ACG
23 which converted in April 2016, or FTT which converted in October 2015). There is no
24 serious impediment to WIW’s conversion to an open-end structure or offering to
25 redeem shares, because of the high liquidity of WIW’s investment assets.
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 1         345. Although Plaintiff has pushed for the discount problem to be corrected
 2 for over two years, the Trustees have failed to meaningfully address the issue.
 3 Prompted by Plaintiff, the Fund announced in March 2016 that the Trustees may
 4 approve share repurchases, however there is no definite timeline or capital committed
 5 to repurchases and no repurchases have been made to date.
 6        346. If the Trustees had been paying sufficient attention to WIW’s affairs then

 7 the discount problem would have been corrected long ago and the other problems
 8 discussed above, not the least of which is WIW’s excessive advisory fee payments,
     would have been corrected years earlier without necessitating a threat of legal action
 9
     from Plaintiff to spur the Trustees into action.
10
                  2.     The Independence of Trustees Nyberg, Trust, and Toupin
11
           347. Notwithstanding the Trustees’ severe time constraints, Trustees Nyberg
12
     and Toupin each receive at least $35,000 annually from WIW for serving as Trustees.
13
     They each receive a total of over $400,000 annually from WIW and the other Western
14
     Asset or Guggenheim affiliated funds. The substantial amount of these payments calls
15
     into question whether Trustees Nyberg and Toupin are more loyal to WIW’s
16
     shareholders or to the management companies in control of the fund complexes that so
17
     richly reward them.
18
           348. Similarly, Trustee Jane Trust is a high level executive at Legg Mason,
19
     presumably receiving compensation from Legg Mason commensurate with the
20 seniority of her position. As discussed above, Western Asset is owned by Legg
21 Mason. Ms. Trust’s likely substantial compensation from Legg Mason calls into
22 question whether she is more loyal to WIW’s shareholders or to the Legg
23 Mason/Western Asset fund complex.
24         349. These allegations regarding the high levels of compensation received by
25 Trustees Nyberg, Toupin and Trust from the Western Asset and Guggenheim fund
26 complexes are reinforced by the Trustees’ track record of ignoring problems at WIW,
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 1 and allowing the Defendants to profit at WIW shareholders’ expense by charging
 2 excessive advisory fees.
 3                3.    Mr. Larson’s Conflicts of Interest Involving Cascade
 4         350. Mr. Larson’s conflicted actions appearing to favor the interests of
 5 Cascade over those of WIW shareholders show that he has generally not acted with
 6 sufficient care or loyalty in his duties as a WIW Trustee. As discussed above, Cascade
 7 Investments, L.L.C. is a vehicle for the investment of Bill Gates’s fortune.
 8       351. Mr. Larson is the Business Manager for Cascade, which owns
     approximately $150 million worth of WIW shares. Cascade is by far WIW’s largest
 9
     shareholder currently holding 22.1% of all WIW shares. As a Trustee for WIW with
10
     fiduciary duties Mr. Larson must not favor his own interests, or those of his employer
11
     Cascade, over the interests of WIW or its shareholders.
12
           352. The interests of WIW shareholders would have best been served at all
13
     times by the Trustees taking prompt action to reduce WIW’s excessive fees and the
14
     discount at which WIW shares trade.
15
           353. Mr. Larson controls Cascade. Given his status as a Trustee and his
16
     control over WIW’s largest shareholder, Mr. Larson at all times had tremendous
17
     power to fix WIW’s excessive fees and discount to NAV. However, no such steps
18
     were taken until 2018 after Plaintiff threatened legal action. Even then only
19
     insufficient corrective measures were introduced that allowed WIW’s excessive fees
20 and discount to persist indefinitely.
21       354. Cascade, under Mr. Larson’s direction, has substantially increased its
22 ownership of WIW over the last decade while the shares have traded at a steep
23 discount. Cascade owned 6.7% of WIW shares as of March 2007, 14.1% of WIW
24 shares as of March 2012, and currently owns 22.1% of WIW shares.
25         355. If WIW had purchased and retired these shares instead of allowing
26 Cascade to purchase the shares, substantial benefits would have accrued to all WIW
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 1 shareholders (i.e., an immediate risk-free return for WIW equal to the aggregate
 2 discount on the purchased shares, or approximately $14 million). However, because
 3 Mr. Larson caused WIW to forego this opportunity and instead caused Cascade to
 4 make these purchases, the benefits that rightfully belonged to WIW and its
 5 shareholders have accrued and will accrue to Cascade and Mr. Larson.
 6       356. Likewise, if Larson and Cascade had foregone Cascade’s share purchases

 7 this could have benefitted shareholders even in the absence of any repurchases by
 8 WIW. Because of WIW’s large discount to NAV and highly liquid portfolio, absent
     Cascade’s 22% stake in WIW it is likely that an activist investor would have
 9
     accumulated a large position and sought reforms to benefit all shareholders, such as
10
     fee reductions or conversion to an open-end structure. Because Cascade now has a
11
     22% stake, it can effectively block and deter activist investors.
12
           357. Cascade’s substantial purchases of shares in a closed-end fund for which
13
     Cascade’s Business Manager is the Chairman are highly unusual. Based on
14
     information and belief, in percentage terms these (and Cascade’s similar purchases of
15
     WIA shares) are among the largest purchases of shares in any closed-end fund by one
16
     of the fund’s trustees (or affiliates of such a trustee) in recent history, and perhaps
17
     since the enactment of the Investment Company Act of 1940. There is no indication in
18
     WIW’s public filings that Cascade’s large purchases were reviewed or approved by
19
     independent counsel or independent financial consultants for compliance with Mr.
20 Larson’s fiduciary duties to WIW shareholders.
21       358. Mr. Larson and WIW’s shareholders have conflicting interests with
22 respect to Cascade’s purchases and WIW’s fee payments. As discussed above, WIW’s
23 excessive fees are a substantial contributing factor to WIW’s wide and persistent
24 discount to NAV. It has been in Mr. Larson’s interest to allow such high fees and
25 discount to continue, so that Cascade can purchase WIW shares at a large discount to
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 1 their intrinsic value. It is in the interest of WIW’s shareholders to see WIW’s fees and
 2 discount reduced as quickly as possible.
 3         359. As discussed above, at any given time the discount could be reduced or
 4 eliminated through fee reductions and share repurchases or conversion to an open-end
 5 structure. Because a large majority of WIW’s assets are highly liquid Treasury
 6 securities there is no serious impediment to taking these steps. Because Mr. Larson is
 7 Chairman of WIW and Business Manager of WIW’s largest shareholder, the discount
 8 can be eliminated largely at a time of his choosing. Nevertheless, he has allowed
   WIW’s large discount and excessive fees to continue for years while Cascade has
 9
   accumulated a very large amount of WIW shares. If and when WIW takes the
10
   appropriate steps to eliminate the discount to NAV, Cascade will reap a huge benefit.
11
         360. If WIW had repurchased and retired the shares instead bought by
12
   Cascade, this would have reduced WIW’s total assets and therefore reduced the
13
   Defendants’ fees. That provided a powerful incentive for Mr. Larson and WIW’s other
14
   Trustees, who appear to be more loyal to the Defendants and the Western Asset and
15
   Guggenheim fund complexes than they are to WIW’s shareholders, not to make such
16
   repurchases.
17
                4.     Mr. Larson’s Conflicts of Interest Involving Western Asset
18
         361. Significant aspects of material relationships between (i) Mr. Larson, Bill
19
   Gates, and other persons affiliated with them, and (ii) Western Asset remain
20 undisclosed to WIW shareholders. Such relationships appear to have compromised
21 Mr. Larson’s judgment and independence which should have been exercised in favor
22 of WIW’s shareholders.
23         362. As discussed above, Mr. Larson is the Chief Investment Officer for Bill
24 Gates, with ultimate responsibility for tens of billions of dollars of investments.
25         363. WIW, at Plaintiff’s urging, recently began disclosing that Western Asset
26 has provided advice with respect to perhaps billions of dollars of Bill Gates’s fortune
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 1 for the last two decades. However, this disclosure consists of only a vague footnote in
 2 WIW’s proxy statements, and is nowhere near an adequate explanation of the
 3 relationships involved and the potential conflicts of interest for WIW’s purportedly
 4 independent Chairman, Mr. Larson. The footnote reads:
 5         Mr. Larson is the chief investment officer for William H. Gates III and in
           that capacity oversees the investments of Mr. Gates and the investments
 6         of the Bill and Melinda Gates Foundation Trust. Since 1997, Western
 7         Asset has provided discretionary investment advice with respect to one or
           more separate investment portfolios for Mr. Gates and the Bill and
 8         Melinda Gates Foundation Trust. Since the beginning of the last two
 9         completed fiscal years/periods of the Fund, at no time did the value of
           those investment portfolios exceed 0.5% of Western Asset’s total assets
10         under management. No changes to these arrangements are currently
11         contemplated.
12         364. Gates’s relationship with Western Asset is a source of potential conflicts

13 for Mr. Larson because it places him in a position to potentially obtain preferred
14 treatment for Gates from Western Asset by allowing Western Asset to profit at Fund
     shareholders’ expense.
15
           365. Based on the high fees paid by WIW and the lower fees charged by
16
     Western Asset to private clients for similar services, it appears likely that Mr. Larson
17
     has obtained more favorable fees for Bill Gates’s other investments with Western
18
     Asset than he has for WIW. As such, at the very least it appears likely that Mr. Larson
19
     does business with the Western Asset Defendants using a certain level of care and
20
     independence on behalf of Bill Gates, and using a lesser level of care and
21
     independence on behalf of WIW’s shareholders.
22
           366. Another potential conflict of interest is presented by the close, long-
23
     standing personal relationship between Mr. Larson and Steve Walsh, former Western
24
     Asset Chief Investment Officer.
25         367. Mr. Walsh was one of only a handful of portfolio managers responsible
26 for WIW from its inception through 2013, and served as Chief Investment Officer of
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 1 Western Asset during 2008-2013. As reported by THE WALL STREET JOURNAL, but
 2 nowhere disclosed by WIW, Messrs. Larson and Walsh have known each other for
 3 decades, and Mr. Walsh was one of only about 40 guests to attend a dinner party
 4 thrown by Bill Gates at his mansion to honor Mr. Larson in 2014. See Anupreeta Das
 5 and Craig Karmin, This Man’s Job: Make Bill Gates Richer, THE WALL STREET
 6 JOURNAL (Sept. 19, 2014). This close personal relationship creates the risk that
 7 Larson may act in the interests of Walsh and Western Asset rather than in the interests
 8 of WIW’s shareholders.
           368. Given WIW’s generally poor management by the Trustees and the
 9
     numerous entanglements between WIW’s purportedly independent Chairman and the
10
     Western Asset fund complex, Mr. Larson’s loyalty as a WIW Trustee must be called
11
     into question.
12
                  5.    Conflicts of Interest of the Trustees’ “Independent” Counsel
13
           369. The law firm of Paul Hastings LLP provides legal representation to
14
     WIW’s purportedly independent Trustees in connection with their duties as
15
     independent Trustees for WIW. As reflected in WIW’s board minutes, each year the
16
     Trustees consider Paul Hastings’ conflicts of interest, and each year the Trustees
17
     decide that Paul Hastings should nonetheless continue to serve as “independent”
18 counsel.
19       370. For example, minutes of a February 21, 2017 joint meeting of the Funds’
20 Boards of Trustees provide:
21
           RESOLVED, that, having obtained and reviewed information provided
22         by Paul Hastings LLP to the [Independent Trustees] . . . with respect to
23         any representation by Paul Hastings of Security Investors, LLC, Western
           Asset Management Company, Western Asset Management Company Pte.
24
           Ltd. (in Singapore), Western Asset Management Company Limited (in
25         London), Western Asset Management Company Ltd (in Tokyo), Legg
           Mason Partners Fund Advisor, LLC or any of their control persons . . .
26
           the Independent Trustees hereby determine that any such representation
27         is or was sufficiently limited that it is unlikely to adversely affect the
28
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 1         professional judgment of Paul Hastings in providing legal representation
           to the Independent Trustees.
 2
           371. It appears that Paul Hastings performs substantial amounts of work for
 3 affiliates of Guggenheim and SI, for which it likely receives substantial compensation.
 4         372. Biographies for seven different lawyers (including four partners) on Paul
 5 Hastings’ website prominently list Guggenheim affiliates as clients in several different
 6 transactions. Those lawyers are Jason C. Ewart (represented Guggenheim Partners),
 7 Luke McDougall (advised Guggenheim), Steve Tredennick (represented Guggenheim
 8 Investments), Richard Kitchen (advised Guggenheim), Bianca Lee (represented
 9 Guggenheim Securities LLC), Chris Dickerson (assisted Guggenheim), and John Paul
10 G. Igoe (represented a portfolio company of Guggenheim).
11         373. Other publicly available information indicates yet further connections
12 between Guggenheim and Paul Hastings. For example, articles published on the legal
13 news website Law360 indicate the Paul Hastings partners Ted E. Smith (represented
14 Guggenheim Commercial Real Estate Finance) and Rick Kirkbride (worked with
15 Guggenheim Partners) also performed work for Guggenheim affiliates. See Beth
16 Winegarner, Hospitality MVP: Paul Hastings’ Rick Kirkbride, Law360 (Nov. 12,
17 2015); Andrew McIntyre, DLA Piper, Paul Hastings Guide Oxford’s $150M
18 Financing, Law360 (Dec. 17, 2014).
19      374. While the full extent of Paul Hastings’ conflicts are not known to
     Plaintiff, the limited publicly available information indicates that Paul Hastings
20
     receives substantially more business from the Guggenheim complex than it is likely to
21
     receive from WIW’s independent Trustees. This calls into question where the true
22
     loyalties of Paul Hastings lie, and why the “Independent Trustees” never decided to
23
     retain truly independent counsel.
24
           375. These allegations are all the more significant in light of Paul Hastings’
25
     involvement in the independent Trustees’ approval of WIW’s advisory fees. As stated
26
     in WIW’s annual report under the heading “Board approval of management and
27
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 1 subadvisory agreements,” “In their deliberations with respect to these matters, the
 2 Independent Trustees were advised by their independent counsel, who is independent .
 3 . . of the Managers. The Independent Trustees weighed each of the foregoing matters
 4 in light of the advice given to them by their independent counsel as to the law
 5 applicable to the review of investment advisory contracts.”
 6       XIII. WIW’S EXCESS FEE CLAIM AGAINST WESTERN ASSET

 7         A.     Nature and Quality of Services Performed by Western Asset

 8         376. The Western Asset Defendants provide investment sub-advisory services
     to WIW. SI is the primary investment adviser for WIW. WAMCO, WA Japan, WA
 9
     London, and WA Singapore are sub-advisers to WIW.
10
           377. Although WIW’s investment policies as set forth in WIW’s public SEC
11
     filings and quoted above are somewhat verbose, the policies that the Western Asset
12
     Defendants in fact implement are straightforward. WIW invests approximately 80% of
13
     its assets in TIPs. The remaining 20% of WIW’s assets are invested in riskier assets in
14
     an attempt to generate additional income. WIW borrows money to invest (in an
15
     amount equal to approximately 25% of WIW’s total assets), which may generate
16
     additional net income and certainly generates additional fees.
17
           378. U.S. Treasury securities, and TIPs in particular, are safe, liquid
18
     investments, making a portfolio primarily comprised of such securities easy to
19
     manage. Ordinarily an investment adviser for a fixed income portfolio must research a
20 multitude of different issuers (whether corporations or governments) to determine
21 which issuers are likely to be able to repay their obligations in full and on time.
22 However, U.S. Treasury securities are viewed as among the safest investments
23 available because they are issued by the U.S. federal government. Defendants’ job of
24 selecting securities for inclusion in WIW’s portfolio is made much simpler because
25 the portfolio consists at all times of approximately 80% TIPs.
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 1          379. Defendants’ job is further simplified by WIW’s closed-end structure.
 2 Unlike an open-end fund or ETF, a closed-end fund does not have to plan for constant
 3 creation and redemption of shares as fund investors buy and sell. Therefore, it is
 4 simpler for a closed-end fund’s adviser to maintain the desired balance of investments
 5 for the fund, and advisory costs should be proportionately lower.
 6        380. Defendants appear to devote only a small amount of labor to the

 7 investment advisory services provided to WIW. Four individuals serve as co-portfolio
 8 managers, each of whom is responsible for dozens or hundreds of other funds and
     investment accounts totaling tens or hundreds of billions of dollars. As such, these
 9
     individuals likely do not devote significant time to WIW.
10
            381. The following table shows WIW’s portfolio managers, the number of
11
     investment funds and accounts for which they each have day-to-day management
12
     responsibilities, the total assets contained in those funds and accounts, and other
13
     responsibilities as reflected by their job titles:
14
       Table 15. WIW Portfolio Managers’ Other Responsibilities
15
                                 Accounts  Assets
16      Manager                  Managed   Managed        Titles
        S. Kenneth Leech               961   $438 billion Chief Investment Officer of Western
17                                                        Asset
        Michael C. Buchanan            363   $166 billion Deputy Chief Investment Officer of
18                                                        Western Asset
        Frederick Marki                 46    $19 billion Portfolio manager at Western Asset
19      Chia-Liang Lian                219    $89 billion Co-Head of Emerging Markets Debt,
                                                          portfolio manager and research analyst at
20                                                        Western Asset
21          382. Given these significant other responsibilities, it appears likely that
22 WIW’s four portfolio managers cannot devote much time or thought to WIW’s mere
23 $1 billion of total assets.
24          383. Although WIW’s public disclosures indicate that various other Western
25 Asset employees are involved in providing investment advice to WIW, nowhere in
26 WIW’s public disclosures are such individuals or the services they purportedly
27 perform identified.
28
                                                    84
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 1         384. The quality of Defendants’ investment advisory services for WIW has
 2 been mediocre at best. As noted in WIW’s annual report for the year ended November
 3 30, 2016, “the performance of the Fund was lower than its peer average performance
 4 for the one-, three-, five- and ten-year periods ended August 31, 2016.”
 5         385. As shown in Table 4 (at paragraph 153), during the 2013-2017 period

 6 WIW produced a meager total return each year averaging 0.12% (based on NAV) or
 7 0.74% (based on market price).
 8         B.     Comparative Fee Structures
           386. WIW pays SI annual fees equal to 0.60% of WIW’s total assets. SI pays
 9
     WAMCO annual fees of 0.27% of WIW’s total assets. This same basic arrangement
10
     has been in place from WIW’s inception in or about 2003 through the beginning of
11
     2018. Since 2008, WAMCO has passed on portions of its 0.27% fee to WA Japan,
12
     WA London, and WA Singapore, in proportion to the amounts of WIW’s total assets
13
     managed by them.
14
           387. For the year ended November 30, 2017 WIW accrued $2,920,217 in fees
15
     payable to WAMCO as investment sub-adviser.
16
           388. WIW has announced, following receipt of Plaintiff’s demand letter
17
     threatening legal action regarding WIW’s excessive fees, that its total advisory fees
18
     will be reduced to 0.35% of total assets beginning on or about April 27, 2018.
19
     However, because WAMCO will receive the entire investment advisory fee under the
20 new arrangements, this in fact represents a substantial, unjustified increase in
21 WAMCO’s fees of 8 basis points for providing the same services as before.
22         389. WIW’s current and proposed investment advisory fees are plainly
23 excessive in relation to fees charged for comparable services by Western Asset when
24 those fees are subject to at least some degree of competition and market forces.
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 1                1.     Western Assets’ Fees from WIW Substantially Exceed its Fees
                         for Comparable Services
 2
           390. As discussed above, WIW’s closed-end structure makes little sense in
 3 light of WIW’s investment policies centered on investing in TIPs. Similar
 4 considerations led what were perhaps the most comparable closed-end funds, FTT and
 5 ACG, to convert to open-end structures in 2015 and 2016. Furthermore, WIW’s
 6 investment policies have evolved idiosyncratically over the years (in what appear to
 7 be attempts to justify high fees, such as increasing investments in risky and exotic
 8 assets, see supra paragraphs 123-125). As such, there are no perfectly comparable
 9 funds to WIW in terms of structure and investment policies. Nonetheless, WAFSX
10 and the Western Asset private client US TIPS Full Discretion service are sufficiently
11 similar to provide a reasonable and informative basis for comparison.
12         391. As demonstrated above, the investment advisory services provided by the
13 Western Asset Defendants to WAFSX are substantially similar to the services they
14 provide to WIW.
15       392. For example, like WIW, WAFSX invests primarily in TIPs. Also like
16 WIW, WAFSX’s sub-advisers are WAMCO, WA Japan, WA London, and WA
17 Singapore. Like WIW, WAFSX’s portfolio managers include S. Kenneth Leech and
18 Frederick Marki. In fact, WIW’s preliminary proxy statement filed March 23, 2018
19 admits that WAFSX “may have a similar investment objective and principal
     investment strategy” as WIW.
20
           393. Unlike WIW, WAFSX pays total investment advisory fees of only 0.20%
21
     of net assets annually.
22
           394. Also as demonstrated above, the investment advisory services provided
23
     by the Western Asset Defendants to private clients in the US TIPS Full Discretion
24
     service are substantially similar to the services they provide to WIW.
25
           395. For example, investment advisory services for WIW and for the US TIPS
26
     Full Discretion service are provided by WAMCO, WA London, WA Singapore, and
27
28
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 1 WA Japan. Both WIW and the US TIPS Full Discretion service have similar
 2 portfolios and highly correlated returns. WIW and the US TIPS Full Discretion
 3 service have similar investment styles and policies. As admitted in WIW’s most recent
 4 annual report “the management fee paid by SI to Western Asset was higher than the
 5 average of the fees paid by clients of Western Asset for accounts with similar
 6 investment strategies,” in an apparent reference to the US TIPS Full Discretion
 7 service.
 8       396. However, unlike WIW, Western Asset advertises its US TIPS Full
     Discretion service for a fee of 0.30% of assets up to $100 million and 0.15% of assets
 9
     over $100 million.
10
           397. The following table summarizes the Funds’ current and recently
11
     proposed fees, as well as the above described fee comparisons:
12
        Table 16. Summary of WIW-Western Asset Fee Comparisons
13      Fund or Service                                        Annual Advisory Fees
14      WIW’s Current Fees
        WIW sub-advisory fee paid to WAMCO                     0.27% of total assets
15                                                             (approx. 0.37% of net assets)

16      WIW’s Fees Effective April 27, 2018
17      WIW advisory fee paid to WAMCO                                 0.35% of total assets
                                                                       (approx. 0.48% of net assets)
18
        Comparable Services Provided by Western Asset
19      Western Asset Inflation Indexed Plus Bond Fund (WAFSX)         0.20% of net assets
20      Western Asset Private Client US TIPS Full Discretion Service   0.30% of assets up to $100 million
                                                                       0.15% of assets over $100 million
21         398. In light of these comparisons, WIW’s investment advisory fees paid to
22 the Western Asset Defendants of 0.27% of total assets are plainly excessive, and the
23 contemplated fees of 0.35% of total assets are even more excessive. The fees Western
24 Asset charges for comparable services are 0.20% of net assets or less when those fees
25 are subject to at least some degree of competitive pressure.
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 1                2.    WIW’s Closed-End Structure Enables Excessive Fees
 2         399. WIW’s closed-end structure has enabled it to maintain supra-competitive
 3 expenses. An open-end fund or ETF with excessive fees is subject to some degree of
 4 market discipline as investors who dislike the high fees can redeem their shares,
 5 thereby decreasing the fund’s assets (the base on which fees are calculated). However,
 6 because WIW is a closed-end fund, no amount of investor displeasure will reduce the
 7 amount of assets under its control.
 8      400. When WIW’s investors vote with their feet and sell shares, the only
     result is a declining share price and a large discount to NAV. This is precisely what
 9
     has occurred. Over the last several years WIW’s shares have almost always traded at a
10
     discount of over 10%, among the highest discounts of any closed-end bond fund.
11
           401. As demonstrated above, WAFSX, for which investment advisory services
12
     are comparable to those provided to WIW, pays far lower advisory fees than WIW.
13
     Because WAFSX is an open-end fund, if it paid advisory fees at the excessive level
14
     paid by WIW, it would likely suffer substantial outflows that would decrease
15
     WAFSX’s assets and its advisers’ total fees.
16
           402. Similarly, private clients considering the Western Asset US TIPS Full
17
     Discretion service may be willing to take their business to other advisers to obtain
18
     arm’s-length rates, thereby forcing Western Asset to offer competitive pricing for
19
     separate account customers. Although the advisory services provided by Western
20 Asset to such private clients are very similar to the services provided to WIW, the fees
21 charged to WIW are much higher.
22                3.    Fees Based on Total Assets Including Leverage are Excessive
23         403. An additional problem with WIW’s fee structure is that its fees are
24 calculated based on total assets rather than net assets. It is generally standard practice
25 in the investment fund industry to charge fees based on net assets. However, it is
26 common for closed-end funds like WIW to borrow money and then charge fees based
27 on total assets (increased by the borrowed funds).
28
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 1         404. This practice is disfavored by objective industry participants and
 2 observers. According to an article published by Fidelity (one of the largest and lowest-
 3 fee fund complexes in the United States) in conjunction with Morningstar (a leading
 4 source of fund industry information for investors), charging advisory fees based on
 5 assets attributable to leverage “is not considered a best practice” because “[d]oing so
 6 results in higher management fees” that are not justified. See Closed-end fund
 7 expenses, https://www.fidelity.com/learning-center/investment-products/closed-end-
 8 funds/expenses (last visited Mar. 26, 2018). “Investment management is a highly
     scalable business, meaning higher assets under management do not correlate highly
 9
     with additional costs,” and therefore “[t]he argument that it would cost more to
10
     manage a . . . leveraged portfolio versus a . . . unleveraged fund does not hold water.”
11
     Id.
12
           405. As of November 30, 2017, WIW had $1.077 billion in total assets and
13
     $292 million in leverage outstanding. As such WIW had approximately $785 million
14
     of net assets, and leverage represented roughly 37% of WIW’s net assets. This amount
15
     of leverage has been typical for WIW over the last few years.
16
           406. WIW’s total advisory fees of 0.60% of total assets are even more facially
17
     excessive when translated to the more fair base of net assets. Applying the 0.60%
18
     advisory fee to WIW’s total assets is equivalent to applying a fee of 0.82% to WIW’s
19
     net assets, due to WIW’s leverage equal to 37% of net assets.11
20         407. As admitted in WIW’s most recent annual report, “when measured as a
21 percentage of net assets (net of leverage), . . . the advisory fee paid by [WIW] to SI
22 was higher than the average of the fees paid by the funds in its peer group and that the
23 total expenses for [WIW] were higher than the average of the funds in its peer group.”
24
25         11
                137% * 0.60% = 0.822%
26              0.82% * $785 million = $6.44 million
27              0.60% * $1.077 billion = $6.46 million (discrepancy due to rounding)

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 1        408. Furthermore, WIW’s leverage serves little purpose other than to generate
 2 higher fees. The combination of high advisory fees and the interest expense that
 3 comes with leverage consumes a substantial portion of the small investment return
 4 attributable to WIW’s use of leverage.
 5        409. Adding WIW’s weighted average rate for interest expense of 1.08% to

 6 WIW’s 0.60% of total assets investment advisory fee produces, before administrative
 7 and other costs, a combined expense of 1.68% applicable to borrowed funds, as
 8 compared to current yields for intermediate-term Treasury securities of approximately
   2.70%. Unsurprisingly given WIW’s high expenses and low-yielding investments,
 9
   annual total returns for WIW over the last five years average 0.12% based on NAV,
10
   and 0.74% based on market price (see Table 4 at paragraph 153).
11
          410. Because roughly 80% of WIW’s total assets are invested in low-yielding
12
   TIPs, the high advisory fees and leverage costs consume a very large portion of
13
   WIW’s meager investment returns.
14
          411. Like WIW’ s total advisory fees, WIW’s current sub-advisory fees
15
   payable to WAMCO of 0.27% of total assets are even more facially excessive when
16
   translated to the more fair base of net assets. Applying the 0.27% advisory fee to
17
   WIW’s total assets is equivalent to applying a fee of 0.37% to WIW’s net assets, due
18
   to WIW’s leverage equal to 37% of net assets.12
19
          412. Similarly, WIW’s new advisory fees payable to WAMCO to take effect
20 on or about April 27, 2018, equal to 0.35% of total assets are even more facially
21 excessive when translated to the more fair base of net assets. Applying the 0.35%
22
23
24
25        12
               137% * 0.27% = 0.3699%
26             0.37% * $785 million = $2.90 million
27             0.27% * $1.077 billion = $2.91 million (discrepancy due to rounding)

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 1 advisory fee to WIW’s total assets is equivalent to applying a fee of 0.48% to WIW’s
                                                                13
 2 net assets, due to WIW’s leverage equal to 37% of net assets.
 3         413. Again, as demonstrated above the Western Asset Defendants provide
 4 comparable services to WAFSX for only 0.20% of net assets.
 5      C.     WIW’s Profitability to Western Asset

 6         414. Average profit margins for investment advisory services in the fund

 7 industry are exceptionally high, due to the industry’s structural conflicts of interest
 8 discussed above. The Western Asset Defendants’ profit margins from providing
     investment advisory services to WIW are likely even higher than the already excessive
 9
     average profit margins in the industry.
10
           415. Precise data on the profitability of providing investment advice to
11
     registered investment companies is not publicly disclosed, likely in part because
12
     investment managers do not want to draw attention to their excessive profits.
13
           416. However, the available information indicates that average profit margins
14
     for such services are approximately 40%. For example, recent research by an industry
15
     group found average profit margins for advisory services to fixed income funds to be
16
     45%. See Mutual Fund Directors Forum, Beyond Expense Benchmarking: Economies
17
     of Scale, Mutual Fund Profitability, Breakpoints and Director Oversight (June 1,
18
     2016) at 12. A report published by the United States General Accounting Office found
19
     average profit margins of 36% for asset management companies in 1998. United
20 States General Accounting Office, Mutual Fund Fees (June 2000) at 45 (hereinafter
21 “GAO Report”). Anecdotally, Vanguard mutual funds CEO Tim Buckley has stated,
22 “This whole industry is built on 40% [profit] margins.” Simon Duke, Interview: Never
23
24
25
           13
26              137% * 0.35% = 0.4795%
                0.48% * $785 million = $3.77 million
27              0.35% * $1.077 billion = $3.77 million
28
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 1 mind the stock picking, look at the fees, says Vanguard Boss Tim Buckley, The Times
 2 (Feb. 11, 2018).
 3        417. This approximate 40% average profit margin on fund investment
 4 advisory services compares to historical average profit margins of approximately 8%
 5 for the companies making up the S&P 500. See, e.g., Edward Yardeni and Joe Abbott,
 6 Stock Market Briefing: S&P 500 Sectors & Industries Profit Margins, Yardeni
 7 Research, Inc. (Mar. 26, 2018). Put differently, companies providing investment
 8 advice to a captive mutual fund obtain on average roughly five times the profit levels
   prevailing among large, public U.S. companies.
 9
          418. However, the Western Asset Defendants likely obtain even greater profit
10
   levels from WIW. As discussed above, the advisory fees charged to WIW are
11
   substantially higher than the fees that these Defendants and their affiliates charge to
12
   WAFSX and private clients for comparable services.
13
          419. Based on information and belief a reasonable opportunity for discovery
14
   will show that the Defendants’ profit margins obtained from WIW are substantially in
15
   excess of already high industry averages, and completely disproportionate to the costs
16
   of performing the services rendered.
17
          D.    Economies of Scale Realized by Western Asset
18
          420. The existence of economies of scale in investment management has been
19
   confirmed by the SEC and the Governmental Accounting Office, both of whom
20 conducted in-depth studies of investment adviser fees and concluded that economies
21 of scale exist in the provision of investment advisory services. See SEC Division of
22 Investment Management, Report on Mutual Fund Fees and Expenses (Dec. 2000), at
23 30-31; GAO Report at 9. These findings have been further confirmed by academic
24 research, which also describes the existence of significant economies of scale that are
25 not passed on to investment company shareholders. See e.g., John P. Freeman &
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27
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 1 Stewart L. Brown, Mutual Fund Advisory Fees: The Cost of Conflicts of Interest, 26 J.
 2 Corp. L. 610 (2001).
 3         421. According to a recent paper published by economist Burton Malkiel,
 4 “[t]here should be substantial economies of scale in asset management . . . The due
 5 diligence required for the investment manager is no different for a large mutual fund
 6 than it is for a small one.” This paper found that “[a]cademic research has documented
 7 substantial economies of scale in mutual fund administration,” however, “the scale
 8 economies in asset management appear to have been entirely captured by the asset
   managers” rather than reducing fees for the benefit of investors. Burton G. Malkiel,
 9
   Asset Management Fees and the Growth of Finance, 27 JOURNAL OF ECONOMIC
10
   PERSPECTIVES 97, 98-99 (2013).
11
          422. In addition to the academic research Malkiel cites for his conclusions,
12
   these conclusions are also supported by common sense. In order to provide investment
13
   advice to a fund, a firm will incur a set amount of fixed costs including compensation
14
   for investment analysts, and various sources of overhead costs such as office space.
15
   Once these have been incurred, the marginal cost of providing investment advice to a
16
   fund is likely to decrease rapidly as additional assets are added to the fund’s portfolio.
17
          423. For example, the cost of advising a fund on how to construct a $200
18
   million investment portfolio is likely far less than twice the cost of advising a fund on
19
   how to construct a $100 million investment portfolio. This is all the more true in the
20 context of a closed-end Fund like WIW with an investment portfolio consisting
21 primarily of TIPs, which does not require as much research or planning as open-end
22 funds with more complex investments.
23         424. Likewise, Malkiel’s conclusion that such economies of scale have been
24 entirely captured by asset managers also makes sense as a matter of simple logic. As a
25 general matter, fees in the investment advisory industry are calculated as a percentage
26 of invested assets, thereby providing ever increasing fees to managers as compared to
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 1 sharply declining marginal costs (though some investment advisory agreements
 2 provide for “breakpoints” or decreases in fees once certain asset thresholds are
 3 reached).
 4       425. In the case of WIW, economies of scale are entirely captured by the
 5 Defendants and are not passed on to WIW’s shareholders. WIW’s investment advisory
 6 agreements provide for an annual fee of 0.60% of total assets, of which 0.27% is
 7 captured by the Western Asset Defendants, with no breakpoints.
 8       426. In contrast, when subjected to the threat of competition, Western Asset
     charges substantially lower fees with a breakpoint for nearly identical services. As
 9
     discussed above Western Asset advertises its US TIPS Full Discretion separate
10
     account advisory service for a fee of 0.30% of assets up to $100 million and 0.15% of
11
     assets over $100 million. As admitted in WIW’s most recent annual report “the
12
     management fee paid by SI to Western Asset was higher than the average of the fees
13
     paid by clients of Western Asset for accounts with similar investment strategies.”
14
           427. As of November 30, 2017 WIW had $785 million in net assets, and
15
     $1.077 billion in total assets, both of which are far in excess of the $100 million
16
     breakpoint level provided for Western Asset’s private clients. Yet Defendants provide
17
     no reduction of WIW’s excessive fees.
18
           428. Furthermore, economies of scale are even greater when viewing WIW
19
     and WIA together. As demonstrated above, the Funds have very similar investment
20 policies and receive similar services from the Western Asset Defendants. As of
21 November 30, 2017 the Funds had a combined $1.17 billion in net assets and $1.61
22 billion in total assets. Again, no breakpoints are provided to reduce the Funds’
23 excessive fees.
24         E.     Fall-Out Financial Benefits to Western Asset
25         429. The Western Asset Defendants and their affiliates in the Western Asset
26 complex derive substantial benefits from their relationship with WIW, in addition to
27
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 1 WAMCO’s excessive investment advisory fees. Because the Funds are jointly
 2 managed by the Defendants as a single enterprise, fall-out benefits received from
 3 either Fund should be considered in connection with WIW’s excess fee analysis.
 4        430. First among the fall-out benefits obtained by Western Asset are fees for
 5 providing additional services to the Funds. LMPFA, an affiliate of the Western Asset
 6 Defendants, provides certain administrative and accounting functions for WIW. WIW
 7 pays LMPFA fees at an annual rate of 0.04% of WIW’s total assets, subject to an
 8 annual minimum fee of $225,000. In its year ended November 30, 2017 WIW paid
     LMPFA $432,625.
 9
           431. LMPFA similarly obtains additional fall-out benefits from WIA. LMPFA
10
     provides certain administrative and accounting functions for WIA. WIA pays LMPFA
11
     fees at an annual rate of 0.04% of WIA’s total assets, subject to an annual minimum
12
     fee of $225,000. In its year ended November 30, 2017 WIA paid LMPFA $225,200.
13
           432. Second, the Western Asset Defendants derive fall-out benefits from their
14
     relationship with the Funds in the form of cost savings for the Western Asset
15
     Defendants’ related services to other customers. As discussed above, Western Asset
16
     advises another fund (WAFSX) and private clients that employ investment strategies
17
     that are highly similar to the Funds. Western Asset is able to utilize any work
18
     performed for the Funds in order to reduce its costs in providing similar services to
19
     other clients, and thereby retain greater profits from services performed for other
20 clients.
21        433. Third, the Western Asset Defendants gain advertising and cross-
22 promotional benefits from their association with the Funds. For the Western Asset
23 fund complex, the breadth of its fund offerings is a main point emphasized in its
24 advertising. By offering a wide variety of funds promoted as part of a unified, branded
25 fund complex, Western Asset hopes to encourage investor loyalty and to sell
26 additional products to investors. For example, if a WIW shareholder visits Western
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 1 Asset’s website to obtain information about WIW, she will be presented with
 2 information about other Western Asset investment products.
 3         F.     Independence and Care of WIW’s Board of Trustees
 4         434. Plaintiff incorporates by reference the allegations regarding the WIW
 5 Trustees’ lack of care and independence as set forth above in paragraphs 326 to 375.
 6       XIV. WIA’S EXCESS FEE CLAIM AGAINST WESTERN ASSET

 7         A.     Nature and Quality of Services Performed by Western Asset

 8         435. Plaintiff incorporates by reference the general allegations set forth above
     in paragraphs 376–385 regarding this factor in the context of WIW, and further makes
 9
     the following allegations specific to WIA.
10
           436. The Western Asset Defendants provide investment advisory services to
11
     WIA. WAMCO is the primary investment adviser for WIA. WA Japan, WA London,
12
     and WA Singapore are sub-advisers to WAMCO.
13
           437. Although WIA’s investment policies as set forth in WIA’s public SEC
14
     filings and quoted above are somewhat verbose, the policies that Western Asset in fact
15
     implements are straightforward. WIA invests approximately 80% of its assets in U.S.
16
     TIPs. The remaining 20% of WIA’s assets are invested in riskier assets in an attempt
17
     to generate additional income. WIA borrows money to invest (in an amount equal to
18
     approximately 25% of WIA’s total assets), which may generate additional net income
19
     and certainly generates additional fees.
20         438. As discussed above, the Western Asset Defendants’ job of selecting
21 securities for inclusion in WIA’s portfolio is made simpler because the portfolio
22 consists at all times of approximately 80% TIPs. The Western Asset Defendants’ job
23 is further simplified by WIA’s closed-end structure.
24        439. The Western Asset Defendants appear to devote only a small amount of
25 labor to the investment advisory services provided to WIA. The same four individuals
26 (S. Kenneth Leech, Michael C. Buchanan, Frederick Marki, and Chia-Liang Lian)
27
28
                                                  96
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 1 who serve as co-portfolio managers for WIW also serve as co-portfolio managers for
 2 WIA. As discussed above and as reflected in Table 15 (at paragraph 381), each of
 3 these individuals is responsible for dozens or hundreds of other funds and investment
 4 accounts totaling tens or hundreds of billions of dollars. As such, it appears likely that
 5 WIA’s four portfolio managers cannot devote much time or thought to WIA’s mere
 6 $500 million of total assets.
 7        440. Although WIA’s public disclosures indicate that various other Western

 8 Asset employees are involved in providing investment advice to WIA, nowhere in
   WIA’s public disclosures are such individuals or the services they purportedly
 9
   perform identified.
10
          441. The quality of the Western Asset Defendants’ investment advisory
11
   services for WIA has been mediocre at best. As noted in WIA’s annual report for the
12
   year ended November 30, 2016, “the performance of the Fund was lower than its peer
13
   average performance for the one-, three-, five- and ten-year periods ended August 31,
14
   2016.”
15
          442. As shown in Table 8 (at paragraph 196), during the 2013-2017 period
16
   WIA produced a meager total return each year averaging 0.69% (based on NAV) or
17
   1.17% (based on market price).
18
          B.    Comparative Fee Structures
19
          443. Plaintiff incorporates by reference the general allegations set forth above
20 in paragraphs 386–413 regarding this factor in the context of WIW, and further makes
21 the following allegations specific to WIA.
22        444. WIA pays WAMCO annual fees equal to 0.40% of WIA’s total assets.
23 This same basic arrangement has been in place from WIA’s inception in or about 2003
24 through the beginning of 2018. Since 2008, WAMCO has paid WA Japan, WA
25 London, and WA Singapore some undisclosed portion of these fees.
26
27
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 1         445. For the year ended November 30, 2017 WIA accrued $2,115,515 in
 2 advisory fees payable to WAMCO.
 3         446. WIA has announced, following receipt of Plaintiff’s demand letter
 4 threatening legal action regarding WIA’s excessive fees, that its advisory fees will be
 5 reduced to 0.35% of total assets beginning on or about April 27, 2018. This is a tacit
 6 concession that WIA’s current fees are excessive and unreasonable. Despite the
 7 modest reduction, the fee of 0.35% of total assets remains excessive.
 8         447. WIA’s current and proposed investment advisory fees are plainly
     excessive in relation to fees charged for comparable services by Western Asset when
 9
     those fees are subject to at least some degree of competition and market forces.
10
                 1.     Western Assets’ Fees from WIA Substantially Exceed its Fees
11
                        for Comparable Services
12         448. As discussed above in relation to WIW, the most comparable closed-end
13 funds, FTT and ACG, converted to open end structres in 2015 and 2016. WIA’s
14 investment policies have evolved idiosyncratically over the years (in what appear to
15 be attempts to justify high fees, such as increasing investments in risky and exotic
16 assets, see supra paragraphs 123-125). As such, there are no perfectly comparable
17 funds to WIA in terms of structure and investment policies. Nonetheless, WIW,
18 WAFSX, and the Western Asset private client US TIPS Full Discretion service are
19 sufficiently similar to provide a reasonable and informative basis for comparison.
20         449. As demonstrated above, the investment advisory services provided by the
21 Western Asset Defendants to WIW are substantially similar to the services they
22 provide to WIA.
23         450. For example, both WIW and WIA are closed-end funds created by

24 Western Asset and Claymore Group in or about 2003. WIW and WIA share the same
25 Trustees and officers. WIW and WIA have very similar portfolios and highly
26 correlated returns. Both WIW and WIA obtain investment advisory or sub-advisory
   services from WAMCO, WA Japan, WA London, and WA Singapore. Like WIW,
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28
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 1 WIA’s portfolio managers are S. Kenneth Leech, Michael C. Buchanan, Frederick
 2 Marki, and Chia-Liang Lian.
 3         451. Also as discussed above, while SI is at least on paper the primary
 4 investment adviser to WIW, it appears to have delegated all investment advisory
 5 duties to the Western Asset Defendants. However, WIW pays only 0.27% of total
 6 assets for Western Asset’s services, whereas WIA pays 0.40% of total assets for
 7 nearly identical services (or 0.35% from on or about April 27, 2018).
 8         452. Also as demonstrated above, the investment advisory services provided
     by the Western Asset Defendants to WAFSX are substantially similar to the services
 9
     they provide to WIA.
10
           453. For example, like WIA, WAFSX invests primarily in TIPs. Also like
11
     WIA, WAFSX’s sub-advisers are WAMCO, WA Japan, WA London, and WA
12
     Singapore. Like WIA, WAFSX’s portfolio managers include S. Kenneth Leech and
13
     Frederick Marki. WIW’s preliminary proxy statement filed March 23, 2018 admits
14
     that WAFSX “may have a similar investment objective and principal investment
15
     strategy” as WIW, which logically means that WAFSX also has a similar investment
16
     objective and principal investment strategy as WIA.
17
           454. However, unlike WIA, WAFSX pays total investment advisory fees of
18
     only 0.20% of net assets annually.
19
           455. Also as demonstrated above, the investment advisory services provided
20 by the Western Asset Defendants to private clients in the US TIPS Full Discretion
21 service are substantially similar to the services they provide to WIA.
22         456. For example, investment advisory services for WIA and for the US TIPS
23 Full Discretion service are provided by WAMCO, WA London, WA Singapore, and
24 WA Japan. Both WIA and the US TIPS Full Discretion service have similar portfolios
25 and highly correlated returns. WIA and the US TIPS Full Discretion service have
26 similar investment styles and policies. As admitted in WIA’s most recent annual
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 1 report, “the management fee paid by [WIA] was higher than the average of the fees
 2 paid by clients of Western Asset for accounts with similar investment strategies,” in
 3 an apparent reference to the US TIPS Full Discretion service.
 4       457. Unlike WIA, Western Asset advertises its US TIPS Full Discretion
 5 service for a fee of 0.30% of assets up to $100 million and 0.15% of assets over $100
 6 million.
 7         458. The following table summarizes WIA’s current and recently proposed

 8 fees, as well as the above described fee comparisons:
        Table 17. Summary of WIA-Western Asset Fee Comparisons
 9
        Fund or Service                                        Annual Advisory Fees
10      WIA’s Current Fees
        WIA advisory fee paid to WAMCO                         0.40% of total assets
11                                                             (approx. 0.55% of net assets)
12
        WIA’s Fees Effective April 27, 2018
13      WIA advisory fee paid to WAMCO                                 0.35% of total assets
                                                                       (approx. 0.48% of net assets)
14
        Comparable Services Provided by Western Asset
15
        WIW’s current sub-advisory fee paid to WAMCO                   0.27% of total assets
16                                                                     (approx. 0.37% of net assets)
        Western Asset Inflation Indexed Plus Bond Fund (WAFSX)         0.20% of net assets
17      Western Asset Private Client US TIPS Full Discretion Service   0.30% of assets up to $100 million
                                                                       0.15% of assets over $100 million
18
           459. In light of these comparisons, WIA’s current investment advisory fees
19
     paid to the Western Asset Defendants of 0.40% of total assets are plainly excessive, as
20
     are the contemplated fees of 0.35% of total assets. The fees Western Asset charges for
21
     comparable services are 0.20% of net assets or less when those fees are subject to at
22
     least some degree of competitive pressure.
23
                   2.      WIA’s Closed-End Structure Enables Excessive Fees
24         460. As discussed above in relation to WIW, WIA’s closed end structure has
25 enabled it to maintain supra-competitive expenses because WIA’s managers need not
26 fear redemptions and declining assets.
27
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 1         461. As in the case of WIW, over the last several years WIA’s shares have
 2 almost always traded at a discount of over 10%, among the highest discounts of any
 3 closed-end bond fund.
 4                  3.    Fees Based on Total Assets Including Leverage are Excessive
 5         462. An additional problem with WIA’s fee structure is that, like WIW’s, its

 6 fees are calculated based on total assets rather than net assets.
 7        463. As of November 30, 2017, WIA had $529 million in total assets and
     $146 million in leverage outstanding. As such WIA had $383 million of net assets,
 8
     and leverage represented roughly 38% of WIA’s net assets. This amount of leverage
 9
     has been typical for WIA over the last few years.
10
           464. WIA’s current advisory fees of 0.40% of total assets are in fact even
11
     more facially excessive when translated to the more fair base of net assets. Applying
12
     the 0.40% advisory fee to WIA’s total assets is equivalent to applying a fee of 0.55%
13
     to WIA’s net assets, due to WIA’s leverage equal to 38% of net assets.14
14
           465. As with WIW, WIA’s leverage serves little purpose other than to
15
     generate higher fees. Adding WIA’s weighted average rate for interest expense of
16
     1.07% to WIA’s 0.40% of total assets investment advisory fee produces, before
17
     administrative and other costs, a combined expense of 1.47% applicable to borrowed
18 funds, as compared to current yields for intermediate-term Treasury securities of
19 approximately 2.70%. Unsurprisingly given WIA’s high expenses and low-yielding
20 investments, annual total returns for WIA over the last five years average 0.69% based
21 on NAV, and 1.17% based on market price (see Table 8 at paragraph 196).
22
23
24
25         14
                138% * 0.40% = 0.552%
26              0.55% * $383 million = $2.11 million
27              0.40% * $529 million = $2.11 million

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 1         466. Because roughly 80% of WIA’s total assets are invested in low-yielding
 2 TIPs, the high advisory fees and leverage costs consume a very large portion of
 3 WIA’s meager investment returns.
 4      467. Like WIA’s current fees, WIA’s new advisory fees to take effect on or
 5 about April 27, 2018 are even more facially excessive when translated to the more fair
 6 base of net assets. Applying the 0.35% advisory fee to WIA’s total assets is equivalent
 7 to applying a fee of 0.48% to WIA’s net assets, due to WIA’s leverage equal to 38%
                 15
 8 of net assets.
           468. In comparison, as demonstrated above the Western Asset Defendants
 9
     provide comparable services to WAFSX for only 0.20% of net assets.
10
           C.       WIA’s Profitability to Western Asset
11
           469. Plaintiff incorporates by reference the general allegations set forth above
12
     in paragraphs 414–419 regarding this factor in the context of WIW, and further makes
13
     the following allegations specific to WIA.
14
           470. As discussed above in relation to WIW, average profit margins for
15
     investment advisory services in the fund industry are exceptionally high, due to the
16
     industry’s structural conflicts of interest and weak competition. However, the Western
17
     Asset Defendants likely obtain even greater profit levels from WIA. As discussed
18
     above, the advisory fees charged to WIA are substantially higher than the fees that
19
     these Defendants and their affiliates charge to WAFSX and private clients for
20 comparable services.
21      471. Based on information and belief a reasonable opportunity for discovery
22 will show that the Western Asset Defendants’ profit margins obtained from WIA are
23
24
25         15
                138% * 0.35% = 0.483%
26              0.48% * $383 million = $1.84 million
27              0.35% * $529 million = $1.85 million (discrepancy due to rounding)

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 1 substantially in excess of already high industry averages, and completely
 2 disproportionate to the services rendered.
 3        D.     Economies of Scale Realized by Western Asset
 4        472. Plaintiff incorporates by reference the general allegations set forth above
 5 in paragraphs 420–428 regarding this factor in the context of WIW, and further makes
 6 the following allegations specific to WIA.
 7        473. In the case of WIA, economies of scale are entirely captured by the

 8 Western Asset Defendants and are not passed on to shareholders. WIA’s investment
   advisory agreements provide for an annual fee of 0.40% (or 0.35% under the proposed
 9
   new fees) of total assets with no breakpoints.
10
          474. In contrast, when subjected to the threat of competition, Western Asset
11
   charges substantially lower fees with a breakpoint for nearly identical services. As
12
   discussed above Western Asset advertises its US TIPS Full Discretion separate
13
   account advisory service for a fee of 0.30% of assets up to $100 million and 0.15% of
14
   assets over $100 million. As admitted in WIA’s most recent annual report, “the
15
   management fee paid by [WIA] was higher than the average of the fees paid by clients
16
   of Western Asset for accounts with similar investment strategies.”
17
          475. As of November 30, 2017 WIA had $383 million in net assets, and $529
18
   million in total assets, both of which are far in excess of the $100 million breakpoint
19
   level provided for Western Asset’s private clients. Yet Defendants provide no
20 reduction of WIA’s excessive fees.
21        476. Furthermore, economies of scale are even greater when viewing WIW
22 and WIA together. The Funds have very similar investment policies and receive
23 similar services from the Western Asset Defendants. As of November 30, 2017 the
24 Funds had a combined $1.17 billion in net assets and $1.61 billion in total assets.
25 Again, no breakpoints are provided to reduce the Funds’ excessive fees.
26
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 1         E.    Fall-Out Financial Benefits to Western Asset
 2         477. Plaintiff incorporates by reference the allegations regarding fall-out
 3 benefits to Western Asset as set forth above in paragraphs 429-433 regarding this
 4 factor in the context of WIW.
 5         F.    Independence and Care of WIA’s Board of Trustees
 6         478. Plaintiff incorporates by reference the general allegations set forth above

 7 in paragraphs 326–375 regarding this factor in the context of WIW. Plaintiff further
 8 makes the following allegations specific to WIA.
           479. WIA’s Board of Trustees is identical to WIW’s Board of Trustees. Until
 9
     recently it consisted of Michael Larson, Ronald A. Nyberg, Ronald E. Toupin, Jr., and
10
     Jane Trust. Following WIA’s receipt of Plaintiff’s demand letter, Ms. Trust resigned
11
     from the Board on December 19, 2017. None of the Trustees has acted with sufficient
12
     independence or care to protect WIA’s shareholders’ interests.
13
                 1.     The Trustees’ Inattention to WIA’s Affairs
14
           480. As discussed above in the context of WIW, the inattention of WIA’s
15
     Trustees is first and foremost evidenced by the Trustees’ failure over many years from
16
     2003 to 2017 to even attempt to reduce WIA’s excessive fee payments.
17
           481. Board minutes reveal that in 2016 WIA’s Trustees approved the hiring of
18
     independent consultant Barrington Partners to review the fees charged by WIA’s
19
     custodian bank, however it appears that no such consultant was ever hired to
20 scrutinize the advisory fees charged by the Western Asset Defendants.
21        482. Although WIA’s annual reports dutifully describe the process by which
22 the Trustees approve WIA’s advisory agreements each year, this process appears to be
23 a mere formality leading to the annual rubber-stamping of the Western Asset
24 Defendants’ excessive fees.
25         483. In fact, WIA even delegated to LMPFA the responsibility to calculate
26 and oversee the fees charged to WIA by WAMCO, LMPFA and their affiliates. See
27
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 1 WIA Administrative Services Agreement at §3(b) and SCHEDULE A §§(c)-(e)
 2 (listing duties of the administrator such as “Oversee and review calculations of fees
 3 paid to the administrator, the investment adviser, the custodian, the shareholder
 4 servicing agent, the transfer agent and any other entity providing authorized services
 5 to the Fund”).
 6        484. These practices represent negligent oversight of WIA’s investment

 7 advisers and their fees by WIA’s Trustees.
 8       485. Second, each of the Trustees is likely incapable of devoting sufficient
     time to WIA’s business in order to adequately protect WIA’s interests, in light of the
 9
     substantial competing demands on the Trustees’ time, as described above in the
10
     context of WIW.
11
           486. Third, the Trustees’ inattention to WIA’s affairs is also demonstrated by
12
     the overdue remedial actions only taken after Plaintiff sent his demand letter of
13
     November 27, 2017.
14
           487. As discussed above, the Trustees took no actions to correct various
15
     lingering problems with WIA over the course of many years, until forced to do so by
16
     Plaintiff’s threat of legal action. In contrast, the Trustees did not hesitate to take other
17
     actions to protect themselves (e.g., secretly and unilaterally amending WIA’s bylaws
18
     to add a forum selection provision in 2015) or to enrich the Defendants and their
19
     affiliates (e.g., more than doubling administrative fees in 2012).
20         488. The Trustees’ overdue corrective actions included, inter alia: (i) the
21 resignation of conflicted Trustee Jane Trust, (ii) WIA’s public SEC filing of amended
22 bylaws more than two years after they should have been disclosed to shareholders,
23 (iii) WIA’s determination that it had overpaid GFDI for its services by more than $1
24 million, and (iv) WIA’s renegotiation of fees to somewhat less excessive levels to take
25 effect on or about April 27, 2018.
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 1         489. Fourth, the Trustees’ inattention to WIA is further demonstrated by their
 2 allowing its shares to trade at a large, persistent discount to NAV over many years, to
 3 the detriment of WIA’s shareholders, while taking no corrective action.
 4        490. Over the last several years WIA’s shares have generally traded at a
 5 discount to NAV of over 10%, among the largest discounts of all closed-end bond
 6 funds. Under WIA’s Agreement and Declaration of Trust, WIA’s assets are to be held
 7 in trust by the Trustees for the benefit of WIA’s shareholders. However, the Trustees
 8 continue to allow a large discount that harms shareholders by preventing them from
     realizing the full value of WIA’s assets.
 9
           491. Notably, WIA’s investment advisory and other fees are calculated based
10
     on total assets, not based on the market value of its shares. As such the interests of
11
     WIA’s investment advisers, and the Trustees who appear to operate in the interests of
12
     the advisers, are not aligned with those of shareholders. A WIA shareholder selling
13
     shares must do so at an approximately 10% discount to NAV, however this large,
14
     persistent discount causes no commensurate reduction in WIA’s fees. If fees paid by
15
     WIA, as reflected throughout this Complaint, were to be expressed as a percentage of
16
     WIA’s market value instead of WIA’s total assets, those fees would appear even
17
     greater in percentage terms.
18
           492. If the Trustees had been paying sufficient attention to WIA’s affairs, the
19
     discount problem would have been corrected long ago, and the other problems
20 discussed above would have been corrected years earlier without necessitating a threat
21 of legal action from Plaintiff to spur the Trustees into action.
22                2.     The Independence of Trustees Nyberg, Trust and Toupin
23         493. Notwithstanding the Trustees’ severe time constraints, Trustees Nyberg
24 and Toupin each receive at least $35,000 annually from WIA for serving as Trustees.
25 They each receive a total of over $400,000 annually from WIA and the other Western
26 Asset or Guggenheim affiliated funds. The substantial amount of these payments calls
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 1 into question whether Trustees Nyberg and Toupin are more loyal to WIA’s
 2 shareholders or to the management companies in control of the fund complexes that so
 3 richly reward them.
 4        494. Similarly, Trustee Jane Trust is a high level executive at Legg Mason,
 5 presumably receiving compensation from Legg Mason commensurate with the
 6 seniority of her position. As discussed above, Western Asset is owned by Legg
 7 Mason. Ms. Trust’s likely substantial compensation from Legg Mason calls into
 8 question whether she is more loyal to WIA’s shareholders or to the Legg
     Mason/Western Asset fund complex.
 9
           495. These allegations regarding the high levels of compensation received by
10
     Trustees Nyberg, Toupin and Trust from the Western Asset and Guggenheim fund
11
     complexes are reinforced by the Trustees’ track record of ignoring problems at WIA,
12
     and allowing the Defendants to profit at WIA shareholders’ expense by charging
13
     excessive advisory fees.
14
                  3.     Mr. Larson’s Conflicts of Interest Involving Cascade
15
           496. As discussed above in the context of WIW, Mr. Larson’s conflicted
16
     actions appearing to favor the interests of Cascade over those of WIA shareholders
17
     show that he has generally not acted with sufficient care or loyalty in his duties as a
18
     WIA Trustee.
19
           497. Cascade owns approximately $80 million worth of WIA shares. Cascade
20 is by far WIA’s largest shareholder currently holding 23.8% of all WIA shares. As a
21 Trustee with fiduciary duties Mr. Larson must not favor his own interests, or those of
22 his employer Cascade, over the interests of WIA or its shareholders.
23       498. The interests of WIA shareholders would have best been served at all
24 times by the Trustees taking prompt action to reduce WIA’s excessive fees and the
25 discount at which WIA shares trade. Given his status as a Trustee and his control over
26 WIA’s largest shareholder, Mr. Larson at all times had tremendous power to fix
27
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 1 WIA’s excessive fees and discount to NAV. However, no such steps were taken until
 2 2018 after Plaintiff threatened legal action. Even then only insufficient corrective
 3 measures were introduced that allowed WIA’s excessive fees and discount to persist
 4 indefinitely.
 5         499. Cascade, under Mr. Larson’s direction, has substantially increased its

 6 ownership of WIA over the last decade while the shares have traded at a steep
 7 discount. Cascade owned 7.8% of WIA shares as of March 2007, 15.5% of WIA
 8 shares as of March 2012, and currently owns 23.8% of WIA shares.
          500. If WIA had purchased and retired these shares instead of allowing
 9
   Cascade to purchase the shares, substantial benefits would have accrued to all WIA
10
   shareholders (i.e., an immediate risk-free return for WIA equal to the aggregate
11
   discount on the purchased shares, or approximately $7 million). However, because
12
   Mr. Larson caused WIA to forego this opportunity and instead caused Cascade to
13
   make these purchases, the benefits that rightfully belonged to WIA and its
14
   shareholders have accrued and will accrue to Cascade and Mr. Larson.
15
          501. Likewise, if Larson and Cascade had foregone Cascade’s share purchases
16
   this could have benefitted shareholders even in the absence of any repurchases by
17
   WIA. Because of WIA’s large discount to NAV and highly liquid portfolio, absent
18
   Cascade’s 23% stake in WIA it is likely that an activist investor would have
19
   accumulated a large position and sought reforms to benefit all shareholders, such as
20 fee reductions or conversion to an open-end structure. Because Cascade has a 23%
21 stake, it can effectively block and deter activist investors.
22        502. Cascade’s substantial purchases of shares in a closed-end fund for which
23 Cascade’s Business Manager is the Chairman are highly unusual. Based on
24 information and belief, in percentage terms these (and Cascade’s similar purchases of
25 WIW shares) are among the largest purchases of shares in any closed-end fund by one
26 of the fund’s trustees (or affiliates of such a trustee) in recent history, and perhaps
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 1 since the enactment of the Investment Company Act of 1940. There is no indication in
 2 WIA’s public filings that Cascade’s large purchases were reviewed or approved by
 3 independent counsel or independent financial consultants for compliance with Mr.
 4 Larson’s fiduciary duties to WIA shareholders.
 5        503. If WIA had repurchased and retired the shares instead bought by

 6 Cascade, this would have reduced WIA’s total assets and therefore reduced the
 7 Defendants’ fees. That provided a powerful incentive for Mr. Larson and WIA’s other
 8 Trustees, who appear to be more loyal to the Defendants and the Western Asset and
   Guggenheim fund complexes than they are to WIA’s shareholders, not to make such
 9
   repurchases.
10
              4. Mr. Larson’s Conflicts of Interest Involving Western Asset
11
          504. As discussed above, significant aspects of material relationships between
12
   (i) Mr. Larson, Bill Gates, and other persons affiliated with them, and (ii) Western
13
   Asset remain undisclosed to WIA shareholders. Such relationships appear to have
14
   compromised Mr. Larson’s judgment and independence which should have been
15
   exercised in favor of WIA’s shareholders.
16
          505. WIA, at Plaintiff’s urging, recently began disclosing that Western Asset
17
   has provided advice with respect to perhaps billions of dollars of Bill Gates’s fortune
18
   for the last two decades. However, this disclosure consists of only a vague footnote in
19
   WIA’s proxy statement, and is nowhere near an adequate explanation of the
20 relationships involved and the potential conflicts of interest for WIA’s purportedly
21 independent Chairman, Mr. Larson. The footnote reads:
22
         Mr. Larson is the chief investment officer for William H. Gates III and in
23       that capacity oversees the investments of Mr. Gates and the investments
24       of the Bill and Melinda Gates Foundation Trust. Since 1997, Western
         Asset has provided discretionary investment advice with respect to one or
25
         more separate investment portfolios for Mr. Gates and the Bill and
26       Melinda Gates Foundation Trust. Since the beginning of the last two
         completed fiscal years/periods of the Fund, at no time did the value of
27
28
                                             109
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 1        those investment portfolios exceed 0.5% of Western Asset’s total assets
          under management. No changes to these arrangements are currently
 2        contemplated.
 3        506. Gates’s relationship with Western Asset is a source of potential conflicts
 4 for Mr. Larson because it places him in a position to potentially obtain preferred
 5 treatment for Gates from Western Asset by allowing Western Asset to profit at Fund
 6 shareholders’ expense.
 7        507. Based on the high fees paid by WIA and the lower fees charged by
 8 Western Asset to private clients for similar services, it appears likely that Mr. Larson
 9 has obtained more favorable fees for Bill Gates’s other investments with Western
10 Asset than he has for WIA.
          508. Likewise, additional questions about Mr. Larson’s loyalty to WIA
11
   shareholders are raised by the long-standing personal relationship between Mr. Larson
12
   and Steve Walsh, former Western Asset Chief Investment Officer and WIA portfolio
13
   manager. Their close relationship creates the risk that Larson may act in the interests
14
   of Walsh and Western Asset rather than in the interests of WIA’s shareholders.
15
          509. Given WIA’s generally poor management by the Trustees and the
16
   numerous entanglements between WIA’s purportedly independent Chairman and the
17
   Western Asset fund complex, Mr. Larson’s loyalty as a WIA Trustee must be called
18
   into question.
19
             5. Conflicts of Interest of the Trustees’ “Independent” Counsel
20
          510. The law firm of Paul Hastings LLP provides legal representation to
21
   WIA’s purportedly independent Trustees in connection with their duties as
22 independent Trustees for WIA. As reflected in WIA’s board minutes, each year the
23 Trustees consider Paul Hastings’ conflicts of interest, and each year the Trustees
24 decide that Paul Hastings should nonetheless continue to serve as “independent”
25 counsel.
26
27
28
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 1        511. For example, minutes of a February 21, 2017 joint meeting of the Funds’
 2 Boards of Trustees provide:
 3
          RESOLVED, that, having obtained and reviewed information provided
 4        by Paul Hastings LLP to the [Independent Trustees] . . . with respect to
          any representation by Paul Hastings of Security Investors, LLC, Western
 5
          Asset Management Company, Western Asset Management Company Pte.
 6        Ltd. (in Singapore), Western Asset Management Company Limited (in
          London), Western Asset Management Company Ltd (in Tokyo), Legg
 7
          Mason Partners Fund Advisor, LLC or any of their control persons . . .
 8        the Independent Trustees hereby determine that any such representation
          is or was sufficiently limited that it is unlikely to adversely affect the
 9
          professional judgment of Paul Hastings in providing legal representation
10        to the Independent Trustees.
11        512. As discussed above in the context of WIW, it appears that Paul Hastings
12 performs substantial amounts of work for affiliates of Guggenheim, for which it likely
13 receives substantial compensation. This calls into question where the true loyalties of
14 Paul Hastings lie, and why the “Independent Trustees” never decided to retain truly
15 independent counsel.
16       513. These allegations are all the more significant in light of Paul Hastings’

17 involvement in the independent Trustees’ approval of WIA’s advisory fees. As stated
   in WIA’s annual report under the heading “Board approval of management and
18
   subadvisory agreements,” “In their deliberations with respect to these matters, the
19
   Independent Trustees were advised by their independent counsel, who is independent .
20
   . . of the Advisers. The Independent Trustees weighed each of the foregoing matters in
21
   light of the advice given to them by their independent counsel as to the law applicable
22
   to the review of investment advisory contracts.”
23
                      XV. EXCESSIVE FEES HARM THE FUNDS
24
           514. Investment advisory fees are paid to Defendants out of the Funds’ assets.
25
   Each dollar in fees paid by the Funds directly reduces the value of the Funds’ invest-
26
   ment portfolio.
27
28
                                              111
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 1        515. Additionally, the payment of excessive investment advisory fees to De-
 2 fendants harms the Funds on an ongoing basis because the Funds lose investment re-
 3 turns and profits that they could have earned on the amounts paid out as fees to De-
 4 fendants.
 5        516. The Funds have sustained millions of dollars in damages due to the ex-

 6 cessive investment advisory fees paid to Defendants.
 7       517. During the Funds’ most recently completed fiscal years, ended November

 8 30, 2017, WIW paid Defendants $6,489,372 in investment advisory fees and WIA
   paid Defendants $2,115,515 in investment advisory fees.
 9
           518. Relevant fee comparisons indicate that WIW should have paid at most
10
   approximately $1,564,825 (calculating fees based on 0.20% of year-end net assets),
11
   meaning that it paid the Defendants more than 4 times as much as it should have. Sim-
12
   ilarly, last year WIA should have paid at most approximately $763,224, meaning that
13
   it paid the Defendants more than twice as much as it should have.
14
           519. Based on these fee comparisons, in the year ended November 30, 2017
15
   WIW paid at least $4,924,547 in excess fees to the Defendants, and WIA paid at least
16
   $1,352,291 in excess fees to the Defendants.
17
           520. The Funds have announced new fee arrangements to take effect on or
18
   about April 27, 2018. The proposed fee arrangements remain excessive and will con-
19
   tinue to damage the Funds on an ongoing basis.
20                                       COUNT I
21                              For Violation of Section 36(b)
22                             (On Behalf of WIW Against SI)
23        521. Plaintiff repeats and re-alleges all of the foregoing allegations as if fully
24 set forth herein.
25        522. Plaintiff asserts this count, on behalf of and for the benefit of WIW,
26 against Defendant SI.
27
28
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 1         523. Defendant SI is the primary investment adviser to WIW, which directly
 2 pays investment advisory fees to SI.
 3         524. Under Section 36(b), SI owes a fiduciary duty to WIW with respect to its
 4 receipt of investment advisory fees and other compensation from WIW.
 5       525. SI breached its fiduciary duties under Section 36(b) by charging invest-

 6 ment advisory fees that are so disproportionately large that they bear no reasonable
 7 relationship to the value of the services provided by SI and could not have been the
 8 product of arm’s-length bargaining.
          526. In charging and receiving such excessive fees and failing to put the inter-
 9
   ests of WIW and its shareholders ahead of its own interests, SI has breached its statu-
10
   tory fiduciary duties to WIW and its shareholders.
11
          527. As a direct, proximate, and foreseeable result of SI’s breach of its fiduci-
12
   ary duties under Section 36(b), WIW has sustained millions of dollars in damages.
13
          528. Pursuant to Section 36(b)(3), Plaintiff seeks to recover, on behalf of and
14
   for the benefit of WIW, the actual damages resulting from SI’s breaches of its fiduci-
15
   ary duties, including the excessive investment advisory fees paid by WIW to SI and
16
   investment returns that would have accrued to WIW had those fees remained in the
17
   portfolio and available for investment.
18
          529. Alternatively, under Section 47(b) of the ICA, 15 U.S.C. § 80a-46(b),
19
   Plaintiff seeks rescission of the applicable investment advisory agreements and restitu-
20 tion of all excessive investment advisory fees paid by WIW pursuant to those agree-
21 ments.
22       530. WIW has announced that SI will be removed as investment adviser on or
23 about April 27, 2018. If and to the extent that SI may continue to act as investment
24 adviser, it is expected that SI will continue to breach its fiduciary duties under Section
25 36(b) and will continue to cause ongoing damages to WIW.
26
27
28
                                               113
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 1                                        COUNT II
 2                            For Violation of Section 36(b)
                (On Behalf of WIW Against the Western Asset Defendants)
 3
 4        531. Plaintiff repeats and re-alleges all of the foregoing allegations as if fully

 5 set forth herein.
          532. Plaintiff asserts this count, on behalf of and for the benefit of WIW,
 6
   against Defendants WAMCO, WA Japan, WA London, and WA Singapore.
 7
          533. Defendants WAMCO, WA Japan, WA London, and WA Singapore are
 8
   investment sub-advisers to WIW, and receive payment from WIW indirectly via SI.
 9
          534. Under Section 36(b), each Western Asset Defendant owes a fiduciary du-
10
   ty to WIW with respect to its receipt of investment advisory fees and other compensa-
11
   tion from WIW.
12
          535. The Western Asset Defendants breached their fiduciary duties under Sec-
13
   tion 36(b) by charging investment advisory fees that are so disproportionately large
14
   that they bear no reasonable relationship to the value of the services provided by the
15
   Western Asset Defendants and could not have been the product of arm’s-length bar-
16
   gaining.
17        536. In charging and receiving such excessive fees and failing to put the inter-
18 ests of WIW and its shareholders ahead of their own interests, the Western Asset De-
19 fendants have breached their statutory fiduciary duties to WIW and its shareholders.
20        537. As a direct, proximate, and foreseeable result of the Western Asset De-
21 fendants’ breach of their fiduciary duties under Section 36(b), WIW has sustained mil-
22 lions of dollars in damages.
23        538. Pursuant to Section 36(b)(3), Plaintiff seeks to recover, on behalf of and
24 for the benefit of WIW, the actual damages resulting from the Western Asset Defend-
25 ants’ breaches of their fiduciary duties, including the excessive investment advisory
26 fees paid to the Western Asset Defendants and investment returns that would have ac-
27 crued to WIW had those fees remained in the portfolio and available for investment.
28
                                              114
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 1         539. Alternatively, under Section 47(b) of the ICA, 15 U.S.C. § 80a-46(b),
 2 Plaintiff seeks rescission of the applicable investment advisory agreements and restitu-
 3 tion of all excessive investment advisory fees paid by WIW pursuant to those agree-
 4 ments.
 5         540. WIW has announced that new advisory fee arrangements will take effect

 6 on or about April 27, 2018. Under the revised fee arrangements, although overall fee
 7 levels will decrease due to the elimination of SI and its fees, the Western Asset De-
 8 fendants’ fee levels from WIW will in fact increase for performing the same services
   as before. Therefore, it is expected that the Western Asset Defendants will continue to
 9
   breach their fiduciary duties under Section 36(b) and will continue to cause ongoing
10
   damages to WIW.
11
                                          COUNT III
12
                                 For Violation of Section 36(b)
13              (On Behalf of WIA Against the Western Asset Defendants)
14
          541. Plaintiff repeats and re-alleges all of the foregoing allegations as if fully
15
   set forth herein.
16
          542. Plaintiff asserts this count, on behalf of and for the benefit of WIA,
17 against Defendants WAMCO, WA Japan, WA London, and WA Singapore.
18         543. Defendant WAMCO is the primary investment adviser to WIA, which di-
19 rectly pays investment advisory fees to WAMCO. Defendants WA Japan, WA Lon-
20 don, and WA Singapore are investment sub-advisers to WIA, and receive payment
21 from WIA indirectly via WAMCO.
22      544. Under Section 36(b), each Western Asset Defendant owes a fiduciary du-
23 ty to WIA with respect to its receipt of investment advisory fees and other compensa-
24 tion from WIA.
25         545. The Western Asset Defendants breached their fiduciary duties under Sec-
26 tion 36(b) by charging investment advisory fees that are so disproportionately large
27 that they bear no reasonable relationship to the value of the services provided by the
28
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 1 Western Asset Defendants and could not have been the product of arm’s-length bar-
 2 gaining.
 3         546. In charging and receiving such excessive fees and failing to put the inter-
 4 ests of WIA and its shareholders ahead of their own interests, the Western Asset De-
 5 fendants have breached their statutory fiduciary duties to WIA and its shareholders.
 6         547. As a direct, proximate, and foreseeable result of the Western Asset De-

 7 fendants’ breach of their fiduciary duties under Section 36(b), WIA has sustained mil-
 8 lions of dollars in damages.
           548. Pursuant to Section 36(b)(3), Plaintiff seeks to recover, on behalf of and
 9
     for the benefit of WIA, the actual damages resulting from the Western Asset Defend-
10
     ants’ breaches of their fiduciary duties, including the excessive investment advisory
11
     fees paid by WIA to the Western Asset Defendants and investment returns that would
12
     have accrued to WIA had those fees remained in the portfolio and available for in-
13
     vestment.
14
           549. Alternatively, under Section 47(b) of the ICA, 15 U.S.C. § 80a-46(b),
15
     Plaintiff seeks rescission of the applicable investment advisory agreements and restitu-
16
     tion of all excessive investment advisory fees paid by WIA pursuant to those agree-
17
     ments.
18
           550. WIA has announced that new advisory fee arrangements will take effect
19
     on or about April 27, 2018. Under the revised fee arrangements the Western Asset De-
20 fendants’ fee levels from WIA will decrease only slightly and will remain excessive.
21 Therefore, it is expected that the Western Asset Defendants will continue to breach
22 their fiduciary duties under Section 36(b) and will continue to cause ongoing damages
23 to WIA.
24
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 1                                 PRAYER FOR RELIEF
 2       WHEREFORE, Plaintiff prays for relief and judgment on behalf of the Funds as
 3 follows:
 4            a. Declaring that Defendants have violated Section 36(b), 15 U.S.C. § 80a-
 5               35(b), through the receipt of excessive investment advisory fees from the
 6               Funds;
 7            b. Permanently enjoining Defendants from further violations of Section
 8               36(b);
 9
              c. Awarding compensatory damages against Defendants, including repay-
10
                 ment to the Funds of all unlawful and excessive investment advisory fees
11
                 paid to Defendants by the Funds from one year prior to the commence-
12
                 ment of this action through the date of final judgment after trial, lost in-
13
                 vestment returns on those amounts, and interest thereon;
14
              d. Rescinding the applicable investment advisory agreements pursuant to
15
                 Section 47 of the ICA, 15 U.S.C. § 80a-46, including restitution to the
16
                 Funds of the excessive investment advisory fees paid to Defendants by
17
                 the Funds from one year prior to the commencement of this action
18
                 through the date of final judgment after trial, lost investment returns on
19
                 those amounts, and interest thereon;
20
              e. Awarding Plaintiff reasonable costs in this action, including attorneys’
21
                 fees, expert witness fees, and such other items as may be allowed to the
22
                 maximum extent permitted by law; and
23
              f. Awarding such other and further relief as this Court may deem just and
24
                 proper.
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                                   Exhibit List

   Exhibit 1 – Shareholder Demand Letter to WIW Trustees

   Exhibit 2 – Shareholder Demand Letter to WIA Trustees

   Exhibit 3 – WIW Advisory Agreement

   Exhibit 4 – WIW Sub-Advisory Agreement

   Exhibit 5 – Comparison of WIW Sub-Advisory Agreement Section 3(a) to WIW
               Advisory Agreement Section 3(a)

   Exhibit 6 – WIW New Advisory Agreement

   Exhibit 7 – Comparison of WIW New Advisory Agreement Section 3(a) to WIW
               Advisory Agreement Section 3(a)

   Exhibit 8 – WIW New Sub-Advisory Agreement

   Exhibit 9 – WIW Administrative Services Agreement

   Exhibit 10 – WIA Advisory Agreement

   Exhibit 11 – Comparison of WIA Advisory Agreement Section 3(a) to WIW
                Advisory Agreement Section 3(a)

   Exhibit 12 – WAFSX Advisory Agreement

   Exhibit 13 – Comparison of WAFSX Advisory Agreement Section 3(a) to WIA
                Advisory Agreement Section 3(a)

   Exhibit 14 – WAFSX Sub-Advisory Agreement

   Exhibit 15 – Comparison of WIW Advisory Agreement Exhibit A to WIW
                Administrative Services Agreement Schedule A
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                  Exhibit 3
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                                      WIW Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/1267902/000104746904005444/
                  a2127885zex-99_g1.txt

   NOTE: Minor formatting changes have been made here to the version available online


                   INVESTMENT ADVISORY AGREEMENT

       This INVESTMENT ADVISORY AGREEMENT, made this ___ day of _________, by and
   between Western Asset/Claymore U.S. Treasury Inflation Protected Securities Fund 2, a
   Massachusetts business trust (the "Trust"), and Claymore Advisors, LLC, a Delaware limited
   liability company (the "Advisor").

      WHEREAS, the Trust is registered as a closed-end management investment company under
   the Investment Company Act of 1940, as amended ("1940 Act"); and

     WHEREAS, the Trust wishes to retain the Advisor to provide certain investment advisory,
   management, administrative and shareholder services; and

      WHEREAS, the Advisor is willing to furnish such services on the terms and conditions
   hereinafter set forth;

      NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

       1. The Trust hereby appoints Claymore Advisors, LLC as Advisor of the Trust for the period
   and on the terms set forth in this Agreement. The Advisor accepts such appointment and agrees
   to render the services herein set forth, for the compensation herein provided.

      2. The Trust shall at all times keep the Advisor fully informed with regard to the securities
   and other property owned by it, its funds available, or to become available, for investment, and
   generally as to the condition of its affairs. It shall furnish the Advisor with such other documents
   and information with regard to its affairs as the Advisor may from time to time reasonably
   request.

      3. (a) Subject to the supervision of the Trust's Board of Trustees (the "Trustees"), the Advisor
   shall regularly provide the Trust with investment research, advice, management and supervision
   and shall furnish a continuous investment program for the Trust consistent with the Trust's
   investment objectives, policies and restrictions. The Advisor shall determine from time to time
   what securities or other property will be purchased, retained or sold by the Trust, and shall
   implement those decisions, all subject to the provisions of the Trust's Agreement and Declaration
   of Trust and By-Laws, the 1940 Act, the applicable rules and regulations of the Securities and
   Exchange Commission, and other applicable federal and state law, as well as the investment
   objectives, policies and restrictions of the Trust, as each of the foregoing may be amended from



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   time to time. The Advisor will place orders pursuant to its investment determinations for the
   Trust either directly with the issuer or with any broker, dealer or futures commission merchant
   (collectively, a "broker"). In the selection of brokers and the placing of orders for the purchase
   and sale of portfolio investments for the Trust, the Advisor shall seek to obtain the most
   favorable price and execution available, except to the extent it may be permitted to pay higher
   brokerage commissions for brokerage and research services as described below. In using its best
   efforts to obtain for the Trust the most favorable price and execution available, the Advisor,
   bearing in mind the Trust's best interests at all times, shall consider all factors it deems relevant,
   including, by way of illustration, price, the size of the transaction, the nature of the market for
   the security, the amount of the commission, the timing of the transaction taking into account
   market prices and trends, the reputation, experience and financial stability of the broker involved
   and the quality of service rendered by the broker in other transactions. Subject to such policies as
   the Trustees may determine, the Advisor shall not be deemed to have acted unlawfully or to have
   breached any duty created by this Agreement or otherwise solely by reason of its having caused
   the Trust to pay, on behalf of the Trust, a broker that provides brokerage and research services to
   the Advisor or any affiliated person of the Advisor an amount of commission for effecting a
   portfolio investment transaction in excess of the amount of commission another broker would
   have charged for effecting that transaction, if the Advisor determines in good faith that such
   amount of commission was reasonable in relation to the value of the brokerage and research
   services provided by such broker, viewed in terms of either that particular transaction or the
   Advisor's overall responsibilities with respect to the Trust and to other clients of the Advisor and
   any affiliated person of the Advisor as to which the Advisor or any affiliated person of the
   Advisor exercises investment discretion. The Advisor shall also provide advice and
   recommendations with respect to other aspects of the business and affairs of the Trust, and shall
   perform such other functions of management and supervision, as may be directed by the
   Trustees.

       (b) In addition to the services to be provided by the Advisor pursuant to Paragraph 3(a) of this
   Agreement, the Advisor shall, subject to the supervision of the Trustees, provide the services set
   forth in EXHIBIT A attached hereto. In all matters pertaining to the performance of the services
   set forth in EXHIBIT A, the Advisor will act in conformity with the Trust's Agreement and
   Declaration of Trust, By-Laws and registration statements, each as amended from time to time,
   and with the directions of the Trustees and the Trust's executive officers; and will conform to and
   comply with the requirements of the 1940 Act and the rules and regulations thereunder and all
   other applicable federal or state laws and regulations. Notwithstanding any other provision of
   this Agreement, the Advisor shall be responsible for any expense it incurs in connection with its
   duties under this Paragraph 3(b).

      (c) The Trust hereby agrees with the Advisor and with any investment manager appointed
   pursuant to Paragraph 4 below (an "Investment Manager") that any entity or person associated
   with the Advisor or Investment Manager (or with any affiliated person of the Advisor or
   Investment Manager) that is a member of a national securities exchange is authorized to effect
   any transaction on such exchange for the account of the Trust which is permitted by Section
   11(a) of the Securities Exchange Act of 1934, as amended, and Rule 11a2-2(T) thereunder, and
   the Trust hereby consents to the retention of compensation for such transactions in accordance
   with Rule 11a2-2(T)(a)(2)(iv) or otherwise.



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      4. The Advisor may enter into a contract ("Investment Management Agreement") with one or
   more investment managers in which the Advisor delegates to such investment manager or
   investment managers any or all of its duties specified in Paragraph 3 hereunder. Such Investment
   Management Agreement must meet all requirements of the 1940 Act and the rules and
   regulations thereunder.

       5. (a) The Advisor, at its expense, shall supply the Board of Trustees and officers of the Trust
   with statistical information and reports reasonably requested by them and reasonably available to
   the Advisor and shall furnish the Trust with office facilities, including space, furniture and
   equipment and all personnel reasonably necessary for the operation of the Trust. The Advisor
   shall oversee the maintenance of all books and records with respect to the Trust's portfolio
   transactions and the keeping of the Trust's books of account in accordance with all applicable
   federal and state laws and regulations and shall perform such other administrative, bookkeeping
   or clerical duties as may be agreed upon by the parties. In compliance with the requirements of
   Rule 31a-3 under the 1940 Act, the Advisor hereby agrees that any records which it maintains
   for the Trust are the property of the Trust, and further agrees to surrender promptly to the Trust
   or its agents any of such records upon the Trust's request. The Advisor further agrees to arrange
   for the preservation of the records required to be maintained by Rule 31a-1 under the 1940 Act
   for the periods prescribed by Rule 31a-2 under the 1940 Act. The Advisor shall authorize and
   permit any of its directors, officers and employees, who may be elected as Trustees or officers of
   the Trust, to serve in the capacities in which they are elected. The Advisor may enter into a
   contract with one or more other parties in which the Advisor delegates to such party or parties
   any or all of the duties specified in this Paragraph 5(a).

      (b) Other than as herein specifically indicated, the Advisor shall not be responsible for the
   expenses of the Trust. Specifically (but without limitation), the Advisor will not be responsible
   for any of the following expenses of the Trust, which expenses shall be borne by the Trust:
   advisory fees; distribution fees; interest; taxes; governmental fees; fees, voluntary assessments
   and other expenses incurred in connection with membership in investment company
   organizations; the cost (including brokerage commissions or charges, if any) of securities or
   other property purchased or sold by the Trust and any losses in connection therewith; fees of
   custodians, transfer agents, registrars, administrators or other agents; legal expenses; expenses of
   preparing share certificates; expenses relating to the redemption or repurchase of the Trust's
   shares; expenses of registering and qualifying shares of the Trust for sale under applicable
   federal and state law; expenses of preparing, setting in print, printing and distributing
   prospectuses, reports, notices and dividends to Trust shareholders; costs of stationery; costs of
   shareholders' and other meetings of the Trust; Trustees' fees; audit fees; travel expenses of
   officers, Trustees and employees of the Trust, if any; and the Trust's pro rata portion of
   premiums on any fidelity bond and other insurance covering the Trust and/or its officers and
   Trustees.

      6. No Trustee, officer or employee of the Trust shall receive from the Trust any salary or
   other compensation as such Trustee, officer or employee while he or she is at the same time a
   director, officer, or employee of the Advisor or any affiliated company of the Advisor. This




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   Paragraph 6 shall not apply to Trustees, executive committee members, consultants and other
   persons who are not regular members of the Advisor's or any affiliated company's staff.

       7. As compensation for the services performed and expenses assumed by the Advisor,
   including the services of any consultants, investment managers or other parties retained by the
   Advisor, the Trust shall pay the Advisor an annual fee, payable on a monthly basis, at the annual
   rate of 0.60% of the Trust's average weekly assets. "Average Weekly Assets" means the average
   weekly value of the total assets of the Trust (including any assets attributable to leverage) minus
   accrued liabilities (other than liabilities representing leverage). For purposes of calculating
   Average Weekly Assets, neither the liquidation preference of any preferred shares of beneficial
   interest outstanding nor any liabilities associated with any instruments or transactions used to
   leverage the Trust's portfolio (whether or not such instruments or transactions are "covered"
   within the meaning of the 1940 Act and the rules and regulations thereunder, giving effect to any
   interpretations of the Securities and Exchange Commission and its staff) is considered a liability.
   In addition, with respect to reverse repurchase or dollar roll transactions ("Repurchase
   Transactions") entered into by the Trust, Average Weekly Assets includes (a) any proceeds from
   the sale of an asset (the "Underlying Asset") of the Trust to a counterparty in a Repurchase
   Transaction and (b) the value of such Underlying Asset as of the relevant measuring date. The
   first payment of the fee shall be made as promptly as possible at the end of the month succeeding
   the effective date of this Agreement. For any period less than a month during which this
   Agreement is in effect, the fee shall be prorated according to the proportion which such period
   bears to a full month of 28, 29, 30 or 31 days, as the case may be. For purposes of this
   Agreement and except as otherwise provided herein, the Average Weekly Assets of the Trust
   shall be calculated pursuant to procedures adopted by the Trustees of the Trust for calculating the
   value of the Trust's assets or delegating such calculations to third parties. In the event that the
   expenses of the Trust exceed any expense limitation which the Advisor may, by written notice to
   the Trust, voluntarily declare to be effective with respect to the Trust, subject to such terms and
   conditions as the Advisor may prescribe in such notice, the compensation due the Advisor shall
   be reduced, and, if necessary, the Advisor shall bear the Trust's expenses to the extent required
   by such expense limitation.

      8. In the absence of willful misfeasance, bad faith or gross negligence on the part of the
   Advisor, or reckless disregard of its obligations and duties hereunder, the Advisor shall not be
   subject to any liability to the Trust or to any shareholder of the Trust, for any act or omission in
   the course of, or connected with, rendering services hereunder.

       9. Nothing in this Agreement shall limit or restrict the right of any director, officer, or
   employee of the Advisor who may also be a Trustee, officer, or employee of the Trust to engage
   in any other business or to devote his or her time and attention to the management or other
   aspects of any other business, whether of a similar nature or a dissimilar nature, or limit or
   restrict the right of the Advisor to engage in any other business or to render services of any kind,
   including investment advisory and management services, to any other trust, firm, individual or
   association.

      10. As used in this Agreement, the terms "assignment," "interested person," "affiliated
   person," and "majority of the outstanding voting securities" shall have the meanings given to



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   them by Section 2(a) of the 1940 Act, subject to such exemptions as may be granted, issued or
   adopted by the Securities and Exchange Commission or its staff by any rule, regulation, or order;
   the term "specifically approve at least annually" shall be construed in a manner consistent with
   the 1940 Act and the rules and regulations thereunder; and the term "brokerage and research
   services" shall have the meaning given in the Securities Exchange Act of 1934, as amended, and
   the rules and regulations thereunder.

      11. This Agreement shall become effective upon its execution, and shall remain in full force
   and effect continuously thereafter (unless terminated automatically as set forth in Paragraph 12
   below) until terminated as follows:

         (a) Either party hereto may at any time terminate this Agreement by sixty days' written
   notice delivered or mailed by registered mail, postage prepaid, to the other party, or

          (b) If (i) the Trustees or the shareholders of the Trust by the vote of a majority of the
   outstanding voting securities of the Trust, and (ii) a majority of the Trustees who are not
   interested persons of the Trust or of the Advisor, by vote cast in person at a meeting called for
   the purpose of voting on such approval, do not specifically approve at least annually the
   continuance of this Agreement, then this Agreement shall automatically terminate at the close of
   business on the second anniversary of its execution, or upon the expiration of one year from the
   effective date of the last such continuance, whichever is later; PROVIDED, HOWEVER, that if
   the continuance of this Agreement is submitted to the shareholders of the Trust for their approval
   and such shareholders fail to approve such continuance of this Agreement as provided herein, the
   Advisor may continue to serve hereunder in a manner consistent with the 1940 Act and the rules
   and regulations thereunder.

       Action by the Trust under paragraph (a) of this Paragraph 11 may be taken either (i) by vote
   of a majority of the Trustees, or (ii) by the vote of a majority of the outstanding voting securities
   of the Trust.

      12. Except as otherwise provided herein, this Agreement shall terminate automatically in the
   event of its assignment by the Advisor and shall not be assignable by the Trust without the
   consent of the Advisor. Any termination of this Agreement pursuant to Paragraph 11 shall be
   without the payment of any penalty. This Agreement shall not be amended unless such
   amendment is approved by the vote of a majority of the outstanding voting securities of the Trust
   (provided that such shareholder approval is required by the 1940 Act and the rules and
   regulations thereunder, giving effect to any interpretations of the Securities and Exchange
   Commission and its staff), and by the vote, cast in person at a meeting called for the purpose of
   voting on such approval, of a majority of the Trustees who are not interested persons of the Trust
   or of the Advisor.

      13. The Advisor hereby grants to the Trust the nonexclusive right and license to use the mark
   "Claymore" (the "Licensed Mark") in the Trust's name and in connection with the formation,
   issuance, marketing, promotion and operations of, or disclosure related to, the Trust.




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   The Advisor agrees that it shall receive no compensation for any such use by the Trust. The
   Advisor hereby warrants and represents that it has filed applications and/or owns rights in the
   Licensed Mark sufficient to grant this license. No right, title or interest in the Licensed Mark,
   except the right to use the Licensed Mark as provided in this Agreement, is or will be transferred
   to the Trust by this Agreement. Should this Agreement be terminated, the Trust agrees that it will
   take reasonably necessary steps to change its name to a name not including the word
   "Claymore."

       14. The Advisor agrees on behalf of itself and its employees to treat confidentially and as
   proprietary information of the Trust all records and other information relative to the Trust, any
   Investment Manager appointed pursuant to Paragraph 4 hereof, and all prior, current or potential
   shareholders of the Trust and not to use such records and information for any purpose other than
   the performance of its duties hereunder. The Advisor also agrees that, without the prior written
   consent of the Trust, it will not disclose personal information of any shareholders of the Trust
   ("Personal Shareholder Information") or any other confidential information, including to its
   affiliates, unless it is required by law to disclose the information to the recipient of such
   information. The Advisor further agrees, represents and warrants that (a) only those employees
   of the Advisor who need to do so in carrying out their job responsibilities may access Personal
   Shareholder Information; (b) it maintains physical, electronic and procedural safeguards that
   comply with federal standards to protect confidentiality; and (c) it may use Personal Shareholder
   Information only for the purposes set forth in this Agreement. Upon termination of this
   Agreement, all confidential information shall be promptly returned unless otherwise agreed to by
   the parties, although copies may be retained.

      15. This Agreement embodies the entire agreement and understanding between the parties
   hereto, and supersedes all prior agreements and understandings relating to the subject matter
   hereof. Should any part of this Agreement be held or made invalid by a court decision, statute,
   rule or otherwise, the remainder of this Agreement shall not be affected thereby. This Agreement
   shall be binding and shall inure to the benefit of the parties hereto and their respective
   successors.

      16. A copy of the Trust's Agreement and Declaration of Trust is on file with the Secretary of
   The Commonwealth of Massachusetts, and notice is hereby given that this Agreement has been
   executed on behalf of the Trust by an officer of the Trust as an officer and not individually and
   the obligations of or arising out of this Agreement are not binding upon any of the Trustees,
   officers or shareholders of the Trust individually but are binding only upon the assets and
   property of the Trust.

      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
   executed by their officers thereunto duly authorized.

   Attest:               WESTERN ASSET/CLAYMORE U.S. TREASURY
                       INFLATION PROTECTED SECURITIES FUND 2


   By:                   By:



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   Attest:                CLAYMORE ADVISORS, LLC


   By:                   By:
     ----------------          ---------------------------------


                          EXHIBIT A

      - Reply to requests for information concerning the Trust from shareholders or prospective
   shareholders, brokers or the public;

      - Aid in the secondary market support of the Trust through regular written and oral
   communications with the Trust's New York Stock Exchange specialist, the closed-end fund
   analyst community and various information providers specializing in the dissemination of closed
   end fund information;

      - Prepare (or oversee the preparation) for review and approval by officers of the Trust
   financial information for the Trust's reports to be sent to the Trust's shareholders, and arrange for
   the printing and dissemination of such reports to shareholders;

      - Prepare (or oversee the preparation) for review by an officer of the Trust all reports
   required to be filed with the Securities and Exchange Commission, including reports on Forms
   N-SAR and N-CSR, and in the filing of such completed forms with the Securities and Exchange
   Commission;

       - Assist in the dissemination to shareholders of the Trust's proxy materials and assist in the
   filing of such materials with the Trust's regulators, and oversee the tabulation of proxies by the
   Trust's transfer agent;

      - Determine the amounts available for distribution as dividends and distributions to be paid
   by the Trust to its shareholders; prepare and arrange for the printing of dividend notices to
   shareholders; and assist in the preparation of materials relevant to the Trust's Dividend
   Reinvestment Plan;

      - Establish and maintain a toll-free number for sales support and marketing requests on an
   ongoing basis;

       - Develop and maintain, as agreed by the Trust, a website for the Trust which will provide
   daily and weekly updates, daily net asset value and price information, monthly distribution
   notifications and such other information reasonably requested by the Trust, as well as hyperlinks
   to the websites of the Advisor and any Investment Manager appointed pursuant to Paragraph 4
   above, for added information;



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      - Make the Trust and any Investment Manager aware of trading strategies that might be
   used for the Trust and communicate to the investment community any changes made to the
   Trust's trading strategies;

      - Assist, as agreed by the Trust, in the provision of materials regarding the Trust to the
   investment community and current and prospective investors;

       - Assist in the review of materials made available to shareholders and prospective investors
   to assure compliance with applicable laws, rules and regulations;

      - Oversee, as agreed by the Trust, the dissemination of the Trust's net asset value, market
   price and discount;

      - Host analyst meetings as appropriate;

      - Provide persons to serve as officers and trustees of the Trust, as the Trust may request;

      - Maintain ongoing contact with brokers in branch offices whose clients hold Trust shares or
   whose clients may have an interest in acquiring Trust shares, including providing, among other
   things, progress reports on the Trust, dividend announcements and performance updates;

      - Assist in the drafting of press releases to the public;

      - Make such reports and recommendations to the Trustees as the Trustees reasonably
   request or deem appropriate;

       - Oversee, in consultation with, and as agreed by, any Investment Manager, matters relating
   to the conduct and administration of meetings of the Trustees,
   meetings, communication with respect to such meetings and, if requested, the hosting of such
   meetings (including arranging any off-site meetings);

      - Oversee the maintenance by the Trust's custodian and transfer agent and dividend
   disbursing agent of certain books and records of the Trust as required under Rule 31a-1(b)(4) of
   the 1940 Act and maintain (or oversee maintenance by the Trust's administrator or such other
   persons as approved by the Trustees) such other books and records required by law or for the
   proper operation of the Trust;

      - Oversee the preparation and filing of the Trust's federal, state and local income tax returns
   and any other required tax returns;

      - Review the appropriateness of and arrange for payment of the Trust's expenses;

      - Prepare (or oversee the preparation of) such information and reports as may be required by
   any stock exchange or exchanges on which the Trust's shares are listed;




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      - Oversee and review calculations of fees paid to the Trust's service providers;

      - Oversee the Trust's portfolio and perform necessary calculations as required under Section
   18 of the 1940 Act;

      - Consult with the Trust's officers, independent accountants, legal counsel, custodian,
   administrator or other accounting agent, transfer agent and dividend disbursing agent in
   establishing the accounting policies of the Trust and monitor financial and shareholder
   accounting services;

      - Review implementation of any share purchase programs authorized by the Trustees;

      - Prepare such information and reports as may be required by any banks from which the
   Trust borrows funds;

     - Provide such assistance to the custodian and the Trust's counsel and auditors as generally
   may be required to properly carry on the business and operations of the Trust; and

      - Provide such other services as the parties may mutually agree from time to time.




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                                   WIW Sub-Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/1267902/000104746904005444/
                  a2127885zex-99_g2.txt

   NOTE: Minor formatting changes have been made here to the version available online


                   INVESTMENT MANAGEMENT AGREEMENT

      This INVESTMENT MANAGEMENT AGREEMENT made this ___ day of ___________,
   by and between Claymore Advisors, LLC (the "Advisor"), a Delaware limited liability company,
   and Western Asset Management Company ("WAM"), a California corporation, each of which is
   registered as an investment adviser under the Investment Advisers Act of 1940, as amended.

      WHEREAS, the Advisor is the adviser of Western Asset/Claymore U.S. Treasury Inflation
   Protected Securities Fund 2 (the "Trust"), a closed-end, management investment company
   registered under the Investment Company Act of 1940, as amended (the "1940 Act"); and

      WHEREAS, the Advisor wishes to retain WAM to provide certain investment advisory
   services in connection with the Advisor's management of the Trust; and

       WHEREAS, WAM is willing to furnish such services on the terms and conditions hereinafter
   set forth;

      NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

      1. APPOINTMENT. The Advisor hereby appoints WAM as investment manager for the
   Trust for the period and on the terms set forth in this Agreement. WAM accepts such
   appointment and agrees to furnish the services herein set forth for the compensation herein
   provided.

      2. DELIVERY OF DOCUMENTS. The Advisor has furnished WAM with copies of each of
   the following:

      (a) The Trust's Agreement and Declaration of Trust and all amendments thereto (such
   Declaration of Trust, as presently in effect and as it shall from time to time be amended, is herein
   called the "Declaration");

      (b) The Trust's By-Laws and all amendments thereto (such By-Laws, as presently in effect
   and as they shall from time to time be amended, are herein called the "By-Laws");

       (c) Resolutions of the Trust's Board of Trustees (the "Trustees") authorizing the appointment
   of the Advisor as the adviser and WAM as investment manager and approving the Investment




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   Advisory Agreement between the Advisor and the Trust with respect to the Trust dated February
   __, 2004 (the "Advisory Agreement") and this Agreement;

      (d) The Trust's most recently filed Amendment to its Registration Statement on Form N-2
   under the Securities Act of 1933, as amended, and the 1940 Act, including all exhibits thereto,
   relating to common shares of beneficial interest of the Trust, no par value;

     (e) The Trust's most recent prospectus (such prospectus, as presently in effect, and all
   amendments and supplements thereto are herein called the "Prospectus"); and

      (f) The Trust's most recent statement of additional information (such statement of additional
   information, as presently in effect, and all amendments and supplements thereto are herein called
   the "Statement of Additional Information").

   The Advisor will furnish WAM from time to time with copies of all amendments of or
   supplements to the foregoing.

       3. INVESTMENT ADVISORY SERVICES. (a) Subject to the supervision of the Trustees
   and the Advisor, WAM shall as requested by the Advisor regularly provide the Trust with
   investment research, advice, management and supervision and shall furnish a continuous
   investment program for the Trust consistent with the Trust's investment objectives, policies, and
   restrictions as stated in the Trust's current Prospectus and Statement of Additional Information.
   WAM shall as requested by the Advisor determine from time to time what securities or other
   property will be purchased, retained or sold by the Trust, and shall implement those decisions, all
   subject to the provisions of the Trust's Declaration and By-Laws, the 1940 Act, the applicable
   rules and regulations of the Securities and Exchange Commission, and other applicable federal
   and state law, as well as the investment objectives, policies, and restrictions of the Trust, as each
   of the foregoing may be amended from time to time. WAM will as requested by the Advisor
   place orders pursuant to its investment determinations for the Trust either directly with the issuer
   or with any broker, dealer or futures commission merchant (collectively, a "broker"). In the
   selection of brokers and the placing of orders for the purchase and sale of portfolio investments
   for the Trust, WAM shall seek to obtain for the Trust the most favorable price and execution
   available, except to the extent it may be permitted to pay higher brokerage commissions for
   brokerage and research services as described below. In using its best efforts to obtain for the
   Trust the most favorable price and execution available, WAM, bearing in mind the Trust's best
   interests at all times, shall consider all factors it deems relevant, including, by way of illustration,
   price, the size of the transaction, the nature of the market for the security, the amount of the
   commission, the timing of the transaction taking into consideration market prices and trends, the
   reputation, experience and financial stability of the broker involved and the quality of service
   rendered by the broker in other transactions. Subject to such policies as the Trustees may
   determine and communicate to WAM in writing, WAM shall not be deemed to have acted
   unlawfully or to have breached any duty created by this Agreement or otherwise solely by reason
   of its having caused the Trust to pay a broker that provides brokerage and research services to
   WAM or any affiliated person of WAM an amount of commission for effecting a portfolio
   investment transaction in excess of the amount of commission another broker would have
   charged for effecting that transaction, if WAM determines in good faith that such amount of



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   commission was reasonable in relation to the value of the brokerage and research services
   provided by such broker, viewed in terms of either that particular transaction or WAM's overall
   responsibilities with respect to the Trust and to other clients of WAM and any affiliated person
   of WAM as to which WAM or any affiliated person of WAM exercises investment discretion.
   WAM shall also perform such other functions of management and supervision as may be
   requested by the Advisor and agreed to by WAM.

      (b) WAM will as requested by the Advisor oversee the maintenance of all “books and records
   with respect to the investment transactions of the Trust that it implements in accordance with all
   applicable federal and state laws and regulations, and will furnish the Trustees with such periodic
   and special reports as the Trustees or the Advisor reasonably may request.

       (c) The Trust hereby agrees that any entity or person associated with WAM (or with any
   affiliated person of WAM) which is a member of a national securities exchange is authorized to
   effect any transaction on such exchange for the account of the Trust which is permitted by
   Section 11(a) of the Securities Exchange Act of 1934, as amended, and Rule 11a2-2(T)
   thereunder, and the Trust hereby consents to the retention of compensation for such transactions
   in accordance with Rule 11a2-2(T)(a)(2)(iv) or otherwise.

      4. SERVICES NOT EXCLUSIVE. WAM's services hereunder are not deemed to be
   exclusive, and WAM shall be free to render similar services to others. It is understood that
   persons employed by WAM to assist in the performance of its duties hereunder might not devote
   their full time to such service. Nothing herein contained shall be deemed to limit or restrict the
   right of WAM or any affiliate of WAM to engage in and devote time and attention to other
   businesses or to render services of whatever kind or nature.

      5. BOOKS AND RECORDS. In compliance with the requirements of Rule 31a-3 under the
   1940 Act, WAM hereby agrees that all books and records which it maintains for the Trust are
   property of the Trust and further agrees to surrender promptly to the Trust or its agents any of
   such records upon the Trust's request. WAM further agrees to preserve for the periods prescribed
   by Rule 31a-2 under the 1940 Act any such records required to be maintained by Rule 31a-1
   under the 1940 Act.

       6. EXPENSES. During the term of this Agreement, WAM will pay all expenses incurred by
   it in connection with its activities under this Agreement other than the cost of securities and other
   property (including brokerage commissions, if any) purchased for the Trust.

       7. COMPENSATION. For the services which WAM will render to the Advisor and the
   Trust under this Agreement, the Advisor shall pay WAM an annual fee, payable on a monthly
   basis, at the annual rate of 0.27% of the Trust's average weekly assets. "Average Weekly Assets"
   means the average weekly value of the total assets of the Trust (including any assets attributable
   to leverage) minus accrued liabilities (other than liabilities representing leverage). For purposes
   of calculating Average Weekly Assets, neither the liquidation preference of any preferred shares
   of beneficial interest outstanding nor any liabilities associated with any instruments or
   transactions to leverage the Trust's portfolio (whether or not such instruments or transactions are
   "covered" within the meaning of the 1940 Act and the rules and regulations thereunder, giving



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   effect to any interpretations of the Securities and Exchange Commission and its staff) is
   considered a liability. In addition, with respect to reverse repurchase or dollar roll transactions
   ("Repurchase Transactions") entered into by the Trust, Average Weekly Assets includes (a) any
   proceeds from the sale of an asset (the "Underlying Asset") of the Trust to a counterparty in a
   Repurchase Transaction and (b) the value of such Underlying Asset as of the relevant measuring
   date. Fees due to WAM hereunder shall be paid promptly to WAM by the Advisor following its
   receipt of fees from the Trust. For any period less than a month during which this Agreement is
   in effect, the fee shall be prorated according to the proportion which such period bears to a full
   month of 28, 29, 30 or 31 days, as the case may be. For purposes of this Agreement and except
   as otherwise provided herein, the Average Weekly Assets of the Trust shall be calculated
   pursuant to procedures adopted by the Trustees of the Trust for calculating the value of the
   Trust's assets or delegating such calculations to third parties.

      8. LIMITATION OF LIABILITY. In the absence of willful misfeasance, bad faith or gross
   negligence on the part of WAM, or reckless disregard of its obligations and duties hereunder,
   WAM shall not be subject to any liability to the Advisor, the Trust or any shareholder of the
   Trust, for any act or omission in the course of, or connected with, rendering services hereunder.

      9. DEFINITIONS. As used in this Agreement, the terms "assignment," "interested person,"
   "affiliated person," and "majority of the outstanding voting securities" shall have the meanings
   given to them by Section 2(a) of the 1940 Act, subject to such exemptions as may be granted,
   issued or adopted by the Securities and Exchange Commission or its staff by any rule, regulation,
   or order; the term "specifically approve at least annually" shall be construed in a manner
   consistent with the 1940 Act and the rules and regulations thereunder; and the term "brokerage
   and research services" shall have the meaning given in the Securities Exchange Act of 1934, as
   amended, and the rules and regulations thereunder.

       10. TERM. This Agreement shall become effective upon its execution, and shall remain in
   full force and effect continuously thereafter (unless terminated automatically as set forth in
   Section 12) until terminated as follows:

         a. The Trust may at any time terminate this Agreement by 60 days' written notice
   delivered or mailed by registered mail, postage prepaid, to the Advisor and WAM, or

          b. If (i) the Trustees or the shareholders of the Trust by vote of a majority of the
   outstanding voting securities of the Trust, and (ii) a majority of the Trustees who are not
   interested persons of the Trust, the Advisor or WAM, by vote cast in person at a meeting called
   for the purpose of voting on such approval, do not specifically approve at least annually the
   continuance of this Agreement, then this Agreement shall automatically terminate at the close of
   business on the second anniversary of its execution, or upon the expiration of one year from the
   effective date of the last such continuance, whichever is later; PROVIDED, HOWEVER, that if
   the continuance of this Agreement is submitted to the shareholders of the Trust for their approval
   and such shareholders fail to approve such continuance of this Agreement as provided herein,
   WAM may continue to serve hereunder in a manner consistent with the 1940 Act and the rules
   and regulations thereunder, or




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         c. WAM may at any time terminate this Agreement by 60 days' written notice delivered
   or mailed by registered mail, postage prepaid, to the Advisor.

      Action by the Trust under paragraph (a) of this Section 10 may be take either (i) by vote of a
   majority of the Trustees, or (ii) by the vote of a majority of the outstanding voting securities of
   the Trust.

      11. FURTHER ACTIONS. Each party agrees to perform such further acts and execute such
   further documents as are necessary to effectuate the purposes hereof.

      12. NO ASSIGNMENT; AMENDMENTS. This Agreement shall terminate automatically in
   the event of its assignment or in the event that the Advisory Agreement shall have terminated for
   any reason. Any termination of this Agreement pursuant to Section 10 shall be without the
   payment of any penalty. This Agreement shall not be amended unless such amendment is
   approved by the vote of a majority of the outstanding voting securities of the Trust (provided that
   such shareholder approval is required by the 1940 Act and the rules and regulations thereunder,
   giving effect to any interpretations of the Securities and Exchange Commission and its staff) and
   by the vote, cast in person at a meeting called for the purpose of voting on such approval, of a
   majority of the Trustees who are not interested persons of the Trust, the Advisor or WAM.

       13. NON-EXCLUSIVE RIGHT. WAM hereby grants to the Trust the nonexclusive right and
   license to use the mark "Western" (the "Licensed Mark") in the Trust's name and in connection
   with the formation, issuance, marketing, promotion and operations of, or disclosure related to,
   the Trust. WAM agrees that it shall receive no compensation for any such use by the Trust.
   WAM hereby warrants and represents that it has filed applications and/or owns rights in the
   Licensed Mark sufficient to grant this license. No right, title, or interest in the Licensed Mark,
   except the right to use the Licensed Mark as provided in this Agreement, is or will be transferred
   to the Trust by this Agreement. Should this Agreement be terminated, the Trust agrees that it will
   take reasonably necessary steps to change its name to a name not including the word
   "Claymore."

      14. MISCELLANEOUS. This Agreement embodies the entire agreement and understanding
   between the parties hereto, and supersedes all prior agreements and understandings relating to
   the subject matter hereof. The captions in this Agreement are included for convenience of
   reference only and in no way define or delimit any of the provisions hereof or otherwise affect
   their construction or effect. Should any part of this Agreement be held or made invalid by a court
   decision, statute, rule or otherwise, the remainder of this Agreement shall not be affected
   thereby. This Agreement shall be binding and shall inure to the benefit of the parties hereto and
   their respective successors.

      15. LIMITATION OF LIABILITY. A copy of the Trust's Agreement and Declaration of
   Trust is on file with the Secretary of The Commonwealth of Massachusetts, and notice is hereby
   given that this Agreement has been executed on behalf of the Trust by an officer of the Trust as
   an officer and not individually and the obligations of or arising out of this Agreement are not
   binding upon any of the Trustees, officers or shareholders of the Trust individually but are
   binding only upon the assets and property of the Trust.



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      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed by
   their officers designated below on the day and year first above written.

   Attest:               CLAYMORE ADVISORS, LLC


   By:                   By:
     ----------------          ---------------------------------


   Attest:               WESTERN ASSET MANAGEMENT COMPANY


   By:                   By:
     ----------------          ---------------------------------


   The foregoing is accepted by:


   Attest:                WESTERN ASSET/CLAYMORE U.S. TREASURY
                        INFLATION PROTECTED SECURITIES FUND 2


   By:                   By:
     ----------------          ---------------------------------




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                                        Comparison of
                             WIW Sub-Advisory Agreement Section 3(a)
                                              to
                              WIW Advisory Agreement Section 3(a)

       3. INVESTMENT ADVISORY SERVICES. (a) Subject to the supervision of the Trust's
   Board of Trustees (the "Trustees"),and the Advisor, WAM shall as requested by the Advisor
   shall regularly provide the Trust with investment research, advice, management and supervision
   and shall furnish a continuous investment program for the Trust consistent with the Trust's
   investment objectives, policies, and restrictions. The as stated in the Trust's current Prospectus
   and Statement of Additional Information. WAM shall as requested by the Advisor shall
   determine from time to time what securities or other property will be purchased, retained or sold
   by the Trust, and shall implement those decisions, all subject to the provisions of the Trust's
   Agreement and Declaration of Trust and By-Laws, the 1940 Act, the applicable rules and
   regulations of the Securities and Exchange Commission, and other applicable federal and state
   law, as well as the investment objectives, policies, and restrictions of the Trust, as each of the
   foregoing may be amended from time to time. TheWAM will as requested by the Advisor will
   place orders pursuant to its investment determinations for the Trust either directly with the issuer
   or with any broker, dealer or futures commission merchant (collectively, a "broker"). In the
   selection of brokers and the placing of orders for the purchase and sale of portfolio investments
   for the Trust, the AdvisorWAM shall seek to obtain for the Trust the most favorable price and
   execution available, except to the extent it may be permitted to pay higher brokerage
   commissions for brokerage and research services as described below. In using its best efforts to
   obtain for the Trust the most favorable price and execution available, the AdvisorWAM, bearing
   in mind the Trust's best interests at all times, shall consider all factors it deems relevant,
   including, by way of illustration, price, the size of the transaction, the nature of the market for
   the security, the amount of the commission, the timing of the transaction taking into
   accountconsideration market prices and trends, the reputation, experience and financial stability
   of the broker involved and the quality of service rendered by the broker in other transactions.
   Subject to such policies as the Trustees may determine, the Advisor and communicate to WAM
   in writing, WAM shall not be deemed to have acted unlawfully or to have breached any duty
   created by this Agreement or otherwise solely by reason of its having caused the Trust to pay, on
   behalf of the Trust, a broker that provides brokerage and research services to the AdvisorWAM
   or any affiliated person of the AdvisorWAM an amount of commission for effecting a portfolio
   investment transaction in excess of the amount of commission another broker would have
   charged for effecting that transaction, if the AdvisorWAM determines in good faith that such
   amount of commission was reasonable in relation to the value of the brokerage and research
   services provided by such broker, viewed in terms of either that particular transaction or the
   Advisor'sWAM's overall responsibilities with respect to the Trust and to other clients of the
   AdvisorWAM and any affiliated person of the AdvisorWAM as to which the AdvisorWAM or
   any affiliated person of the AdvisorWAM exercises investment discretion. The AdvisorWAM
   shall also provide advice and recommendations with respect to other aspects of the business and
   affairs of the Trust, and shall perform such other functions of management and supervision, as
   may be directedrequested by the TrusteesAdvisor and agreed to by WAM.




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                                   WIW New Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/1267902/000119312518110181/
                  d555877ddef14a.htm

   NOTE: Minor formatting changes have been made here to the version available online


                                Form of Proposed Advisory Agreement

        This INVESTMENT MANAGEMENT AGREEMENT, made this [ ] day of [ ], 2018, by
   and between Western Asset/Claymore Inflation-Linked Opportunities & Income Fund, a
   Massachusetts business trust (the “Trust”), and Western Asset Management Company, a
   California corporation (the “Manager”).

         WHEREAS, the Trust is a closed-end management investment company registered under
   the Investment Company Act of 1940, as amended (the “1940 Act”); and

       WHEREAS, the Trust wishes to retain the Manager to provide certain investment advisory,
   management and administrative services; and

        WHEREAS, the Manager is willing to furnish such services on the terms and conditions
   hereinafter set forth.

        NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

        1. The Trust hereby appoints Western Asset Management Company as Manager of the
   Trust for the period and on the terms set forth in this Agreement. The Manager accepts such
   appointment and agrees to render the services herein set forth, for the compensation herein
   provided.

        2. The Trust shall at all times keep the Manager fully informed with regard to the securities
   and other property owned by it, its funds available, or to become available, for investment, and
   generally as to the condition of its affairs. It shall furnish the Manager with such other
   documents and information with regard to its affairs as the Manager may from time to time
   reasonably request.

         3. (a) Subject to the supervision of the Trust’s Board of Trustees (the “Trustees”), the
   Manager shall regularly provide the Trust with investment research, advice, management and
   supervision and shall furnish a continuous investment program for the Trust consistent with the
   Trust’s investment objectives, policies and restrictions. The Manager shall determine from time
   to time what securities or other property will be purchased, retained or sold by the Trust, and
   shall implement those decisions, all subject to the provisions of the Trust’s Agreement and
   Declaration of Trust and By-Laws, the 1940 Act, the applicable rules and regulations of the
   Securities and Exchange Commission, and other applicable federal and state law, as well as the
   investment objectives, policies and restrictions of the Trust, as each of the foregoing may be
   amended from time to time. The Manager will place orders pursuant to its investment


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   determinations for the Trust either directly with the issuer or with any broker, dealer or futures
   commission merchant (collectively, a “broker”). In the selection of brokers and the placing of
   orders for the purchase and sale of portfolio investments for the Trust, the Manager shall seek to
   obtain the most favorable price and execution available, except to the extent it may be permitted
   to pay higher brokerage commissions for brokerage and research services as described below. In
   using its best efforts to obtain for the Trust the most favorable price and execution available, the
   Manager, bearing in mind the Trust’s best interests at all times, shall consider all factors it deems
   relevant, including, by way of illustration, price, the size of the transaction, the nature of the
   market for the security, the amount of the commission, the timing of the transaction taking into
   account market prices and trends, the reputation, experience and financial stability of the broker
   involved and the quality of service rendered by the broker in other transactions. Subject to such
   policies as the Trustees may determine, the Manager shall not be deemed to have acted
   unlawfully or to have breached any duty created by this Agreement or otherwise solely by reason
   of its having caused the Trust to pay, on behalf of the Trust, a broker that provides brokerage and
   research services to the Manager or any affiliated person of the Manager an amount of
   commission for effecting a portfolio investment transaction in excess of the amount of
   commission another broker would have charged for effecting that transaction, if the Manager
   determines in good faith that such amount of commission was reasonable in relation to the value
   of the brokerage and research services provided by such broker, viewed in terms of either that
   particular transaction or the Manager’s overall responsibilities with respect to the Trust and to
   other clients of the Manager and any affiliated person of the Manager as to which the Manager or
   any affiliated person of the Manager exercises investment discretion. The Manager shall also
   provide advice and recommendations with respect to other aspects of the business and affairs of
   the Trust, and shall perform such other functions of management and supervision, as may be
   directed by the Trustees.

        (b) The Trust hereby agrees with the Manager and with any investment adviser appointed
   pursuant to Paragraph 4 below (an “Investment Adviser”) that any entity or person associated
   with the Manager or Investment Adviser (or with any affiliated person of the Manager or
   Investment Adviser) that is a member of a national securities exchange is authorized to effect
   any transaction on such exchange for the account of the Trust which is permitted by
   Section 11(a) of the Securities Exchange Act of 1934, as amended, and Rule 11a-
   2(T) thereunder, and the Trust hereby consents to the retention of compensation for such
   transactions in accordance with Rule 11a2-2(T)(a)(2)(iv) or otherwise.

        4. The Manager may enter into a contract (“Portfolio Management Agreement”) with one or
   more investment advisers in which the Manager delegates to such investment adviser or
   investment advisers any or all of its duties specified in Paragraph 3 hereunder. Such Portfolio
   Management Agreement must meet all requirements of the 1940 Act and the rules and
   regulations thereunder.

        5. (a) The Manager, at its expense, shall supply the Board of Trustees and officers of the
   Trust with statistical information and reports reasonably requested by them and reasonably
   available to the Manager. The Manager shall oversee the maintenance of all books and records
   with respect to the Trust’s portfolio transactions and the keeping of the Trust’s books of account
   in accordance with all applicable federal and state laws and regulations and shall perform such
   other administrative, bookkeeping or clerical duties as may be agreed upon by the parties. In


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   compliance with the requirements of Rule 31a-3 under the 1940 Act, the Manager hereby agrees
   that any records which it maintains for the Trust are the property of the Trust, and further agrees
   to surrender promptly to the Trust or its agents any of such records upon the Trust’s request. The
   Manager further agrees to arrange for the preservation of the records required to be maintained
   by Rule 31a-1 under the 1940 Act for the periods prescribed by Rule 31a-2 under the 1940 Act.
   The Manager shall authorize and permit any of its directors, officers and employees, who may be
   elected as Trustees or officers of the Trust, to serve in the capacities in which they are elected.
   The Manager may enter into a contract with one or more other parties in which the Manager
   delegates to such party or parties any or all of the duties specified in this Paragraph 5(a).

        (b) Other than as herein specifically indicated, the Manager shall not be responsible for the
   expenses of the Trust. Specifically (but without limitation), the Manager will not be responsible
   for any of the following expenses of the Trust, which expenses shall be borne by the Trust:
   advisory fees; distribution fees; interest; taxes; governmental fees; fees, voluntary assessments
   and other expenses incurred in connection with membership in investment company
   organizations; the cost (including brokerage commissions or charges, if any) of securities or
   other property purchased or sold by the Trust and any losses in connection therewith; fees of
   custodians, transfer agents, registrars, administrators or other agents; legal expenses; expenses of
   preparing share certificates; expenses relating to the redemption or repurchase of the Trust’s
   shares; expenses of registering and qualifying shares of the Trust for sale under applicable
   federal and state law; expenses of preparing, setting in print, printing and distributing
   prospectuses, reports, notices and dividends to Trust shareholders; costs of stationery; costs of
   shareholders’ and other meetings of the Trust; Trustees’ fees; audit fees; travel expenses of
   officers, Trustees and employees of the Trust, if any; and the Trust’s pro rata portion of
   premiums on any fidelity bond and other insurance covering the Trust and/or its officers and
   Trustees.

        6. No Trustee, officer or employee of the Trust shall receive from the Trust any salary or
   other compensation as such Trustee, officer or employee while he or she is at the same time a
   director, officer, or employee of the Manager or any affiliated company of the Manager. This
   Paragraph 6 shall not apply to Trustees, executive committee members, consultants and other
   persons who are not regular members of the Manager’s or any affiliated company’s staff.

         7. As compensation for the services performed and expenses assumed by the Manager,
   including the services of any consultants, investment advisers or other parties retained by the
   Manager, the Trust shall pay the Manager an annual fee, payable on a monthly basis, at the
   annual rate of 0.35% of the Trust’s average weekly assets. “Average Weekly Assets” means the
   average weekly value of the total assets of the Trust (including any assets attributable to
   leverage) minus accrued liabilities (other than liabilities representing leverage). For purposes of
   calculating Average Weekly Assets, neither the liquidation preference of any preferred shares of
   beneficial interest outstanding nor any liabilities associated with any instruments or transactions
   used by the Manager to leverage the Trust’s portfolio (whether or not such instruments or
   transactions are “covered” within the meaning of the 1940 Act and the rules and regulations
   thereunder, giving effect to any interpretations of the Securities and Exchange Commission and
   its staff) is considered a liability. In addition, with respect to reverse repurchase or dollar roll
   transactions (“Repurchase Transactions”) entered into by the Trust, Average Weekly Assets
   includes (a) any proceeds from the sale of an asset (the “Underlying Asset”) of the Trust to a


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   counterparty in a Repurchase Transaction and (b) the value of such Underlying Asset as of the
   relevant measuring date. The first payment of the fee shall be made as promptly as possible at the
   end of the month succeeding the effective date of this Agreement. For any period less than a
   month during which this Agreement is in effect, the fee shall be prorated according to the
   proportion which such period bears to a full month of 28, 29, 30 or 31 days, as the case may be.
   For purposes of this Agreement and except as otherwise provided herein, the Average Weekly
   Assets of the Trust shall be calculated pursuant to procedures adopted by the Trustees of the
   Trust for calculating the value of the Trust’s assets or delegating such calculations to third
   parties, in the event that the expenses of the Trust exceed any expense limitation which the
   Manager may, by written notice to the Trust, voluntarily declare to be effective with respect to
   the Trust, subject to such terms and conditions as the Manager may prescribe in such notice, the
   compensation due the Manager shall be reduced, and, if necessary, the Manager shall bear the
   Trust’s expenses to the extent required by such expense limitation.

        8. In the absence of willful misfeasance/bad faith or gross negligence on the part of the
   Manager, or reckless disregard of its obligations and duties hereunder, the Manager shall not be
   subject to any liability to the Trust or to any shareholder of the Trust, for any act or omission in
   the course of, or connected with, rendering services hereunder.

         9. Nothing in this Agreement shall limit or restrict the right of any director, officer, or
   employee of the Manager who may also be a Trustee, officer, or employee of the Trust to engage
   in any other business or to devote his or her time and attention to the management or other
   aspects of any other business, whether of a similar nature or a dissimilar nature, or limit or
   restrict the right of the Manager to engage in any other business or to render services of any kind,
   including investment advisory and management services, to any other trust, firm, individual or
   association.

         10. As used in this Agreement, the terms “assignment,” “interested person,” “affiliated
   person,” and “majority of the outstanding voting securities” shall have the meanings given to
   them by Section 2(a) of the 1940 Act, subject to such, exemptions as may be granted, issued or
   adopted by the Securities and Exchange Commission or its staff by any rule, regulation, or order;
   the term “specifically approve at least annually” shall be construed in a manner consistent with
   the 1940 Act and the rules and regulations thereunder; and the term “brokerage and research
   services” shall have the meaning given in the Securities Exchange Act of 1934, as amended, and
   the rules and regulations thereunder.

        11. This Agreement shall become effective upon its execution, and shall remain in full force
   and effect continuously thereafter (unless terminated automatically as set forth in Paragraph 12
   below) until terminated as follows:

        (a) Either party hereto may at any time terminate this Agreement by not more than sixty
   days’ written notice delivered or mailed by registered mail, postage prepaid, to the other party,
   or

        (b) If (i) the Trustees or the shareholders of the Trust by the vote of a majority of the
   outstanding voting securities of the Trust, and (ii) a majority of the Trustees who are not
   interested persons of the Trust or of the Manager, by vote cast in person at a meeting called for


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   the purpose of voting on such approval, do not specifically approve at least annually the
   continuance of this Agreement, then this Agreement shall automatically terminate at the close of
   business on the second anniversary of its execution, or upon the expiration of one year from the
   effective date of the last such continuance, whichever is later; provided, however, that if the
   continuance of this Agreement is submitted to the shareholders of the Trust for their approval
   and such shareholders fail to approve such continuance of this Agreement as provided herein, the
   Manager may continue to serve hereunder in a manner consistent with the 1940 Act and the rules
   and regulations thereunder.

        Action by the Trust under paragraph (a) of this Paragraph 11 may be taken either (i) by vote
   of a majority of the Trustees, or (ii) by the vote of a majority of the outstanding voting securities
   of the Trust.

         12. Except as otherwise provided herein, this Agreement shall terminate automatically in
   the event of its assignment by the Manager and shall not be assignable by the Trust without the
   consent of the Manager. Any termination of this Agreement pursuant to Paragraph 11 shall be
   without the payment of any penalty. This Agreement shall not be amended unless such
   amendment is approved by the vote of a majority of the outstanding voting securities of the Trust
   (provided that such shareholder approval is required by the 1940 Act and the rules and
   regulations thereunder, giving effect to any interpretations of the Securities and Exchange
   Commission and its staff), and by the vote, cast in person at a meeting called for the purpose of
   voting on such approval, of a majority of the Trustees who are not interested persons of the Trust
   or of the Manager.

        13. In the event this Agreement is terminated by either party or upon written notice from the
   Manager at any time, the Trust hereby agrees that it will eliminate from its corporate name any
   reference to the name of “Western.” The Trust shall have the non-exclusive use of the name
   “Western” in whole or in part only so long as this Agreement is effective or until such notice is
   given.

         14. This Agreement embodies the entire agreement and understanding between the parties
   hereto, and supersedes all prior agreements and understandings relating to the subject matter
   hereof. Should any part of this Agreement be held or made invalid by a court decision, statute,
   rule or otherwise, the remainder of this Agreement shall not be affected thereby. This Agreement
   shall be binding and shall inure to the benefit of the parties hereto and their respective
   successors.

        15. A copy of the Trust’s Agreement and Declaration of Trust, as amended, is on file with
   the Secretary of the Commonwealth of Massachusetts, and notice is hereby given that this
   Agreement has been executed on behalf of the Trust by an officer of the Trust as an officer and
   not individually and the obligations of or arising out of this Agreement are not binding upon any
   of the Trustees, officers or shareholders of the Trust individually but are binding only upon the
   assets and property of the Trust.

         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed by
   their officers thereunto duly authorized.




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   Attest:                          WESTERN ASSET/CLAYMORE INFLATION-
                                    LINKED
                                    OPPORTUNITIES & INCOME FUND


   By:                             By:

   Attest:                          WESTERN ASSET MANAGEMENT COMPANY


   By:                             By:




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                  Exhibit 7
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                                       Comparison of
                             WIW New Advisory Agreement Section 3(a)
                                              to
                              WIW Advisory Agreement Section 3(a)

            3. (a) Subject to the supervision of the Trust'sTrust’s Board of Trustees (the
   "“Trustees"),”), the AdvisorManager shall regularly provide the Trust with investment research,
   advice, management and supervision and shall furnish a continuous investment program for the
   Trust consistent with the Trust'sTrust’s investment objectives, policies and restrictions. The
   AdvisorManager shall determine from time to time what securities or other property will be
   purchased, retained or sold by the Trust, and shall implement those decisions, all subject to the
   provisions of the Trust'sTrust’s Agreement and Declaration of Trust and By-Laws, the 1940
   Act, the applicable rules and regulations of the Securities and Exchange Commission, and other
   applicable federal and state law, as well as the investment objectives, policies and restrictions of
   the Trust, as each of the foregoing may be amended from time to time. The AdvisorManager will
   place orders pursuant to its investment determinations for the Trust either directly with the issuer
   or with any broker, dealer or futures commission merchant (collectively, a "“broker").”). In the
   selection of brokers and the placing of orders for the purchase and sale of portfolio investments
   for the Trust, the AdvisorManager shall seek to obtain the most favorable price and execution
   available, except to the extent it may be permitted to pay higher brokerage commissions for
   brokerage and research services as described below. In using its best efforts to obtain for the
   Trust the most favorable price and execution available, the AdvisorManager, bearing in mind the
   Trust'sTrust’s best interests at all times, shall consider all factors it deems relevant, including, by
   way of illustration, price, the size of the transaction, the nature of the market for the security, the
   amount of the commission, the timing of the transaction taking into account market prices and
   trends, the reputation, experience and financial stability of the broker involved and the quality of
   service rendered by the broker in other transactions. Subject to such policies as the Trustees may
   determine, the AdvisorManager shall not be deemed to have acted unlawfully or to have
   breached any duty created by this Agreement or otherwise solely by reason of its having caused
   the Trust to pay, on behalf of the Trust, a broker that provides brokerage and research services to
   the AdvisorManager or any affiliated person of the AdvisorManager an amount of commission
   for effecting a portfolio investment transaction in excess of the amount of commission another
   broker would have charged for effecting that transaction, if the AdvisorManager determines in
   good faith that such amount of commission was reasonable in relation to the value of the
   brokerage and research services provided by such broker, viewed in terms of either that
   particular transaction or the Advisor'sManager’s overall responsibilities with respect to the Trust
   and to other clients of the AdvisorManager and any affiliated person of the AdvisorManager as
   to which the AdvisorManager or any affiliated person of the AdvisorManager exercises
   investment discretion. The AdvisorManager shall also provide advice and recommendations with
   respect to other aspects of the business and affairs of the Trust, and shall perform such other
   functions of management and supervision, as may be directed by the Trustees.




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                                 WIW New Sub-Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/1267902/000119312518110181/
                  d555877ddef14a.htm

   NOTE: Minor formatting changes have been made here to the version available online


                             Form of Proposed Sub-Advisory Agreements

        This INVESTMENT MANAGEMENT AGREEMENT made this [ ] day of
   [            ] 2018, by and between Western Asset Management Company (the “Advisor”), a
   California corporation, and Western Asset Management Company Limited (“Subadviser”), a
   corporation organized under English law, each of which is registered as an investment adviser
   under the Investment Advisers Act of 1940, as amended.

        WHEREAS, the Advisor is the adviser of Western Asset/Claymore Inflation-Linked
   Opportunities & Income Fund (the “Trust”), a closed-end, management investment company
   registered under the Investment Company Act of 1940, as amended (the “1940 Act”); and

        WHEREAS, the Advisor wishes to retain Subadviser to provide certain investment advisory
   services in connection with the Advisor’s management of the Trust; and

        WHEREAS, Subadviser is willing to furnish such services on the terms and conditions
   hereinafter set forth;

        NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

        1. Appointment. The Advisor hereby appoints Subadviser as investment manager for the
   Trust with respect to those assets of the Trust as may be designated by the Advisor from time to
   time for the period and on the terms set forth in this Agreement. Subadviser accepts such
   appointment and agrees to furnish the services herein set forth for the compensation herein
   provided.

        2. Delivery of Documents. The Advisor has furnished Subadviser with copies of each of the
   following:

        (a) The Trust’s Agreement and Declaration of Trust and all amendments thereto (such
   Declaration of Trust, as presently in effect and as it shall from time to time be amended, is herein
   called the “Declaration”);

        (b) The Trust’s By-Laws and all amendments thereto (such By-Laws, as presently in effect
   and as they shall from time to time be amended, are herein called the “By-Laws”);

       (c) Resolutions of the Trust’s Board of Trustees (the “Trustees”) authorizing the
   appointment of the Advisor as the adviser and Subadviser as investment manager and approving



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   the Investment Advisory Agreement between the Advisor and the Trust with respect to the Trust
   (the “Advisory Agreement”) and this Agreement;

         (d) The Trust’s most recently filed amendment to its Registration Statement on Form N-2
   under the Securities Act of 1933, as amended, and the 1940 Act, including all exhibits thereto,
   relating to common shares of beneficial interest of the Trust, no par value;

       (e) The Trust’s most recent prospectus (such prospectus, as presently in effect, and all
   amendments and supplements thereto are herein called the “Prospectus”); and

        (f) The Trust’s most recent statement of additional information (such statement of
   additional information, as presently in effect, and all amendments and supplements thereto are
   herein called the “Statement of Additional Information”).

        The Advisor will furnish Subadviser from time to time with copies of all amendments of or
   supplements to the foregoing.

         3. Investment Advisory Services. (a) Subject to the supervision of the Trustees and the
   Advisor, Subadviser shall as requested by the Advisor regularly provide the Trust with
   investment research, advice, management and supervision and shall furnish a continuous
   investment program for the Trust with respect to those assets of the Trust as may be designated
   by the Advisor from time to time consistent with the Trust’s investment objectives, policies, and
   restrictions as stated in the Trust’s current Prospectus and Statement of Additional Information.
   Subadviser shall as requested by the Advisor determine from time to time what securities or
   other property will be purchased, retained or sold by the Trust, and shall implement those
   decisions, all subject to the provisions of the Trust’s Declaration and By-Laws, the 1940 Act, the
   applicable rules and regulations of the Securities and Exchange Commission, and other
   applicable federal and state law, as well as the investment objectives, policies, and restrictions of
   the Trust, as each of the foregoing may be amended from time to time. Subadviser will as
   requested by the Advisor place orders pursuant to its investment determinations for the Trust
   either directly with the issuer or with any broker, dealer or futures commission merchant
   (collectively, a “broker”). In the selection of brokers and the placing of orders for the purchase
   and sale of portfolio investments for the Trust, Subadviser shall seek to obtain for the Trust the
   most favorable price and execution available, except to the extent it may be permitted to pay
   higher brokerage commissions for brokerage and research services as described below. In using
   its best efforts to obtain for the Trust the most favorable price and execution available,
   Subadviser, bearing in mind the Trust’s best interests at all times, shall consider all factors it
   deems relevant, including, by way of illustration, price, the size of the transaction, the nature of
   the market for the security, the amount of the commission, the timing of the transaction taking
   into consideration market prices and trends, the reputation, experience and financial stability of
   the broker involved and the quality of service rendered by the broker in other transactions.
   Subject to such policies as the Trustees may determine and communicate to Subadviser in
   writing, Subadviser shall not be deemed to have acted unlawfully or to have breached any duty
   created by this Agreement or otherwise solely by reason of its having caused the Trust to pay a
   broker that provides brokerage and research services to Subadviser or any affiliated person of
   Subadviser an amount of commission for effecting a portfolio investment transaction in excess of
   the amount of commission another broker would have charged for effecting that transaction, if


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   Subadviser determines in good faith that such amount of commission was reasonable in relation
   to the value of the brokerage and research services provided by such broker, viewed in terms of
   either that particular transaction or Subadviser’s overall responsibilities with respect to the Trust
   and to other clients of Subadviser and any affiliated person of Subadviser as to which Subadviser
   or any affiliated person of Subadviser exercises investment discretion. Subadviser shall also
   perform such other functions of management and supervision as may be requested by the
   Advisor and agreed to by Subadviser.

        (b) Subadviser will as requested by the Advisor oversee the maintenance of all books and
   records with respect to the investment transactions of the Trust that it implements in accordance
   with all applicable federal and state laws and regulations, and will furnish the Trustees with such
   periodic and special reports as the Trustees or the Advisor reasonably may request.

        (c) The Trust hereby agrees that any entity or person associated with Subadviser (or with
   any affiliated person of Subadviser) which is a member of a national securities exchange is
   authorized to effect any transaction on such exchange for the account of the Trust which is
   permitted by Section 11 (a) of the Securities Exchange Act of 1934, as amended, and Rule 11a2-
   2(T) thereunder, and the Trust hereby consents to the retention of compensation for such
   transactions in accordance with Rule 11a2-2(T)(a)(2)(iv) or otherwise.

         4. Services Not Exclusive. Subadviser’s services hereunder are not deemed to be exclusive,
   and Subadviser shall be free to render similar services to others. It is understood that persons
   employed by Subadviser to assist in the performance of its duties hereunder might not devote
   their full time to such service. Nothing herein contained shall be deemed to limit or restrict the
   right of Subadviser or any affiliate of Subadviser to engage in and devote time and attention to
   other businesses or to render services of whatever kind or nature.

        5. Books and Records. In compliance with the requirements of Rule 31a-3 under the 1940
   Act, Subadviser hereby agrees that all books and records which it maintains for the Trust are
   property of the Trust and further agrees to surrender promptly to the Trust or its agents any of
   such records upon the Trust’s request. Subadviser further agrees to preserve for the periods
   prescribed by Rule 31a-2 under the 1940 Act any such records required to be maintained by Rule
   31a-1 under the 1940 Act.

         6. Expenses. During the term of this Agreement, Subadviser will pay all expenses incurred
   by it in connection with its activities under this Agreement other than the cost of securities and
   other property (including brokerage commissions, if any) purchased for the Trust.

         7. Compensation. For the services which Subadviser will render to the Advisor and the
   Trust under this Agreement, the Advisor shall pay Subadviser an annual fee, payable on a
   monthly basis, at the annual rate of 0.35% of the Trust’s average weekly assets that Subadviser
   manages. “Average Weekly Assets” means the average weekly value of the total assets of the
   Trust (including any assets attributable to leverage) minus accrued liabilities (other than
   liabilities representing leverage). For purposes of calculating Average Weekly Assets, neither the
   liquidation preference of any preferred shares of beneficial interest outstanding nor any liabilities
   associated with any instruments or transactions to leverage the Trust’s portfolio (whether or not
   such instruments or transactions are “covered” within the meaning of the 1940 Act and the rules


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   and regulations thereunder, giving effect to any interpretations of the Securities and Exchange
   Commission and its staff) is considered a liability. In addition, with respect to reverse repurchase
   or dollar roll transactions (“Repurchase Transactions”) entered into by the Trust, Average
   Weekly Assets includes (a) any proceeds from the sale of an asset (the “Underlying Asset”) of
   the Trust to a counterparty in a Repurchase Transaction and (b) the value of such Underlying
   Asset as of the relevant measuring date. Fees due to Subadviser hereunder shall be paid promptly
   to Subadviser by the Advisor following its receipt of fees from the Trust. For any period less
   than a month during which this Agreement is in effect, the fee shall be prorated according to the
   proportion which such period bears to a full month of 28, 29, 30 or 31 days, as the case may be.
   For purposes of this Agreement and except as otherwise provided herein, the Average Weekly
   Assets of the Trust shall be calculated pursuant to procedures adopted by the Trustees of the
   Trust for calculating the value of the Trust’s assets or delegating such calculations to third
   parties.

        8. Limitation of Liability. In the absence of willful misfeasance, bad faith or gross
   negligence on the part of Subadviser, or reckless disregard of its obligations and duties
   hereunder, Subadviser shall not be subject to any liability to the Advisor, the Trust or any
   shareholder of the Trust, for any act or omission in the course of, or connected with,
   Subadviser’s rendering of services hereunder.

         9. Definitions. As used in this Agreement, the terms “assignment,” “interested person,”
   “affiliated person,” and “majority of the outstanding voting securities” shall have the meanings
   given to them by Section 2(a) of the 1940 Act, subject to such exemptions as may be granted,
   issued or adopted by the Securities and Exchange Commission or its staff by any rule, regulation,
   or order; the term “specifically approve at least annually” shall be construed in a manner
   consistent with the 1940 Act and the rules and regulations thereunder; and the term “brokerage
   and research services” shall have the meaning given in the Securities Exchange Act of 1934, as
   amended, and the rules and regulations thereunder.

         10. Term. This Agreement shall become effective upon its execution, and shall remain in
   full force and effect continuously thereafter (unless terminated automatically as set forth in
   Section 12) until terminated as follows:

        (a) The Trust may at any time terminate this Agreement by 60 days’ written notice
   delivered or mailed by registered mail, postage prepaid, to the Advisor and Subadviser, or

        (b) If (i) the Trustees or the shareholders of the Trust by vote of a majority of the
   outstanding voting securities of the Trust, and (ii) a majority of the Trustees who are not
   interested persons of the Trust, the Advisor or Subadviser, by vote cast in person at a meeting
   called for the purpose of voting on such approval, do not specifically approve at least annually
   the continuance of this Agreement, then this Agreement shall automatically terminate at the close
   of business on the second anniversary of its execution, or upon the expiration of one year from
   the effective date of the last such continuance, whichever is later; provided, however, that if the
   continuance of this Agreement is submitted to the shareholders of the Trust for their approval
   and such shareholders fail to approve such continuance of this Agreement as provided herein,
   Subadviser may continue to serve hereunder in a manner consistent with the 1940 Act and the
   rules and regulations thereunder, or


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        (c) Subadviser may at any time terminate this Agreement by 60 days’ written notice
   delivered or mailed by registered mail, postage prepaid, to the Advisor.

        Action by the Trust under paragraph (a) of this Section 10 may be taken either (i) by vote of
   a majority of the Trustees, or (ii) by the vote of a majority of the outstanding voting securities of
   the Trust.

       11. Further Actions. Each party agrees to perform such further acts and execute such further
   documents as are necessary to effectuate the purposes hereof.

        12. No Assignment; Amendments. This Agreement shall terminate automatically in the
   event of its assignment or in the event that the Advisory Agreement shall have terminated for any
   reason. Any termination of this Agreement pursuant to Section 10 shall be without the payment
   of any penalty. This Agreement shall not be amended unless such amendment is approved by the
   vote of a majority of the outstanding voting securities of the Trust (provided that such
   shareholder approval is required by the 1940 Act and the rules and regulations thereunder, giving
   effect to any interpretations of the Securities and Exchange Commission and its staff) and by the
   vote, cast in person at a meeting called for the purpose of voting on such approval, of a majority
   of the Trustees who are not interested persons of the Trust, the Advisor or Subadviser.

         13. Non-Exclusive Right. Subadviser hereby grants to the Trust the nonexclusive right and
   license to use the mark “Western Asset Management Company Limited” (the “Licensed Mark”)
   in the Trust’s name and in connection with the formation, issuance, marketing, promotion and
   operations of, or disclosure related to, the Trust. Subadviser agrees that it shall receive no
   compensation for any such use by the Trust. Subadviser hereby warrants and represents that it
   has filed applications and/or owns rights in the Licensed Mark sufficient to grant this license. No
   right, title, or interest in the Licensed Mark, except the right to use the Licensed Mark as
   provided in this Agreement, is or will be transferred to the Trust by this Agreement. Should this
   Agreement be terminated, the Trust agrees that it will take reasonably necessary steps to change
   its name to a name not including the word “Western Asset.”

         14. Miscellaneous. This Agreement embodies the entire agreement and understanding
   between the parties hereto, and supersedes all prior agreements and understandings relating to
   the subject matter hereof. The captions in this Agreement are included for convenience of
   reference only and in no way define or delimit any of the provisions hereof or otherwise affect
   their construction or effect. Should any part of this Agreement be held or made invalid by a court
   decision, statute, rule or otherwise, the remainder of this Agreement shall not be affected
   thereby. This Agreement shall be binding and shall inure to the benefit of the parties hereto and
   their respective successors.

         15. Limitation of Liability. A copy of the Trust’s Agreement and Declaration of Trust is on
   file with the Secretary of The Commonwealth of Massachusetts, and notice is hereby given that
   this Agreement has been executed on behalf of the Trust by an officer of the Trust as an officer
   and not individually and the obligations of or arising out of this Agreement are not binding upon
   any of the Trustees, officers or shareholders of the Trust individually but are binding only upon
   the assets and property of the Trust.



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         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed by
   their officers designated below on the day and year first above written.

   Attest:                                 WESTERN ASSET MANAGEMENT COMPANY


   By:                                     By:

   Attest:                                 WESTERN ASSET MANAGEMENT COMPANY
                                           LIMITED


   By:                                     By:

   The foregoing is accepted by:


   Attest:                                WESTERN ASSET/CLAYMORE INFLATION-
                                          LINKED OPPORTUNITIES & INCOME FUND


   By:                                    By:




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                            WIW Administrative Services Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/1267902/000104746904005444/
                  a2127885zex-99_k2.txt

   NOTE: Minor formatting changes have been made here to the version available online


               ADMINISTRATIVE SERVICES AGREEMENT
             WESTERN ASSET/CLAYMORE U.S. TREASURY INFLATION
                 PROTECTED SECURITIES FUND 2


      AGREEMENT made this ____ day of ______, 2004 by and between Western
   Asset/Claymore U.S. Treasury Inflation Protected Securities Fund 2 (the "Fund"), a
   Massachusetts business trust, and Legg Mason Fund Adviser, Inc. ("Administrator"), a Maryland
   corporation registered as an investment adviser under the Investment Advisers Act of 1940.

     WHEREAS, the Fund is a closed-end investment company registered under the Investment
   Company Act of 1940, as amended (the "1940 Act"); and

     WHEREAS, the Fund wishes to retain the Administrator to provide it with certain
   administrative services; and

      WHEREAS, the Administrator is willing to furnish such services on the terms and conditions
   hereinafter set forth;

      NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

      1. APPOINTMENT. The Administrator is hereby appointed as administrator for the Fund
   for the period and on the terms set forth in this Agreement. The Administrator accepts such
   appointment and agrees to furnish the services herein set forth for the compensation herein
   provided.

      2. DELIVERY OF DOCUMENTS. The Fund has caused the Administrator to be provided
   with copies of each of the following:

     (a) The Fund's Amended and Restated Agreement and Declaration of Trust and all
   amendments thereto;

      (b) The Fund's By-Laws and all amendments thereto;

     (c) Resolutions of the Fund's Board of Trustees authorizing the appointment of the
   Administrator as administrator for the Fund, and approving this Agreement;




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      (d) The Fund's Registration Statement on Form N-2 under the 1940 Act and Securities Act of
   1933, as amended, as filed with the Securities and Exchange Commission, including all exhibits
   thereto, relating to the shares of beneficial interest of the Fund, and all amendments thereto;

      (e) The Fund's most recent prospectus(es); and

      (f) The Fund's most recent statement(s) of additional information.

     The Fund will cause the Administrator to be furnished with copies from time to time of all
   amendments of or supplements to the foregoing.

       3. ADMINISTRATIVE SERVICES. (a) The Administrator, at its expense, shall supply the
   Board of Trustees and officers of the Fund with all statistical information and reports reasonably
   required by them and reasonably available to the Administrator and shall furnish the Fund with
   office facilities, including space, furniture and equipment and all personnel reasonably necessary
   for the administration of the Fund. The Administrator shall authorize and permit any of its
   directors, officers and employees who may be elected as trustees or officers of the Fund to serve
   in the capacities in which they are elected.

      (a) The Administrator shall oversee the maintenance of all books and records with respect to
   the Fund's securities transactions and the keeping of the Fund's books of accounts in accordance
   with all applicable federal and state laws and regulations. In compliance with the requirements of
   Rule 31a-3 under the 1940 Act, the Administrator hereby agrees that any records which it
   maintains for the Fund are the property of the Fund, and further agrees to surrender promptly to
   the Fund or its agents any of such records upon the Fund's request. The Administrator further
   agrees to arrange for the preservation of the records required to be maintained by Rule 31a-1
   under the 1940 Act for the periods prescribed by Rule 31a-2 under the 1940 Act.

      (b) The Administrator shall also provide advice and recommendations with respect to other
   aspects of the business and affairs of the Fund, and shall perform such other functions of
   administration, management and supervision, as are set forth in Schedule A hereto, as such
   Schedule may be amended from time to time in writing by the mutual consent of the parties.

       4. SERVICES NOT EXCLUSIVE; INDEPENDENT CONTRACTOR. The Administrator's
   services hereunder are not deemed to be exclusive, and the Administrator shall be free to render
   similar services to others. It is understood that persons employed by the Administrator to assist in
   the performance of its duties hereunder might not devote their full time to such service. Nothing
   herein contained shall be deemed to limit or restrict the right of the Administrator or any affiliate
   of the Administrator to engage in and devote time and attention to other businesses or to render
   services of any kind or nature to other parties. Unless otherwise expressly provided by this
   Agreement, the Administrator shall be deemed to be an independent contractor.

      5. EXPENSES. During the term of this Agreement, the Administrator will pay all expenses
   incurred by it in connection with its activities under this Agreement.




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       6. COMPENSATION. For the services which the Administrator will render to the Fund
   under this Agreement, the Fund will pay the Administrator a fee, paid monthly, at an annual rate
   of $125,000. If this Agreement is terminated as of any date not the last day of a calendar month,
   a final fee shall be paid promptly after the date of termination, which fee shall be based on the
   percentage of days of the month during which the Agreement was still in effect.

       7. LIMITATION OF LIABILITY. The Administrator assumes no responsibility under this
   Agreement other than to render the services called for hereunder in good faith and without
   negligence, and shall not be responsible for any action of the Board of Trustees of the Fund in
   following or declining to follow any advice or recommendations of the Administrator; provided,
   however, that nothing in this Agreement shall protect the Administrator against any liability to
   the Fund or the Fund's shareholders for a loss resulting from willful misfeasance, bad faith or
   negligence in the performance of its duties or from reckless disregard of its obligations or duties
   under this Agreement.

      8. DEFINITIONS. As used in this Agreement, the term "assignment" shall have the meaning
   given to it by Section 2(a) of the 1940 Act, subject to such exemptions as may be granted by the
   Securities and Exchange Commission by any rule, regulation or order.

      9. DURATION AND TERMINATION. Unless otherwise terminated, this Agreement shall
   continue in effect for two years from the date of execution; and shall continue thereafter on an
   annual basis, provided that such continuance is specifically approved at least annually (a) by the
   vote of a majority of the Board of Trustees of the Fund, and (b) by the vote of a majority of the
   Board of Trustees of the Fund who are not parties to this Agreement or "interested persons" (as
   defined in the 1940 Act) of the Fund or the Administrator, cast in person at a meeting called for
   the purpose of voting on such approval. Notwithstanding the initial term set forth above, this
   Agreement may be terminated by either party hereto (without penalty) at any time upon not less
   than 60 days' prior written notice to the other party hereto. This Agreement will be terminated
   automatically and immediately in the event of its assignment.

      10. FURTHER ACTIONS. Each party agrees to perform such further acts and execute such
   further documents as are necessary to effectuate the purposes hereof.

       11. AMENDMENTS. No provision of this Agreement may be changed, waived, discharged
   or terminated orally, but only by an instrument in writing signed by the party against which
   enforcement of the change, waiver, discharge or termination is sought.

      12. GOVERNING LAW. This Agreement shall be governed by the laws of The
   Commonwealth of Massachusetts, without giving effect to any choice or conflict of law
   provision or rule that would cause the application of the laws of any other jurisdiction.

      13. COUNTERPARTS. This Agreement may be executed in one or more counterparts, each
   of which shall be deemed to be an original.

      14. MISCELLANEOUS. This Agreement embodies the entire agreement and understanding
   between the parties hereto, and supersedes all prior agreements and understandings relating to



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   the subject matter hereof. The captions in this Agreement are included for convenience of
   reference only and in no way define or delimit any of the provisions hereof or otherwise affect
   their construction or effect. Should any part of this Agreement be held or made invalid by a court
   decision, statute, rule or otherwise, the remainder of this Agreement shall not be affected
   thereby. Except as otherwise provided herein, this Agreement shall be binding on and shall inure
   to the benefit of the parties hereto and their respective successors.

      15. STATUS OF THE FUND AS A MASSACHUSETTS BUSINESS TRUST. A copy of
   the Fund's Agreement and Declaration of Trust, as amended, is on file with the Secretary of the
   Commonwealth of Massachusetts, and notice is hereby given that this Agreement has been
   executed on behalf of the Fund by an officer of the Fund as an officer and not individually and
   the obligations of or arising out of this Agreement are not binding upon any of the Trustees,
   officers or shareholders of the Fund individually but are binding only upon the assets and
   property of the Fund.

      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed by
   their officers designated below on the day and year first above written.

   Attest:                WESTERN ASSET/CLAYMORE U.S. TREASURY
                        INFLATION PROTECTED SECURITIES FUND 2

   By:                       By:
    ------------------------      -------------------------------
                             Name:
                             Title:


   Attest:                 LEGG MASON FUND ADVISER, INC.

   By:                       By:
    ------------------------      -------------------------------
                             Name:
                             Title:


                           SCHEDULE A

   DUTIES OF THE ADMINISTRATOR. The Administrator shall perform or arrange for the
   performance of the following administrative and clerical services:

          (a) Calculate or arrange for the calculation and publication of the Fund's net asset value
   daily (or as otherwise requested by the Fund) in accordance with the Fund's policy as adopted
   from time to time by the Board of Trustees;




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          (b) Provide the Fund with administrative offices and data processing facilities as well as
   the services of persons competent to perform such administrative and clerical functions as are
   necessary to provide effective
   operation of the Fund;

         (c)   Maintain the Fund's expense budget and monitor expense accruals;

          (d) Arrange for payment of the Funds' expenses and the review and approval of invoices
   for the Fund's account and submission to a Fund officer for authorization of payment in a manner
   to be agreed upon;

         (e) Oversee and review calculations of fees paid to the administrator, the investment
   adviser, the custodian, the shareholder servicing agent, the transfer agent and any other entity
   providing authorized services to the Fund;

         (f) Compute the Fund's total return, expense ratios and portfolio turnover rate as well as
   various Fund statistical data as reasonably requested;

         (g) Prepare for review and approval by officers of the Fund, financial information for
   the Fund's semi-annual and annual reports, proxy statements and other communications with
   shareholders required or otherwise to be sent to Fund shareholders, and arrange for the printing
   and dissemination of such reports and communications to shareholders;

         (h) Prepare such reports as may reasonably be requested by the Board of Trustees of the
   Fund or the Fund's officers relating to the business and affairs of the Fund as may be mutually
   agreed upon and not otherwise appropriately prepared by the Fund's investment adviser,
   custodian, counsel, auditors or other service providers;

         (i) Prepare, or arrange for preparation, for review, approval and execution by officers of
   the Fund, the Fund's federal, state and local income tax returns, and any other required tax
   returns, as may be mutually agreed upon;

          (j) Calculate the Fund's periodic dividend distributions and annual net investment
   income (including net realized short-term capital gain) and net realized long-term capital gain to
   determine the Fund's appropriate
   level of dividend distributions and the minimum annual distributions to shareholders and the tax
   and accounting treatment of such distributions on a per share basis, to be reviewed by the Fund's
   auditors;

         (k) Prepare, or arrange for preparation, for review by an officer of the Fund the Fund's
   periodic financial reports required to be filed with the Securities and Exchange Commission (the
   "SEC") on Form N-SAR and N-CSR and such other reports, forms or filings, as may be mutually
   agreed upon;

         (l) Prepare, or arrange for preparation, such financial information and reports as may be
   required by any stock exchange or exchanges on which the Fund's shares are listed, and such



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   other information and reports required by such stock exchang(es) as may be mutually agreed
   upon;

          (m) Prepare such financial information and reports as may be required by any banks or
   other institutions from which the Fund borrows funds;

          (n) Monitor and report on the Fund's issuance of preferred shares, including performing,
   or arranging for the performance of, any tests with respect to asset coverage or other matters
   required from time to time by the rating agencies rating such preferred shares and preparing, or
   arranging for the preparation of, maintenance reports in connection therewith as required by the
   rating agencies;

          (o) Coordinate the performance of administrative and professional services rendered to
   the Fund by others, including, without limitation, services provided by its custodian, registrar,
   transfer agent, shareholder servicing agent, dividend disbursing agent and dividend reinvestment
   plan agent, as well as accounting, auditing and such other services as may from time to time be
   mutually agreed;

         (p) Consult as necessary with the Fund's officers, independent accountants, legal
   counsel, investment adviser, custodian, accounting agent and transfer and dividend disbursing
   agent in establishing the accounting policies of the Fund;

         (q) Review implementation of any stock purchase or dividend reinvestment programs
   authorized by the Board of Trustees; and

         (r) Provide such assistance to the investment adviser, the custodian, the shareholder
   servicing agent and the Fund's legal counsel and auditors as generally may reasonably be
   required to properly carry on the business and operations of the Fund.




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                                      WIA Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/1254370/000104746903031627/
                  a2118987zex-99_g1.txt

   NOTE: Minor formatting changes have been made here to the version available online


                  INVESTMENT MANAGEMENT AGREEMENT

      This INVESTMENT MANAGEMENT AGREEMENT, made this ____ day of _________,
   2003, by and between Western Asset/Claymore U.S. Treasury Inflation Protected Securities
   Fund, a Massachusetts business trust (the "Trust"), and Western Asset Management Company, a
   California corporation (the "Manager").

      WHEREAS, the Trust is registered as a closed-end management investment company under
   the Investment Company Act of 1940, as amended ("1940 Act"); and

     WHEREAS, the Trust wishes to retain the Manager to provide certain investment advisory,
   management and administrative services; and

      WHEREAS, the Manager is willing to furnish such services on the terms and conditions
   hereinafter set forth;

      NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

      1. The Trust hereby appoints Western Asset Management Company as Manager of the Trust
   for the period and on the terms set forth in this Agreement. The Manager accepts such
   appointment and agrees to render the services herein set forth, for the compensation herein
   provided.

      2. The Trust shall at all times keep the Manager fully informed with regard to the securities
   and other property owned by it, its funds available, or to become available, for investment, and
   generally as to the condition of its affairs. It shall furnish the Manager with such other
   documents and information with regard to its affairs as the Manager may from time to time
   reasonably request.

      3. (a) Subject to the supervision of the Trust's Board of Trustees (the "Trustees"), the Manager
   shall regularly provide the Trust with investment research, advice, management and supervision
   and shall furnish a continuous investment program for the Trust consistent with the Trust's
   investment objectives, policies and restrictions. The Manager shall determine from time to time
   what securities or other property will be purchased, retained or sold by the Trust, and shall
   implement those decisions, all subject to the provisions of the Trust's Agreement and Declaration
   of Trust and By-Laws, the 1940 Act, the applicable rules and regulations of the Securities and
   Exchange Commission, and other applicable federal and state law, as well as the investment



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   objectives, policies and restrictions of the Trust, as each of the foregoing may be amended from
   time to time. The Manager will place orders pursuant to its investment determinations for the
   Trust either directly with the issuer or with any broker, dealer or futures commission merchant
   (collectively, a "broker"). In the selection of brokers and the placing of orders for the purchase
   and sale of portfolio investments for the Trust, the Manager shall seek to obtain the most
   favorable price and execution available, except to the extent it may be permitted to pay higher
   brokerage commissions for brokerage and research services as described below. In using its best
   efforts to obtain for the Trust the most favorable price and execution available, the Manager,
   bearing in mind the Trust's best interests at all times, shall consider all factors it deems relevant,
   including, by way of illustration, price, the size of the transaction, the nature of the market for
   the security, the amount of the commission, the timing of the transaction taking into account
   market prices and trends, the reputation, experience and financial stability of the broker involved
   and the quality of service rendered by the broker in other transactions. Subject to such policies as
   the Trustees may determine, the Manager shall not be deemed to have acted unlawfully or to
   have breached any duty created by this Agreement or otherwise solely by reason of its having
   caused the Trust to pay, on behalf of the Trust, a broker that provides brokerage and research
   services to the Manager or any affiliated person of the Manager an amount of commission for
   effecting a portfolio investment transaction in excess of the amount of commission another
   broker would have charged for effecting that transaction, if the Manager determines in good faith
   that such amount of commission was reasonable in relation to the value of the brokerage and
   research services provided by such broker, viewed in terms of either that particular transaction or
   the Manager's overall responsibilities with respect to the Trust and to other clients of the
   Manager and any affiliated person of the Manager as to which the Manager or any affiliated
   person of the Manager exercises investment discretion. The Manager shall also provide advice
   and recommendations with respect to other aspects of the business and affairs of the Trust, and
   shall perform such other functions of management and supervision, as may be directed by the
   Trustees.

      (b) The Trust hereby agrees with the Manager and with any investment adviser appointed
   pursuant to Paragraph 4 below (an "Investment Adviser") that any entity or person associated
   with the Manager or Investment Adviser (or with any affiliated person of the Manager or
   Investment Adviser) that is a member of a national securities exchange is authorized to effect
   any transaction on such exchange for the account of the Trust which is permitted by Section
   11(a) of the Securities Exchange Act of 1934, as amended, and Rule 11a2-2(T) thereunder, and
   the Trust hereby consents to the retention of compensation for such transactions in accordance
   with Rule 11a2-2(T)(a)(2)(iv) or otherwise.

      4. The Manager may enter into a contract ("Portfolio Management Agreement") with one or
   more investment advisers in which the Manager delegates to such investment adviser or
   investment advisers any or all of its duties specified in Paragraph 3 hereunder. Such Portfolio
   Management Agreement must meet all requirements of the 1940 Act and the rules and
   regulations thereunder.

      5. (a) The Manager, at its expense, shall supply the Board of Trustees and officers of the Trust
   with statistical information and reports reasonably requested by them and reasonably available to
   the Manager. The Manager shall oversee the maintenance of all books and records with respect



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   to the Trust's portfolio transactions and the keeping of the Trust's books of account in accordance
   with all applicable federal and state laws and regulations and shall perform such other
   administrative, bookkeeping or clerical duties as may be agreed upon by the parties. In
   compliance with the requirements of Rule 31a-3 under the 1940 Act, the Manager hereby agrees
   that any records which it maintains for the Trust are the property of the Trust, and further agrees
   to surrender promptly to the Trust or its agents any of such records upon the Trust's request. The
   Manager further agrees to arrange for the preservation of the records required to be maintained
   by Rule 31a-1 under the 1940 Act for the periods prescribed by Rule 31a-2 under the 1940 Act.
   The Manager shall authorize and permit any of its directors, officers and employees, who may be
   elected as Trustees or officers of the Trust, to serve in the capacities in which they are elected.
   The Manager may enter into a contract with one or more other parties in which the Manager
   delegates to such party or parties any or all of the duties specified in this Paragraph 5(a).

      (b) Other than as herein specifically indicated, the Manager shall not be responsible for the
   expenses of the Trust. Specifically (but without limitation), the Manager will not be responsible
   for any of the following expenses of the Trust, which expenses shall be borne by the Trust:
   advisory fees; distribution fees; interest; taxes; governmental fees; fees, voluntary assessments
   and other expenses incurred in connection with membership in investment company
   organizations; the cost (including brokerage commissions or charges, if any) of securities or
   other property purchased or sold by the Trust and any losses in connection therewith; fees of
   custodians, transfer agents, registrars, administrators or other agents; legal expenses; expenses of
   preparing share certificates; expenses relating to the redemption or repurchase of the Trust's
   shares; expenses of registering and qualifying shares of the Trust for sale under applicable
   federal and state law; expenses of preparing, setting in print, printing and distributing
   prospectuses, reports, notices and dividends to Trust shareholders; costs of stationery; costs of
   shareholders' and other meetings of the Trust; Trustees' fees; audit fees; travel expenses of
   officers, Trustees and employees of the Trust, if any; and the Trust's pro rata portion of
   premiums on any fidelity bond and other insurance covering the Trust and/or its officers and
   Trustees.

      6. No Trustee, officer or employee of the Trust shall receive from the Trust any salary or
   other compensation as such Trustee, officer or employee while he or she is at the same time a
   director, officer, or employee of the Manager or any affiliated company of the Manager. This
   Paragraph 6 shall not apply to Trustees, executive committee members, consultants and other
   persons who are not regular members of the Manager's or any affiliated company's staff.

      7. As compensation for the services performed and expenses assumed by the Manager,
   including the services of any consultants, investment advisers or other parties retained by the
   Manager, the Trust shall pay the Manager an annual fee, payable on a monthly basis, at the
   annual rate of 0.40% of the Trust's average weekly assets. "Average Weekly Assets" means the
   average weekly value of the total assets of the Trust (including any assets attributable to
   leverage) minus accrued liabilities (other than liabilities representing leverage). For purposes of
   calculating Average Weekly Assets, neither the liquidation preference of any preferred shares of
   beneficial interest outstanding nor any liabilities associated with any instruments or transactions
   used by the Manager to leverage the Trust's portfolio (whether or not such instruments or
   transactions are "covered" within the meaning of the 1940 Act and the rules and regulations



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   thereunder, giving effect to any interpretations of the Securities and Exchange Commission and
   its staff) is considered a liability. In addition, with respect to reverse repurchase or dollar roll
   transactions ("Repurchase Transactions") entered into by the Trust, Average Weekly Assets
   includes (a) any proceeds from the sale of an asset (the "Underlying Asset") of the Trust to a
   counterparty in a Repurchase Transaction and (b) the value of such Underlying Asset as of the
   relevant measuring date. The first payment of the fee shall be made as promptly as possible at the
   end of the month succeeding the effective date of this Agreement. For any period less than a
   month during which this Agreement is in effect, the fee shall be prorated according to the
   proportion which such period bears to a full month of 28, 29, 30 or 31 days, as the case may be.
   For purposes of this Agreement and except as otherwise provided herein, the Average Weekly
   Assets of the Trust shall be calculated pursuant to procedures adopted by the Trustees of the
   Trust for calculating the value of the Trust's assets or delegating such calculations to third
   parties. In the event that the expenses of the Trust exceed any expense limitation which the
   Manager may, by written notice to the Trust, voluntarily declare to be effective with respect to
   the Trust, subject to such terms and conditions as the Manager may prescribe in such notice, the
   compensation due the Manager shall be reduced, and, if necessary, the Manager shall bear the
   Trust's expenses to the extent required by such expense limitation.

      8. In the absence of willful misfeasance, bad faith or gross negligence on the part of the
   Manager, or reckless disregard of its obligations and duties hereunder, the Manager shall not be
   subject to any liability to the Trust or to any shareholder of the Trust, for any act or omission in
   the course of, or connected with, rendering services hereunder.

       9. Nothing in this Agreement shall limit or restrict the right of any director, officer, or
   employee of the Manager who may also be a Trustee, officer, or employee of the Trust to engage
   in any other business or to devote his or her time and attention to the management or other
   aspects of any other business, whether of a similar nature or a dissimilar nature, or limit or
   restrict the right of the Manager to engage in any other business or to render services of any kind,
   including investment advisory and management services, to any other trust, firm, individual or
   association.

      10. As used in this Agreement, the terms "assignment," "interested person," "affiliated
   person," and "majority of the outstanding voting securities" shall have the meanings given to
   them by Section 2(a) of the 1940 Act, subject to such exemptions as may be granted, issued or
   adopted by the Securities and Exchange Commission or its staff by any rule, regulation, or order;
   the term "specifically approve at least annually" shall be construed in a manner consistent with
   the 1940 Act and the rules and regulations thereunder; and the term "brokerage and research
   services" shall have the meaning given in the Securities Exchange Act of 1934, as amended, and
   the rules and regulations thereunder.

      11. This Agreement shall become effective upon its execution, and shall remain in full force
   and effect continuously thereafter (unless terminated automatically as set forth in Paragraph 12
   below) until terminated as follows:

         (a) Either party hereto may at any time terminate this Agreement by not more than sixty
   days' written notice delivered or mailed by registered mail, postage prepaid, to the other party, or



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          (b) If (i) the Trustees or the shareholders of the Trust by the vote of a majority of the
   outstanding voting securities of the Trust, and (ii) a majority of the Trustees who are not
   interested persons of the Trust or of the Manager, by vote cast in person at a meeting called for
   the purpose of voting on such approval, do not specifically approve at least annually the
   continuance of this Agreement, then this Agreement shall automatically terminate at the close of
   business on the second anniversary of its execution, or upon the expiration of one year from the
   effective date of the last such continuance, whichever is later; PROVIDED, HOWEVER, that if
   the continuance of this Agreement is submitted to the shareholders of the Trust for their approval
   and such shareholders fail to approve such continuance of this Agreement as provided herein, the
   Manager may continue to serve hereunder in a manner consistent with the 1940 Act and the rules
   and regulations thereunder.

       Action by the Trust under paragraph (a) of this Paragraph 11 may be taken either (i) by vote
   of a majority of the Trustees, or (ii) by the vote of a majority of the outstanding voting securities
   of the Trust.

      12. Except as otherwise provided herein, this Agreement shall terminate automatically in the
   event of its assignment by the Manager and shall not be assignable by the Trust without the
   consent of the Manager. Any termination of this Agreement pursuant to Paragraph 11 shall be
   without the payment of any penalty. This Agreement shall not be amended unless such
   amendment is approved by the vote of a majority of the outstanding voting securities of the Trust
   (provided that such shareholder approval is required by the 1940 Act and the rules and
   regulations thereunder, giving effect to any interpretations of the Securities and Exchange
   Commission and its staff), and by the vote, cast in person at a meeting called for the purpose of
   voting on such approval, of a majority of the Trustees who are not interested persons of the Trust
   or of the Manager.

      13. In the event this Agreement is terminated by either party or upon written notice from the
   Manager at any time, the Trust hereby agrees that it will eliminate from its corporate name any
   reference to the name of "Western." The Trust shall have the non-exclusive use of the name
   "Western" in whole or in part only so long as this Agreement is effective or until such notice is
   given.

      14. This Agreement embodies the entire agreement and understanding between the parties
   hereto, and supersedes all prior agreements and understandings relating to the subject matter
   hereof. Should any part of this Agreement be held or made invalid by a court decision, statute,
   rule or otherwise, the remainder of this Agreement shall not be affected thereby. This Agreement
   shall be binding and shall inure to the benefit of the parties hereto and their respective
   successors.

      15. A copy of the Trust's Agreement and Declaration of Trust, as amended, is on file with the
   Secretary of the Commonwealth of Massachusetts, and notice is hereby given that this
   Agreement has been executed on behalf of the Trust by an officer of the Trust as an officer and
   not individually and the obligations of or arising out of this Agreement are not binding upon any




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   of the Trustees, officers or shareholders of the Trust individually but are binding only upon the
   assets and property of the Trust.


      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
   executed by their officers thereunto duly authorized.

   Attest:              WESTERN ASSET/CLAYMORE U.S. TREASURY
                      INFLATION PROTECTED SECURITIES FUND


   By:                 By:
     --------------          --------------------------------------

   Attest:             WESTERN ASSET MANAGEMENT COMPANY


   By:                 By:
     --------------          --------------------------------------




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                                        Comparison of
                              WIA Advisory Agreement Section 3(a)
                                             to
                              WIW Advisory Agreement Section 3(a)

       3. (a) Subject to the supervision of the Trust's Board of Trustees (the "Trustees"), the
   AdvisorManager shall regularly provide the Trust with investment research, advice, management
   and supervision and shall furnish a continuous investment program for the Trust consistent with
   the Trust's investment objectives, policies and restrictions. The AdvisorManager shall determine
   from time to time what securities or other property will be purchased, retained or sold by the
   Trust, and shall implement those decisions, all subject to the provisions of the Trust's Agreement
   and Declaration of Trust and By-Laws, the 1940 Act, the applicable rules and regulations of the
   Securities and Exchange Commission, and other applicable federal and state law, as well as the
   investment objectives, policies and restrictions of the Trust, as each of the foregoing may be
   amended from time to time. The AdvisorManager will place orders pursuant to its investment
   determinations for the Trust either directly with the issuer or with any broker, dealer or futures
   commission merchant (collectively, a "broker"). In the selection of brokers and the placing of
   orders for the purchase and sale of portfolio investments for the Trust, the AdvisorManager shall
   seek to obtain the most favorable price and execution available, except to the extent it may be
   permitted to pay higher brokerage commissions for brokerage and research services as described
   below. In using its best efforts to obtain for the Trust the most favorable price and execution
   available, the AdvisorManager, bearing in mind the Trust's best interests at all times, shall
   consider all factors it deems relevant, including, by way of illustration, price, the size of the
   transaction, the nature of the market for the security, the amount of the commission, the timing
   of the transaction taking into account market prices and trends, the reputation, experience and
   financial stability of the broker involved and the quality of service rendered by the broker in
   other transactions. Subject to such policies as the Trustees may determine, the AdvisorManager
   shall not be deemed to have acted unlawfully or to have breached any duty created by this
   Agreement or otherwise solely by reason of its having caused the Trust to pay, on behalf of the
   Trust, a broker that provides brokerage and research services to the AdvisorManager or any
   affiliated person of the AdvisorManager an amount of commission for effecting a portfolio
   investment transaction in excess of the amount of commission another broker would have
   charged for effecting that transaction, if the AdvisorManager determines in good faith that such
   amount of commission was reasonable in relation to the value of the brokerage and research
   services provided by such broker, viewed in terms of either that particular transaction or the
   Advisor'sManager's overall responsibilities with respect to the Trust and to other clients of the
   AdvisorManager and any affiliated person of the AdvisorManager as to which the
   AdvisorManager or any affiliated person of the AdvisorManager exercises investment discretion.
   The AdvisorManager shall also provide advice and recommendations with respect to other
   aspects of the business and affairs of the Trust, and shall perform such other functions of
   management and supervision, as may be directed by the Trustees.




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                                    WAFSX Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/863520/000027630002000005/
                  western485bexd1xi.txt

   NOTE: Minor formatting changes have been made here to the version available online


                   INVESTMENT MANAGEMENT AGREEMENT

        This INVESTMENT MANAGEMENT AGREEMENT, made this 31st day of December,
   2001, by and between Western Asset Funds, Inc., a Maryland corporation (the
   "Corporation"), on behalf of Western Asset Inflation Indexed Bond Portfolio (the "Fund"), and
   Legg Mason Fund Adviser, Inc., a Maryland corporation (the "Manager").

       WHEREAS, the Corporation is registered as an open-end management investment
   company under the Investment Company Act of 1940, as amended ("1940 Act"); and

        WHEREAS, the Corporation wishes to retain the Manager to provide certain
   investment advisory, management and administrative services to the Fund; and

         WHEREAS, the Manager is willing to furnish such services on the terms and conditions
   hereinafter set forth;

        NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

        1. The Corporation hereby appoints Legg Mason Fund Adviser, Inc. as Manager of the
   Fund for the period and on the terms set forth in this Agreement. The Manager accepts such
   appointment and agrees to render the services herein set forth, for the compensation herein
   provided.

         2. The Fund shall at all times keep the Manager fully informed with regard to the
   securities and other property owned by it, its funds available, or to become available, for
   investment, and generally as to the condition of its affairs. It shall furnish the Manager with
   such other documents and information with regard to its affairs as the Manager may from
   time to time reasonably request.

         3. (a) Subject to the supervision of the Corporation's Board of Directors (the
   "Directors"), the Manager shall regularly provide the Fund with investment research, advice,
   management and supervision and shall furnish a continuous investment program for the Fund
   consistent with the Fund's investment objectives, policies and restrictions. The Manager shall
   determine from time to time what securities or other property will be purchased, retained or
   sold by the Fund, and shall implement those decisions, all subject to the provisions of the
   Corporation's Articles of Incorporation and By-Laws, the 1940 Act, the applicable rules and
   regulations of the Securities and Exchange Commission, and other applicable federal and state



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   law, as well as the investment objectives, policies and restrictions of the Fund, as each of the
   foregoing may be amended from time to time. The Manager will place orders pursuant to its
   investment determinations for the Fund either directly with the issuer or with any broker, dealer
   or futures commission merchant (collectively, a "broker"). In the selection of brokers and
   the placing of orders for the purchase and sale of portfolio investments for the Fund, the
   Manager shall seek to obtain the most favorable price and execution available, except to the
   extent it may be permitted to pay higher brokerage commissions for brokerage and research
   services as described below. In using its best efforts to obtain for the Fund the most favorable
   price and execution available, the Manager, bearing in mind the Fund's best interests at all
   times, shall consider all factors it deems relevant, including, by way of illustration, price, the
   size of the transaction, the nature of the market for the security, the amount of the commission,
   the timing of the transaction taking into account market prices and trends, the reputation,
   experience and financial stability of the broker involved and the quality of service rendered by
   the broker in other transactions. Subject to such policies as the Directors may determine, the
   Manager shall not be deemed to have acted unlawfully or to have breached any duty created
   by this Agreement or otherwise solely by reason of its having caused the Corporation to pay,
   on behalf of the Fund, a broker that provides brokerage and research services to the Manager or
   any affiliated person of the Manager an amount of commission for effecting a portfolio
   investment transaction in excess of the amount of commission another broker would have
   charged for effecting that transaction, if the Manager determines in good faith that such
   amount of commission was reasonable in relation to the value of the brokerage and research
   services provided by such broker, viewed in terms of either that particular transaction or the
   Manager's overall responsibilities with respect to the Fund and to other clients of the Manager
   and any affiliated person of the Manager as to which the Manager or any affiliated person of the
   Manager exercises investment discretion. The Manager shall also provide advice and
   recommendations with respect to other aspects of the business and affairs of the Fund, and
   shall perform such other functions of management and supervision, as may be directed by the
   Directors.

         (b) The Corporation hereby agrees with the Manager and with any investment adviser
   appointed pursuant to Paragraph 4 below (an "Investment Adviser") that any entity or person
   associated with the Manager or Investment Adviser (or with any affiliated person of the
   Manager or Investment Adviser) which is a member of a national securities exchange is
   authorized to effect any transaction on such exchange for the account of the Fund which is
   permitted by Section 11(a) of the Securities Exchange Act of 1934, as amended, and Rule
   11a2-2(T) thereunder, and the Corporation hereby consents to the retention of compensation
   for such transactions in accordance with Rule 11a2-2(T)(a)(2)(iv) or otherwise.

         4. The Manager may enter into a contract ("Investment Advisory Agreement") with
   one or more investment advisers in which the Manager delegates to such investment adviser or
   investment advisers any or all of its duties specified in Paragraph 3 hereunder. Such Investment
   Advisory Agreement must meet all requirements of the 1940 Act and the rules and regulations
   thereunder.

        5. (a) The Manager, at its expense, shall supply the Board of Directors and officers of the
   Corporation with all statistical information and reports reasonably required by them and



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   reasonably available to the Manager and shall furnish the Corporation and the Fund with office
   facilities, including space, furniture and equipment and all personnel reasonably necessary for
   the operation of the Corporation and the Fund. The Manager shall oversee the maintenance of
   all books and records with respect to the Fund's portfolio transactions and the keeping of the
   Corporation's and the Fund's books of account in accordance with all applicable federal and
   state laws and regulations and shall perform such other administrative, bookkeeping or clerical
   duties as may be agreed upon by the parties. In compliance with the requirements of Rule 31a-
   3 under the 1940 Act, the Manager hereby agrees that any records which it maintains for the
   Corporation or the Fund are the property of the Corporation, and further agrees to surrender
   promptly to the Corporation or its agents any of such records upon the Corporation's request.
   The Manager further agrees to arrange for the preservation of the records required to be
   maintained by Rule 31a-1 under the 1940 Act for the periods prescribed by Rule 31a-2 under
   the 1940 Act. The Manager shall authorize and permit any of its directors, officers and
   employees, who may be elected as Directors or officers of the Corporation, to serve in the
   capacities in which they are elected. The Manager may enter into a contract with one or more
   other parties in which the Manager delegates to such party or parties any or all of the duties
   specified in this Paragraph 5(a).

          (b) Other than as herein specifically indicated, the Manager shall not be responsible for
   the expenses of the Corporation or any series of the Corporation, including the Fund.
   Specifically (but without limitation), the Manager will not be responsible, except to the
   extent of the reasonable compensation of employees of the Corporation and the Fund whose
   services may be used by the Manager hereunder, for any of the following expenses of the
   Fund, which expenses shall be borne by the Fund: advisory fees; distribution fees; interest;
   taxes; governmental fees; fees, voluntary assessments and other expenses incurred in
   connection with membership in investment company organizations; the cost (including
   brokerage commissions or charges, if any) of securities or other property purchased or sold by
   the Fund and any losses in connection therewith; fees of custodians, transfer agents,
   registrars, administrators or other agents; legal expenses; expenses of preparing share
   certificates; expenses relating to the redemption or repurchase of the Fund's shares; expenses of
   registering and qualifying shares of the Fund for sale under applicable federal and state law;
   expenses of preparing, setting in print, printing and distributing prospectuses, reports, notices
   and dividends to Fund shareholders; costs of stationery; costs of shareholders' and other
   meetings of the Fund; Directors' fees; audit fees; travel expenses of officers, Directors and
   employees of the Corporation, if any; and the Corporation's pro rata portion of premiums on any
   fidelity bond and other insurance covering the Corporation and/or its officers and Directors.

          6. No Director, officer or employee of the Corporation or Fund shall receive from the
   Corporation any salary or other compensation as such Director, officer or employee while he
   is at the same time a director, officer, or employee of the Manager or any affiliated company
   of the Manager. This Paragraph 6 shall not apply to Directors, executive committee members,
   consultants and other persons who are not regular members of the Manager's or any affiliated
   company's staff.

        7. As compensation for the services performed and the facilities furnished and
   expenses assumed by the Manager, including the services of any consultants, investment



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   advisers or other parties retained by the Manager, the Fund shall pay the Manager, as promptly
   as possible after the last day of each month, a fee, computed daily at an annual rate of 0.20% of
   the average daily net assets of the Fund. The first payment of the fee shall be made as promptly
   as possible at the end of the month succeeding the effective date of this Agreement. If this
   Agreement is terminated as of any date not the last day of a month, such fee shall be paid as
   promptly as possible after such date of termination, shall be based on the average daily net
   assets of the Fund in that period from the beginning of such month to such date of termination,
   and shall be based on that proportion of such average daily net assets as the number of business
   days in such period bears to the number of business days in such month. The average daily net
   assets of the Fund shall in all cases be based only on business days and be computed as of the
   time of the regular close of business of the New York Stock Exchange, or such other time as
   may be determined by the Board of Directors of the Corporation. Each such payment shall be
   accompanied by a report prepared either by the Fund or by a reputable firm of independent
   accountants, which shall show the amount properly payable to the Manager under this
   Agreement and the detailed computation thereof. In the event that the expenses of the Fund
   exceed any expense limitation which the Manager may, by written notice to the Corporation,
   voluntarily declare to be effective with respect to the Fund, subject to such terms and
   conditions as the Manager may prescribe in such notice, the compensation due the Manager
   shall be reduced, and, if necessary, the Manager shall bear the Fund's expenses to the extent
   required by such expense limitation.

        8. In the absence of willful misfeasance, bad faith or gross negligence on the part of the
   Manager, or reckless disregard of its obligations and duties hereunder, the Manager shall not
   be subject to any liability to the Fund or to any shareholder of the Fund, for any act or
   omission in the course of, or connected with, rendering services hereunder.

         9. Nothing in this Agreement shall limit or restrict the right of any director, officer, or
   employee of the Manager who may also be a Director, officer, or employee of the
   Corporation or the Fund to engage in any other business or to devote his time and attention in
   part to the management or other aspects of any other business, whether of a similar nature or
   a dissimilar nature, or limit or restrict the right of the Manager to engage in any other business
   or to render services of any kind, including investment advisory and management services, to
   any other corporation, firm, individual or association.

         10. As used in this Agreement, the terms "assignment," "interested person," "affiliated
   person," and "majority of the outstanding voting securities" shall have the meanings given
   to them by Section 2(a) of the 1940 Act, subject to such exemptions and interpretations as may
   be granted by the Securities and Exchange Commission by any rule, regulation or order; the
   term "specifically approve at least annually" shall be construed in a manner consistent with
   the 1940 Act and the rules and regulations thereunder; and the term "brokerage and research
   services" shall have the meaning given in the Securities Exchange Act of 1934, as amended,
   and the rules and regulations thereunder.

         11. This Agreement shall become effective upon its execution, and shall remain in full
   force and effect continuously thereafter (unless terminated automatically as set forth in
   Paragraph 12 below) until terminated as follows:



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               (a) Either party hereto may at any time terminate this Agreement by not more
   than sixty days' written notice delivered or mailed by registered mail, postage prepaid, to the
   other party, or

               (b) If (i) the Directors or the shareholders of the Fund by the vote of a majority of
   the outstanding voting securities of the Fund, and (ii) a majority of the Directors who are
   not interested persons of the Corporation or of the Manager, by vote cast in person at a meeting
   called for the purpose of voting on such approval, do not specifically approve at least
   annually the continuance of this Agreement, then this Agreement shall automatically
   terminate at the close of business on the second anniversary of its execution, or upon the
   expiration of one year from the effective date of the last such continuance, whichever is later;
   provided, however, that if the continuance of this Agreement is submitted to the shareholders
   of the Fund for their approval and such shareholders fail to approve such continuance of this
   Agreement as provided herein, the Manager may continue to serve hereunder in a manner
   consistent with the 1940 Act and the rules and regulations thereunder.

         Action by the Corporation under paragraph (a) of this Paragraph 11 may be taken either (i)
   by vote of a majority of the Directors, or (ii) by the vote of a majority of the outstanding voting
   securities of the Fund.

         12. This Agreement shall terminate automatically in the event of its assignment by the
   Manager and shall not be assignable by the Corporation without the consent of the Manager.
   Any termination of this Agreement pursuant to Paragraph 11 shall be without the payment of
   any penalty. This Agreement shall not be amended unless such amendment is approved by the
   vote of a majority of the outstanding voting securities of the Fund (provided that such
   shareholder approval is required by the 1940 Act and the rules and regulations thereunder,
   giving effect to any interpretations of the Securities and Exchange Commission and its staff),
   and by the vote, cast in person at a meeting called for the purpose of voting on such approval,
   of a majority of the Directors who are not interested persons of the Corporation or of the
   Manager.

         13. In the event this Agreement is terminated by either party or upon written notice from
   the Manager at any time, the Corporation hereby agrees that it will eliminate from its
   corporate name any reference to the name of "Western." The Corporation shall have the
   non-exclusive use of the name "Western" in whole or in part only so long as this Agreement
   is effective or until such notice is given.

          14. The Manager agrees that for services rendered to the Fund, or indemnity due in
   connection with service to the Fund, it shall look only to assets of the Fund for satisfaction and
   that it shall have no claim against the assets of any other series of the Corporation.

         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
   by their officers thereunto duly authorized.

   Attest:                    WESTERN ASSET FUNDS, INC.



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   By: /s/ Lisa G. Hathaway           By: /s/ Ilene S. Harker
     --------------------         ------------------------------------
                              Ilene S. Harker
                              Vice President

   Attest:                    LEGG MASON FUND ADVISER, INC.


   By: /s/ Marc R. Duffy             By: /s/ Philip E. Sachs
     --------------------         ------------------------------------
                              Philip E. Sachs
                              Vice President




                                            Exhibit 12 – Page 6
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               Exhibit 13
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                                        Comparison of
                             WAFSX Advisory Agreement Section 3(a)
                                             to
                              WIA Advisory Agreement Section 3(a)

         3. (a) Subject to the supervision of the Trust's Corporation's Board of TrusteesDirectors
   (the "Trustees"), "Directors"), the Manager shall regularly provide the TrustFund with
   investment research, advice, management and supervision and shall furnish a continuous
   investment program for the TrustFund consistent with the Trust'sFund's investment objectives,
   policies and restrictions. The Manager shall determine from time to time what securities or other
   property will be purchased, retained or sold by the TrustFund, and shall implement those
   decisions, all subject to the provisions of the Trust's Agreement Corporation's Articles of
   Incorporation and Declaration of Trust and By-Laws, the 1940 Act, the applicable rules and
   regulations of the Securities and Exchange Commission, and other applicable federal and state
   law, as well as the investment objectives, policies and restrictions of the TrustFund, as each of
   the foregoing may be amended from time to time. The Manager will place orders pursuant to
   its investment determinations for the TrustFund either directly with the issuer or with any
   broker, dealer or futures commission merchant (collectively, a "broker"). In the selection of
   brokers and the placing of orders for the purchase and sale of portfolio investments for the
   Trust,Fund, the Manager shall seek to obtain the most favorable price and execution
   available, except to the extent it may be permitted to pay higher brokerage commissions
   for brokerage and research services as described below. In using its best efforts to obtain for
   the TrustFund the most favorable price and execution available, the Manager, bearing in mind
   the Trust'sFund's best interests at all times, shall consider all factors it deems relevant,
   including, by way of illustration, price, the size of the transaction, the nature of the market for
   the security, the amount of the commission, the timing of the transaction taking into account
   market prices and trends, the reputation, experience and financial stability of the broker
   involved and the quality of service rendered by the broker in other transactions. Subject to such
   policies as the TrusteesDirectors may determine, the Manager shall not be deemed to have acted
   unlawfully or to have breached any duty created by this Agreement or otherwise solely by
   reason of its having caused the Trust Corporation to pay, on behalf of the TrustFund, a broker
   that provides brokerage and research services to the Manager or any affiliated person of the
   Manager an amount of commission for effecting a portfolio investment transaction in excess
   of the amount of commission another broker would have charged for effecting that transaction,
   if the Manager determines in good faith that such amount of commission was reasonable in
   relation to the value of the brokerage and research services provided by such broker, viewed
   in terms of either that particular transaction or the Manager's overall responsibilities with
   respect to the TrustFund and to other clients of the Manager and any affiliated person of the
   Manager as to which the Manager or any affiliated person of the Manager exercises investment
   discretion. The Manager shall also provide advice and recommendations with respect to other
   aspects of the business and affairs of the Trust,Fund, and shall perform such other functions of
   management and supervision, as may be directed by the Trustees.
   Directors.




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                                 WAFSX Sub-Advisory Agreement

   Available at   https://www.sec.gov/Archives/edgar/data/863520/000027630002000005/
                  western485bexd2xiv.txt

   NOTE: Minor formatting changes have been made here to the version available online


                      ADVISORY AGREEMENT

        AGREEMENT made this 31st day of December, 2001, by and between Legg Mason
   Fund Adviser, Inc. ("Manager"), a Maryland corporation, and Western Asset Management
   Company ("Western"), a California corporation, each of which is registered as an investment
   adviser under the Investment Advisers Act of 1940, as amended.

         WHEREAS, the Manager is the manager of certain of the series of Western Asset Funds,
   Inc. (the "Corporation"), an open-end, management investment company registered under
   the Investment Company Act of 1940, as amended (the "1940 Act"); and

        WHEREAS, the Manager wishes to retain Western to provide certain investment
   advisory services in connection with the Manager's management of Western Asset Inflation
   Indexed Bond Portfolio ("Fund"), a series of the Corporation; and

         WHEREAS, Western is willing to furnish such services on the terms and conditions
   hereinafter set forth;

        NOW, THEREFORE, in consideration of the promises and mutual covenants herein
   contained, it is agreed as follows:

        1. Appointment. The Manager hereby appoints Western as investment adviser for the
   Fund for the period and on the terms set forth in this Agreement. Western accepts such
   appointment and agrees to furnish the services herein set forth for the compensation herein
   provided.

         2. Delivery of Documents. The Manager has furnished Western with copies of each of the
   following:

         (a) The Corporation's Articles of Incorporation and all amendments thereto (such
   Articles of Incorporation, as presently in effect and as they shall from time to time be amended,
   are herein called the "Articles");

         (b) The Corporation's By-Laws and all amendments thereto (such By-Laws, as presently
   in effect and as they shall from time to time be amended, are herein called the "By-Laws");

        (c) Resolutions of the Corporation's Board of Directors (the "Directors")
   authorizing the appointment of the Manager as the manager and Western as investment



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   adviser and approving the Investment Management Agreement between the Manager and the
   Corporation with respect to the Fund dated December 31, 2001 (the "Management Agreement")
   and this Agreement;

         (d) The Corporation's most recently filed Post-Effective Amendment to its Registration
   Statement on Form N-1A under the Securities Act of 1933, as amended, and the 1940 Act,
   including all exhibits thereto, relating to shares of common stock of the Fund, par value $.001
   per share;

       (e) The Fund's most recent prospectus (such prospectus, as presently in effect, and all
   amendments and supplements thereto are herein called the "Prospectus"); and

         (f) The Fund's most recent statement of additional information (such statement of
   additional information, as presently in effect, and all amendments and supplements thereto are
   herein called the "Statement of Additional Information").

   The Manager will furnish Western from time to time with copies of all amendments of or
   supplements to the foregoing.

          3. Investment Advisory Services. (a) Subject to the supervision of the Directors and the
   Manager, Western shall as requested by the Manager regularly provide the Fund with
   investment research, advice, management and supervision and shall furnish a continuous
   investment program for the Fund consistent with the Fund's investment objectives, policies,
   and restrictions as stated in the Fund's current Prospectus and Statement of Additional
   Information. Western shall as requested by the Manager determine from time to time what
   securities or other property will be purchased, retained or sold by the Fund, and shall
   implement those decisions, all subject to the provisions of the Corporation's Articles of
   Incorporation and By-Laws, the 1940 Act, the applicable rules and regulations of the Securities
   and Exchange Commission, and other applicable federal and state law, as well as the
   investment objectives, policies, and restrictions of the Fund, as each of the foregoing may be
   amended from time to time. Western will as requested by the Manager place orders pursuant to
   its investment determinations for the Fund either directly with the issuer or with any broker,
   dealer or futures commission merchant (collectively, a "broker"). In the selection of brokers
   and the placing of orders for the purchase and sale of portfolio investments for the Fund,
   Western shall seek to obtain for the Fund the most favorable price and execution available,
   except to the extent it may be permitted to pay higher brokerage commissions for
   brokerage and research services as described below. In using its best efforts to obtain for the
   Fund the most favorable price and execution available, Western, bearing in mind the Fund's
   best interests at all times, shall consider all factors it deems relevant, including, by way of
   illustration, price, the size of the transaction, the nature of the market for the security, the
   amount of the commission, the timing of the transaction taking into consideration market
   prices and trends, the reputation, experience and financial stability of the broker involved and
   the quality of service rendered by the broker in other transactions. Subject to such policies as
   the Directors may determine and communicate to Western in writing, Western shall not be
   deemed to have acted unlawfully or to have breached any duty created by this Agreement or
   otherwise solely by reason of its having caused the Fund to pay a broker that provides



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   brokerage and research services to Western or any affiliated person of Western an amount of
   commission for effecting a portfolio investment transaction in excess of the amount of
   commission another broker would have charged for effecting that transaction, if Western
   determines in good faith that such amount of commission was reasonable in relation to the value
   of the brokerage and research services provided by such broker, viewed in terms of either that
   particular transaction or Western's overall responsibilities with respect to the Fund and to
   other clients of Western and any affiliated person of Western as to which Western or any
   affiliated person of Western exercises investment discretion. Western shall also perform such
   other functions of management and supervision as may be requested by the Manager and agreed
   to by Western.

        (b) Western will as requested by the Manager oversee the maintenance of all books and
   records with respect to the investment transactions of the Fund in accordance with all applicable
   federal and state laws and regulations, and will furnish the Directors with such periodic and
   special reports as the Directors or the Manager reasonably may request.

         (c) The Corporation hereby agrees that any entity or person associated with Western (or
   with any affiliated person of Western) which is a member of a national securities exchange is
   authorized to effect any transaction on such exchange for the account of the Fund which is
   permitted by Section 11(a) of the Securities Exchange Act of 1934, as amended, and Rule 11a2-
   2(T) thereunder, and the Corporation hereby consents to the retention of compensation for
   such transactions in accordance with Rule 11a2-2(T)(a)(2)(iv) or otherwise.

         4. Services Not Exclusive. Western's services hereunder are not deemed to be exclusive,
   and Western shall be free to render similar services to others. It is understood that persons
   employed by Western to assist in the performance of its duties hereunder might not devote
   their full time to such service. Nothing herein contained shall be deemed to limit or restrict
   the right of Western or any affiliate of Western to engage in and devote time and attention to
   other businesses or to render services of whatever kind or nature.

         5. Books and Records. In compliance with the requirements of Rule 31a-3 under the 1940
   Act, Western hereby agrees that all books and records which it maintains for the Fund are
   property of the Fund and further agrees to surrender promptly to the Fund or its agents any of
   such records upon the Fund's request. Western further agrees to preserve for the periods
   prescribed by Rule 31a-2 under the 1940 Act any such records required to be maintained by
   Rule 31a-1 under the 1940 Act.

          6. Expenses. During the term of this Agreement, Western will pay all expenses incurred
   by it in connection with its activities under this Agreement other than the cost of securities and
   other property (including brokerage commissions, if any) purchased for the Fund.

         7. Compensation. For the services which Western will render to the Manager and the
   Fund under this Agreement, the Manager will pay Western a fee, computed daily and paid
   monthly, at an annual rate of 0.20% of the average daily net assets of the Fund. The average
   daily net assets of the Fund shall in all cases be based only on business days and be computed
   as of the time of the regular close of business of the New York Stock Exchange, or such other



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   time as may be determined by the Board of Directors of the Corporation. Fees due to Western
   hereunder shall be paid promptly to Western by the Manager following its receipt of fees from
   the Fund. If this Agreement is terminated as of any date not the last day of a calendar month,
   a final fee shall be paid promptly after the date of termination and shall be based on the
   percentage of days of the month during which the contract was still in effect.

         8. Limitation of Liability. In the absence of willful misfeasance, bad faith or gross
   negligence on the part of Western, or reckless disregard of its obligations and duties hereunder,
   Western shall not be subject to any liability to the Manager, the Fund or any shareholder of the
   Fund, for any act or omission in the course of, or connected with, rendering services hereunder.

          9. Definitions. As used in this Agreement, the terms "assignment," "interested person,"
   "affiliated person," and "majority of the outstanding voting securities" shall have the
   meanings given to them by Section 2(a) of the 1940 Act, subject to such exemptions and
   interpretations as may be granted by the Securities and Exchange Commission by any rule,
   regulation or order; the term "specifically approve at least annually" shall be construed in a
   manner consistent with the 1940 Act and the rules and regulations thereunder; and the term
   "brokerage and research services" shall have the meaning given in the Securities Exchange
   Act of 1934, as amended, and the rules and regulations thereunder.

          10. Term. This Agreement shall become effective upon its execution, and shall remain in
   full force and effect continuously thereafter (unless terminated automatically as set forth in
   Section 12) until terminated as follows:

           a. The Corporation may at any time terminate this Agreement by not more than 60 days'
   written notice delivered or mailed by registered mail, postage prepaid, to the Manager and
   Western, or

            b. If (i) the Directors or the shareholders of the Fund by vote of a majority of the
   outstanding voting securities of the Fund, and (ii) a majority of the Directors who are not
   interested persons of the Corporation, the Manager or Western, by vote cast in person at a
   meeting called for the purpose of voting on such approval, do not specifically approve at
   least annually the continuance of this Agreement, then this Agreement shall automatically
   terminate at the close of continuance, whichever is later; provided, however, that if the
   continuance of this Agreement is submitted to the shareholders of the Fund for their approval
   and such shareholders fail to approve such continuance of this Agreement as provided herein,
   Western may continue to serve hereunder in a manner consistent with the rules and
   regulations thereunder, or

            c. The Manager may at any time terminate this Agreement by not less than 60 days'
   written notice delivered or mailed by registered mail, postage prepaid, to Western, and
   Western may at any time terminate this Agreement by not less than 60 days' written notice
   delivered or mailed by registered mail, postage prepaid, to the Manager.




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         Action by the Corporation under paragraph (a) of this Section 10 may be taken either (i) by
   vote of a majority of the Directors, or (ii) by the vote of a majority of the outstanding voting
   securities of the Fund.

         11. Further Actions. Each party agrees to perform such further acts and execute such
   further documents as are necessary to effectuate the purposes hereof.

         12. No Assignment; Amendments. This Agreement shall terminate automatically in
   the event of its assignment or in the event that the Management Agreement shall have
   terminated for any reason. Any termination of this Agreement pursuant to Section 10 shall
   be without the payment of any penalty. This Agreement shall not be amended unless such
   amendment is approved by the vote of a majority of the outstanding voting securities of the
   Fund (provided that such shareholder approval is required by the 1940 Act and the rules and
   regulations thereunder, giving effect to any interpretations of the Securities and Exchange
   Commission and its staff) and by the vote, cast in person at a meeting called for the purpose of
   voting on such approval, of a majority of the Directors who are not interested persons of the
   Corporation, the Manager or Western.

          13. Miscellaneous. This Agreement embodies the entire agreement and understanding
   between the parties hereto, and supersedes all prior agreements and understandings relating to
   the subject matter hereof. The captions in this Agreement are included for convenience of
   reference only and in no way define or delimit any of the provisions hereof or otherwise affect
   their construction or effect. Should any part of this Agreement be held or made invalid by a
   court decision, statute, rule or otherwise, the remainder of this Agreement shall not be affected
   thereby. This Agreement shall be binding and shall inure to the benefit of the parties hereto and
   their respective successors.

         14. Non-Exclusive Right. In the event this Agreement is terminated or upon written notice
   from Western at any time, the Corporation hereby agrees that it will eliminate from the Fund's
   name any reference to the name of "Western." The Corporation, on behalf of the Fund, shall
   have the non-exclusive use of the
   name "Western" in whole or in part only so long as this Agreement is effective or until such
   notice is given.

         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
   by their officers designated below on the day and year first above written.

   Attest:                   LEGG MASON FUND ADVISER, INC.


   By: /s/ Marc R. Duffy            By: /s/ Philip E. Sachs
     --------------------        -----------------------------------
                             Philip E. Sachs
                             Vice President

   Attest:                   WESTERN ASSET MANAGEMENT COMPANY



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   By: /s/ Lisa G. Hathaway          By: /s/ James W. Hirschmann III
     --------------------        -----------------------------------
                             James W. Hirschmann, III
                             President
   The foregoing is accepted by:

   Attest:                    WESTERN ASSET FUNDS, INC.


   By: /s/ Lisa G. Hathaway           By: /s/ Ilene S. Harker
     --------------------         ------------------------------------
                              Ilene S. Harker
                              Vice President




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               Exhibit 15
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                                        Comparison of
                             WIW Advisory Agreement Exhibit A
                                              to
                        WIW Administrative Services Agreement Schedule A

   WIW Advisory Agreement Exhibit A                   WIW Admin. Services Agreement Schedule A
   Prepare (or oversee the preparation) for review    (g) Prepare for review and approval by
   and approval by officers of the Trust financial    officers of the Fund, financial information for
   information for the Trust's reports to be sent to  the Fund's semi-annual and annual reports,
   the Trust's shareholders, and arrange for the      proxy statements and other communications
   printing and dissemination of such reports to      with shareholders required or otherwise to be
   shareholders;                                      sent to Fund shareholders, and arrange for the
                                                      printing and dissemination of such reports and
                                                      communications to shareholders;
   Prepare (or oversee the preparation) for review (k) Prepare, or arrange for preparation, for
   by an officer of the Trust all reports required to review by an officer of the Fund the Fund's
   be filed with the Securities and Exchange          periodic financial reports required to be filed
   Commission, including reports on Forms N-          with the Securities and Exchange Commission
   SAR and N-CSR, and in the filing of such           (the "SEC") on Form N-SAR and N-CSR and
   completed forms with the Securities and            such other reports, forms or filings, as may be
   Exchange Commission;                               mutually agreed upon;
   Assist in the dissemination to shareholders of     (g) Prepare for review and approval by
   the Trust's proxy materials and assist in the      officers of the Fund, financial information for
   filing of such materials with the Trust's          the Fund's semi-annual and annual reports,
   regulators, and oversee the tabulation of          proxy statements and other communications
   proxies by the Trust's transfer agent;             with shareholders required or otherwise to be
                                                      sent to Fund shareholders, and arrange for the
                                                      printing and dissemination of such reports and
                                                      communications to shareholders;
   Determine the amounts available for                (j) Calculate the Fund's periodic dividend
   distribution as dividends and distributions to be distributions and annual net investment income
   paid by the Trust to its shareholders; prepare     (including net realized short-term capital gain)
   and arrange for the printing of dividend notices and net realized long-term capital gain to
   to shareholders; and assist in the preparation of determine the Fund's appropriate level of
   materials relevant to the Trust's Dividend         dividend distributions and the minimum annual
   Reinvestment Plan;                                 distributions to shareholders and the tax and
                                                      accounting treatment of such distributions on a
                                                      per share basis, to be reviewed by the Fund's
                                                      auditors;
   Oversee, as agreed by the Trust, the               (a) Calculate or arrange for the calculation
   dissemination of the Trust's net asset value,      and publication of the Fund's net asset value
   market price and discount;                         daily (or as otherwise requested by the Fund)
                                                      in accordance with the Fund's policy as
                                                      adopted from time to time by the Board of
                                                      Trustees;



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   WIW Advisory Agreement Exhibit A                  WIW Admin. Services Agreement Schedule A
   Make such reports and recommendations to the      (h) Prepare such reports as may reasonably
   Trustees as the Trustees reasonably request or    be requested by the Board of Trustees of the
   deem appropriate;                                 Fund or the Fund's officers relating to the
                                                     business and affairs of the Fund as may be
                                                     mutually agreed upon and not otherwise
                                                     appropriately prepared by the Fund's
                                                     investment adviser, custodian, counsel,
                                                     auditors or other service providers;
   Oversee the preparation and filing of the         (i) Prepare, or arrange for preparation, for
   Trust's federal, state and local income tax       review, approval and execution by officers of
   returns and any other required tax returns;       the Fund, the Fund's federal, state and local
                                                     income tax returns, and any other required tax
                                                     returns, as may be mutually agreed upon;
   Review the appropriateness of and arrange for     (c) Maintain the Fund's expense budget and
   payment of the Trust's expenses;                  monitor expense accruals;
                                                     (d) Arrange for payment of the Funds'
                                                     expenses and the review and approval of
                                                     invoices for the Fund's account and submission
                                                     to a Fund officer for authorization of payment
                                                     in a manner to be agreed upon;
   Prepare (or oversee the preparation of) such      (l) Prepare, or arrange for preparation, such
   information and reports as may be required by     financial information and reports as may be
   any stock exchange or exchanges on which the      required by any stock exchange or exchanges
   Trust's shares are listed;                        on which the Fund's shares are listed, and such
                                                     other information and reports required by such
                                                     stock exchang(es) as may be mutually agreed
                                                     upon;
   Oversee and review calculations of fees paid to   (e) Oversee and review calculations of fees
   the Trust's service providers;                    paid to the administrator, the investment
                                                     adviser, the custodian, the shareholder
                                                     servicing agent, the transfer agent and any
                                                     other entity providing authorized services to
                                                     the Fund;
   Oversee the Trust's portfolio and perform         (n) Monitor and report on the Fund's
   necessary calculations as required under          issuance of preferred shares, including
   Section 18 of the 1940 Act;                       performing, or arranging for the performance
                                                     of, any tests with respect to asset coverage or
                                                     other matters required from time to time by the
                                                     rating agencies rating such preferred shares and
                                                     preparing, or arranging for the preparation of,
                                                     maintenance reports in connection therewith as
                                                     required by the rating agencies;




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   WIW Advisory Agreement Exhibit A                  WIW Admin. Services Agreement Schedule A
   Consult with the Trust's officers, independent    (p) Consult as necessary with the Fund's
   accountants, legal counsel, custodian,            officers, independent accountants, legal
   administrator or other accounting agent,          counsel, investment adviser, custodian,
   transfer agent and dividend disbursing agent in   accounting agent and transfer and dividend
   establishing the accounting policies of the       disbursing agent in establishing the accounting
   Trust and monitor financial and shareholder       policies of the Fund;
   accounting services;
   Review implementation of any share purchase       (q) Review implementation of any stock
   programs authorized by the Trustees;              purchase or dividend reinvestment programs
                                                     authorized by the Board of Trustees; and
   Prepare such information and reports as may       (m) Prepare such financial information and
   be required by any banks from which the Trust     reports as may be required by any banks or
   borrows funds;                                    other institutions from which the Fund borrows
                                                     funds;
   Provide such assistance to the custodian and      (r) Provide such assistance to the investment
   the Trust's counsel and auditors as generally     adviser, the custodian, the shareholder
   may be required to properly carry on the          servicing agent and the Fund's legal counsel
   business and operations of the Trust; and         and auditors as generally may reasonably be
                                                     required to properly carry on the business and
                                                     operations of the Fund.




                                          Exhibit 15 – Page 3
